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                           Expert Witness Testimony
                          United States v. Nicholas Young
                                      Dr. Daveed Gartenstein-Ross
                                  Chief Executive Officer, Valens Global
                          Senior Fellow, Foundation for Defense of Democracies

                                                   November 2017

 My full name is Daveed Eliahu Ephraim Gartenstein-Ross. I am a scholar, practitioner, and author
 with around twenty years of professional experience and educational study examining violent non-
 state actors (VNSAs). My research has led me to consider VNSAs to be a coherent category of
 actors, where significant insight can be derived from comparing the organizational design,
 strategies, tactics, financing, recruitment, and ideologies of terrorist groups, insurgencies, cartels,
 gangs, and other kinds of VNSAs. Within this broad category of VNSAs, my work has focused in
 particular on the movement that self-identifies as salafi jihadism, as well as on U.S.-based militant
 white separatist groups.

 I am the Chief Executive Officer of Valens Global, a private commercial entity that focuses on the
 challenges posed by VNSAs. I also hold appointments at think tanks in the United States and
 Europe. I have been a Senior Fellow at the Foundation for Defense of Democracies (FDD), a
 nonpartisan policy institute in Washington, D.C., for over a decade.1 I am also an Associate Fellow
 at the International Centre for Counter-Terrorism – The Hague (ICCT). I have authored several
 studies for ICCT, some of which required international field research. Studies I wrote for ICCT
 include reports on the Tunisian jihadist group Ansar al-Sharia, a history of the Libyan civil war,
 and a review of how the Islamic State’s (ISIS) propaganda plays a role in its strategy for global
 expansion.2 I also recently served a term as a Fellow at Google’s think tank Jigsaw, for which I
 led several major research projects examining extremists’ use of online platforms, and what can
 be done to counter them.3

 1
   For a sense of the work I have done for FDD, see the following books and studies that I authored for the institute, or
 for which I served as a volume editor: Daveed Gartenstein-Ross et al., Islamic State 2021: Possible Futures in North
 and West Africa (Washington, DC: FDD Press, 2017); Daveed Gartenstein-Ross et al., China’s Post-2014 Role in
 Afghanistan (Washington, DC: FDD Press, 2014); Daveed Gartenstein-Ross & Jonathan Schanzer eds., Allies,
 Adversaries and Enemies: America’s Increasingly Complex Alliances (Washington, DC: FDD Press, 2014); Daveed
 Gartenstein-Ross & Daniel Trombly, The Tactical and Strategic Use of Small Arms by Terrorists and Terrorist Groups
 (Washington, DC: FDD Press, 2012); Daveed Gartenstein-Ross & Linda Frum eds., Terror in the Peaceable Kingdom:
 Understanding and Addressing Violent Extremism in Canada (Washington, DC: FDD Press, 2012).
 2
   See Daveed Gartenstein-Ross, Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad (The Hague: ICCT
 – The Hague, 2013); Daveed Gartenstein-Ross, Bridget Moreng & Kathleen Soucy, Raising the Stakes: Ansar al-
 Sharia in Tunisia’s Shift to Jihad (The Hague: ICCT – The Hague, 2014); Daveed Gartenstein-Ross & Nathaniel Barr,
 Dignity and Dawn: Libya’s Escalating Civil War (The Hague: ICCT – The Hague, 2015); Daveed Gartenstein-Ross,
 Nathaniel Barr & Bridget Moreng, The Islamic State’s Global Propaganda Strategy (The Hague: ICCT – The Hague,
 2016).
 3
   Much of the work I undertook for Jigsaw/Google is confidential, but one project, the Redirect Method, has been
 made public. See Andy Greenberg, “Google’s Clever Plan to Stop Aspiring ISIS Recruits,” Wired, September 7, 2016,
 at https://www.wired.com/2016/09/googles-clever-plan-stop-aspiring-isis-recruits/. As Greenberg explains, the
 program


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 I have experience teaching at the university level, in both graduate and undergraduate programs.
 From 2013-17, I held an appointment as an Adjunct Assistant Professor in Georgetown
 University’s Security Studies Program, where I taught a course on Violent Non-State Actors. (I
 was invited to continue teaching in the 2017-18 school year, but declined because my family
 moved away from the D.C. area.) I previously served as a Lecturer for graduate and undergraduate
 classes at the Catholic University of America, where I taught courses on Violent Non-State Actors,
 and on Al-Qaeda and Its Affiliates. I have also taught classes for, or held faculty appointments at,
 the University of Southern California (teaching from 2013-present for the school’s Executive
 Program in Counter-Terrorism), and the University of Maryland (Faculty Research Assistant in
 the Institute for Advanced Computer Studies, 2013-14).

 I hold a Ph.D. in World Politics from the Catholic University of America, a J.D., magna cum laude,
 from the New York University School of Law, and a B.A. with Honors, magna cum laude, from
 Wake Forest University.

 In addition to my education and professional work, I spent the better part of a year immersed in a
 charity organization that actively propagated salafi jihadist ideas, and was connected to the
 international salafi jihadist movement. As an idealistic young college student who was seeking
 deeper spiritual fulfillment, I converted to the Islamic faith in my early twenties. I was looking for
 employment between college and law school (a period stretching from December 1998 through
 August 1999), and applied for a position at an Islamic charity organization, the Al Haramain
 Islamic Foundation, located in my hometown of Ashland, Oregon. When I took the job, I did not
 realize that it was part of a broader salafi jihadist charitable front with offices throughout the globe,
 and multiple layers of connection to the al-Qaeda terrorist organization. Both Al Haramain’s head
 office and also the branch that I worked for were designated terrorist organizations.4 My time
 working for the charity and my inner struggles with the extremist ideas that Al Haramain was
 propagating internally are documented in my first book, My Year Inside Radical Islam.5 Though I
 moved away from extremist Islam, and ultimately from the Islamic faith itself, this experience
 would do a great deal to shape my future passion for keeping America and its interests safe from



          places advertising alongside results for any keywords and phrases that Jigsaw has determined people
          attracted to ISIS commonly search for. Those ads link to Arabic- and English-language YouTube
          channels that pull together preexisting videos Jigsaw believes can effectively undo ISIS’s
          brainwashing—clips like testimonials from former extremists, imams denouncing ISIS’s corruption
          of Islam, and surreptitiously filmed clips inside the group’s dysfunctional caliphate in Northern
          Syria and Iraq.

 The website that Jigsaw set up to explain the Redirect Method can be found at https://redirectmethod.org/. I led Valens
 Global’s efforts to map the counter-extremist narrative space on YouTube for this project.
 4
   See U.S. Department of the Treasury, press release, “Treasury Designates Al Haramain Islamic Foundation,” June
 19, 2008, https://www.treasury.gov/press-center/press-releases/Pages/hp1043.aspx (designation of the head office).
 In addition to being named a Specially Designated Global Terrorist, the branch that I worked for pled guilty to tax
 fraud related to a transfer of $150,000 to Chechnya. See U.S. Attorney’s Office, District of Oregon, press release,
 “Specially Designated Global Terrorist Al-Haramain Islamic Foundation, Inc. Pleads Guilty to Tax Fraud,” July 29,
 2014, https://www.justice.gov/usao-or/pr/specially-designated-global-terrorist-al-haramain-islamic-foundation-inc-
 pleads-guilty.
 5
   Daveed Gartenstein-Ross, My Year Inside Radical Islam: A Memoir (New York: Tarcher/Penguin, 2007).


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 the scourge of terrorism. The experience also provided me with a further, unique window into
 salafi jihadism and radicalization to violent extremist ideas.

 I have three interlocking areas of competency that are relevant to the present case. The first area
 pertains to violent extremist movements claiming their inspiration from Islam (referred to herein
 as Islamist militancy, indicating these groups’ goal of violently imposing their particular version
 of religious law, or sharia). Beginning around 1998, I have frequently traveled overseas to do
 professional work or conduct field research in multiple countries that are relevant to understanding
 transnational jihadism, including Iraq, Israel, Nigeria, Tunisia, Turkey, Qatar, and the United Arab
 Emirates. I have reviewed thousands of open-source documents about Islamist militancy, and I
 have served as a consultant and expert on terrorism and national security issues for the U.S.,
 Canadian and Dutch governments, the European Union, NATO, and private organizations. In the
 course of this work, I have been certified by governmental bodies as a subject matter expert (SME)
 on terrorism and Islamist militant groups on multiple occasions, including for the following
 projects:

    •   serving as a co-principal investigator for a three-year, $1.5 million project for the Office of
        Naval Research, using a big-data approach to analyze relationships among Islamist
        militants to predict where splits are likely occur within these organizations;
    •   designing and delivering training for officials and analysts at U.S. Customs and Border
        Protection (CBP), for which I am currently the lead SME on a contract to deliver training
        services for CBP for a twelve-month period from 2016-17;
    •   separate from the training contract, serving as a SME on terrorism and VNSAs for CBP, a
        contract for which I began performance on May 1, 2017;
    •   serving as a Senior Advisor to the U.S. Department of Homeland Security’s Office for
        Community Partnerships, which is a leading agency involved in domestic work related to
        countering violent extremism (CVE);
    •   designing and delivering training on global terrorism for the U.S. Army Corps of
        Engineers’ Individual Terrorism Awareness Course (INTAC), for which I have been the
        lead instructor since June 2016;
    •   lecturing for U.S. Army units about to deploy to countries such as Djibouti, Egypt, Iraq,
        Jordan, Kuwait and Afghanistan—as well as for foreign militaries, including in Bulgaria,
        Croatia and Poland—through the Naval Postgraduate School’s Leader Development and
        Education for Sustained Peace (LDESP) program, for which I taught on over 70 occasions
        from 2009-17;
    •   serving as a SME providing information and analysis to the Joint Improvised-Threat Defeat
        Organization (JIDO) on four different occasions, including projecting the aftermath of
        ISIS’s advances in Iraq, and analyzing the future of the Libyan civil war;
    •   serving as a SME for the U.S. Department of State’s Office of Anti-Terrorism Assistance,
        designing curriculum and leading instruction for that organization;
    •   leading training for the Anti-Terrorism Advisory Council (ATAC) on four separate
        occasions;
    •   organizing and facilitating a conference in Nigeria, as a European Union-appointed
        Strategic Communication Expert, helping civil society activists understand militant
        groups’ use of social media (particularly that of Boko Haram) and forge a strategic action
        plan for countering it.


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 I have also been court-certified to serve as an expert witness on terrorism and Islamist militant
 groups in the following federal cases:

    •   Foley v. Syrian Arab Republic (D.D.C., 2017), where I served as an expert witness on Abu
        Musab al-Zarqawi’s terrorist organization;
    •   In the Matter of Abdul Qadir (Arlington, Va. Immigration Court, 2015), where I served as
        an expert witness on Afghanistan’s Taliban;
    •   In the Matter of B.O. in Removal Proceedings (Boston Immigration Court, 2012), where I
        served as an expert witness on al-Qaeda’s activities and capabilities in Kenya; and
    •   In the Matter of A.D. (Memphis, Tenn. Immigration Court, 2012), In the Matter of A.A.W.
        (Bloomington, Minnesota Immigration Court, 2012), In the Matter of A.A.I. (Colorado
        Immigration Court, 2011), In the Matter of the Application for Withholding of A.A.M.
        (Boston Immigration Court, 2011), and In the Matter of the Application for Asylum of
        M.A.A. (N.J. Immigration Court, 2009), for all of which I served as an expert witness on
        the Somali group al-Shabaab.

 In addition to the aforementioned work which required certification as an expert, other professional
 work I have undertaken related to VNSAs and Islamist militancy includes serving as a Subject
 Matter Consultant to the private security firm Corporate Risk International for a live hostage
 negotiation with the Iraqi militant group Asa’ib Ahl al-Haq; producing reports for firms in the oil
 and gas industry that need to make investment decisions related to VNSAs, or protect their
 facilities and personnel; and designing and leading strategic simulations exploring the competition
 between VNSAs and state actors for academic institutions like Johns Hopkins University. I have
 testified about my areas of core competency before the U.S. House and Senate more than a dozen
 times, as well as before the Canadian House of Commons.

 Additionally, I am an author with specialized knowledge in the field of VNSAs and militant
 Islamism. I am the author or volume editor of twenty-two books and monographs, and I have
 written on these topics in peer-reviewed academic publications and the mainstream press. This
 work is outlined in my Curriculum Vitae, but some relevant selections include:

 Books and Monographs
    • Islamic State 2021: Possible Futures in North and West Africa (with J. Zenn and N. Barr),
       Foundation for Defense of Democracies, 2017.
    • The Islamic State’s Global Propaganda Strategy (with N. Barr and B. Moreng), ICCT –
       The Hague, 2016.
    • The War between the Islamic State and al-Qaeda: Strategic Dimensions of a Patricidal
       Conflict (with J. Fritz, B. Moreng and N. Barr), Valens Global, report produced for U.S.
       Special Operations Command Central (SOCCENT), 2015.
    • The Crisis in North Africa: Implications for Europe and Options for EU Policymakers
       (with N. Barr, G. Willcoxon, and N. Basuni), Netherlands Institute of International
       Relations Clingendael, 2015.
    • Ansar Bayt al-Maqdis’s Oath of Allegiance to the Islamic State, Wikistrat, 2015.
    • Bin Laden’s Legacy, New York: John Wiley & Sons, 2011.



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 Book Chapters
    • “MENA Countries’ Responses to the Foreign Fighter Phenomenon,” in A. de Guttry et al.
       eds., Foreign Fighters Under International Law and Beyond (The Hague: T.M.C. Asser
       Press, 2016).
    • “The Evolution of Post-Ben Ali Tunisian Jihadism,” in A. Celso & R. Nalbandov eds., The
       Crisis of the African State (Quantico, Va.: Marine Corps University Press, 2016).
    • “The Genesis, Rise, and Uncertain Future of al-Qaeda,” in R. Law ed., The Routledge
       History of Terrorism, Routledge, 2015.
    • “Violent Non-State Actors in the Afghanistan-Pakistan Relationship,” in C. Fair & S.
       Watson eds., Pakistan’s Challenges, University of Pennsylvania Press, 2015.
    • “The Legacy of Osama bin Laden’s Strategy,” in David Kamien ed., The McGraw-Hill
       Homeland Security Handbook, McGraw-Hill, 2012.

 Academic and Technical Publications
    • “Violent Non-State Actors in the Age of Social Media: A Twenty-First Century Problem
       Requires a Twenty-First Century Toolkit,” Georgetown Security Studies Review, special
       issue, February 2017.
    • “How al-Qaeda Survived the Islamic State Challenge” (with N. Barr), Current Trends in
       Islamist Ideology (Hudson Institute), August 30, 2016.
    • “Recent Attacks Illuminate the Islamic State’s Europe Attack Network” (with N. Barr),
       Jamestown Foundation, April 27, 2016.
    • “Tunisian Jihadism After the Sousse Massacre” (with B. Moreng), CTC Sentinel, October
       2015.
    • “The Role of Iraqi Tribes after the Islamic State’s Ascendance” (with S. Jensen), Military
       Review, July-August 2015.
    • “A Critical Link between Jabhat al-Nusra and al-Qaeda: Abu Humam al-Suri,” Militant
       Leadership Monitor 6:5 (May 2015).
    • “Al-Shabaab’s Insurgency in Somalia: A Data-Based Snapshot” (with H. Appel),
       Georgetown Journal of International Affairs, April 3, 2014.
    • “Perceptions of the ‘Arab Spring’ Within the Salafi Jihadi Movement” (with T. Vassefi),
       Studies in Conflict & Terrorism 35:12, November 2012.

 Commentary, Op-Eds, and Policy Analysis
   • “Terrorists Are Using Drones Now. And That’s Not the Worst of It,” Fortune, September
      9, 2017.
   • “The Manchester Attack Shows How Terrorists Learn,” The Atlantic, May 23, 2017.
   • “Lone Wolves No More,” Foreign Affairs, March 27, 2017.
   • “ISIL’s Virtual Planners: A Critical Terrorist Innovation,” War on the Rocks, January 4,
      2017.
   • “A Grim Anniversary: 15 Years after 9/11, the War against Radical Islamist Terrorism is
      not Looking Good,” New York Daily News, September 11, 2016.
   • “Rebranding Terror” (with T. Joscelyn), Foreign Affairs, August 28, 2016.
   • “Bloody Ramadan: How the Islamic State Coordinated a Global Terrorist Campaign,” War
      on the Rocks, July 20, 2016.
   • “Boko Haram’s Buyer’s Remorse” (with J. Zenn), Foreign Policy, June 20, 2016.


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    •   “Sunni Tribes Need Arms and Support to Fight ISIS,” New York Times, June 1, 2015.
    •   “From Westgate to Garissa, Shabaab’s Murderous Wave,” Foreign Policy, April 10, 2015.
    •   “Zawahiri’s Revenge,” Foreign Policy, July 31, 2014.
    •   “The Jihadist Governance Dilemma” (with A. Magen), Washington Post (Monkey Cage
        blog), July 18, 2014.
    •   “Al-Qaeda in Iraq and the Abu Ghraib Prison Break,” Project Syndicate, July 23, 2013.

 I have also spoken at numerous events and conferences throughout the globe. Presentations and
 conference papers that I have delivered include:

    •   “Sixteen Years After 9/11: Assessing the Terrorist Threat” (panel), New America
        Foundation, Washington, D.C., September 11, 2017.
    •   “The Jihadist Landscape in South Asia,” Near East South Asia Center, National Defense
        University, Washington, D.C., August 14, 2017.
    •   “Change or Continuity Since 2014: ISIS in Global Context” (panelist), The Evolving
        Terrorist Threat conference, The RAND Corporation, Arlington, Va., June 27, 2017.
    •   “Terrorism in 2020” (panelist), Department of Defense Combating Terrorism Intelligence
        Conference, Reston, Va., May 9, 2017.
    •   “What Next?: Regional Trends and Threats,” Conference on What the New Administration
        Needs to Know About Terrorism & Counterterrorism, Georgetown University Center for
        Security Studies and St Andrews University Handa Centre for the Study of Terrorism and
        Political Violence, Washington, D.C., January 26, 2017.
    •   “How Does It All End?” workshop, panelist, National Counterterrorism Center (NCTC),
        McLean, Va., January 12-13, 2017.
    •   Keynote speech, After ISIL: Stability and Spillover, sponsored by U.S. Army Special
        Operations Command and the Laboratory for Unconventional Conflict & Simulation
        (LUCAS), Duke University, Durham, N.C., December 2, 2016.
    •   “The Future of Violent Extremism,” Executive Program in Counter-Terrorism, CREATE
        center, University of Southern California, Los Angeles, August 3, 2016.
    •   “The Competition between the Islamic State and al-Qaeda,” Kazakhstan Institute for
        Strategic Studies, Astana, Kazakhstan, March 2, 2016.
    •   “The Competition between the Islamic State and al-Qaeda: Implications for Regional
        States and the Future of the Jihadist Movement,” NATO Advanced Research Workshop,
        Brussels, October 6, 2015.
    •   “The ISIS Campaign in Anbar,” National Defense University, Washington, D.C., October
        20, 2014.
    •   “Terrorism and the United Arab Emirates,” National Defense College, Abu Dhabi,
        September 14, 2014.
    •   “Tunisia and Ansar al-Sharia: Foreign Fighters and the Evolution of a Jihadist Group,”
        Combating Terrorism Working Group, Brussels, April 24, 2014.
    •   “Ansar al-Sharia’s War with Tunisia,” International Centre for Counter-Terrorism – The
        Hague, Netherlands, February 20, 2014.
    •   “Violent Non-State Actors: Strategies and Tactics in Addressing the Problem,” Centre for
        Public Policy Research, Kochi, India, December 6, 2013.



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    •   “Afghanistan After the United States Drawdown,” O.P. Jindal Global University, Sonipat,
        India, December 4, 2013.
    •   “Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad,” Association for the
        Study of the Middle East and Africa Annual Conference, Arlington, Va., November 22,
        2013.
    •   “Ansar al-Sharia Tunisia: Dawa, Hisba, and Jihad,” International Centre for Counter-
        Terrorism – The Hague, Brussels, Belgium, April 19, 2013.
    •   “Dispatches from Mali,” discussion sponsored by Foreign Policy and the Pulitzer Center
        on Crisis Reporting, Washington, D.C., January 30, 2013.
    •   “Why Are Consensus Views So Often Wrong in Regional Security Studies?,” United States
        Naval Academy Africa Forum, Annapolis, Md., October 17, 2012.
    •   “The Arab Spring, Organizational Resiliency, and a New Operating Environment: Al-
        Qaeda’s Outlook 2012,” Defense Intelligence Agency Speaker Series, Washington, D.C.,
        July 31, 2012.
    •   “Combating Olympic Terrorism: National and International Lessons,” Potomac Institute
        for Policy Studies, Arlington, Va., July 25, 2012.
    •   “The Arab Awakening and the Future of al-Qaeda,” Woodrow Wilson International Center
        for Scholars, Washington, D.C., May 10, 2012.
    •   “Al-Qaeda After bin Laden,” School of Advanced International Studies, Johns Hopkins
        University, Washington, D.C., February 21, 2012.

 A second relevant area of competency is my work on the militant white separatist and neo-Nazi
 movement. My writings on the subject include two technical publications written for the
 Foundation for Defense of Democracies (“Leadership vs. Leaderless Resistance” and “Assessing
 the Militant White Separatist Movement”), as well as popular press publications about the alliance
 between segments of the neo-Nazi and militant Islamist movements (including the article “The
 Peculiar Alliance” in the Weekly Standard, and a review of George Michael’s seminal book The
 Enemy of My Enemy).

 Work I have performed for government bodies as a certified expert has also covered white
 separatism and neo-Nazism. I have designed two training courses for the U.S. Department of
 State’s Office of Anti-Terrorism Assistance—“Mitigating Prison Inmate Radicalization” and
 “Terrorism: Overview, Motives, and Methodologies”—that featured substantive discussion of the
 white separatist and neo-Nazi movement. And as previously noted, since June 2016 I have been
 the lead instructor for the U.S. Army Corps of Engineers’ Individual Terrorism Awareness Course
 (INTAC). That course has featured a substantive discussion of white separatism in its unit on the
 U.S. Department of Defense’s Northern Command geographic area (NORTHCOM).

 A third relevant area of competency is the work I have undertaken on radicalization processes. My
 work on radicalization has focused in particular on the role played by the Internet and the online
 jihadist milieu—a focus that is relevant to the large number of Internet-focused pieces of evidence
 in the present case. My aforementioned work as a Senior Advisor to the U.S. Department of
 Homeland Security’s Office for Community Partnerships (OCP) fundamentally related to the
 challenge of radicalization, as the purpose of CVE—which OCP is charged with advancing
 domestically—is reducing instances of radicalization and empowering communities to recognize



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 the danger signs. Furthermore, the projects I have undertaken for Jigsaw/Google involve providing
 technical expertise related to identifying and countering radicalization in the online sphere.

 I was the lead author of a study that is frequently cited in the academic literature on the topic
 (Homegrown Terrorists in the U.S. and U.K.: An Empirical Examination of the Radicalization
 Process, 2009). Brian Michael Jenkins, a senior advisor to the president of the RAND Corporation
 and one of this country’s preeminent scholars of terrorism, wrote about this study:

        Unless we can find ways to blunt the narrative of our terrorist foes, impede their
        recruiting, and discourage young men (and women) from destructive and self-
        destructive trajectories, terrorism will drain our resources, drag on our economy,
        and, yes, ultimately imperil our democracy. But in order to formulate intelligence
        and appropriate strategies to prevent this, we must understand better the process of
        radicalization and recruitment to terrorism. With this research, Gartenstein-Ross
        and Grossman significantly further that understanding.

 I have testified before the U.S. House and Senate on the topic of radicalization three times, wrote
 an academic article (for the German journal Der Bürger im Staat) on radicalization in the U.S.,
 and have published reviews of many the major academic works on the topic. Here are relevant
 publications of mine on radicalization, de-radicalization, and countering extremist ideologies:

    •   Homegrown Terrorists in the U.S. and U.K.: An Empirical Examination of the
        Radicalization Process (Washington, DC: FDD Press, 2009).
    •   “Lone Wolf Islamic Terrorism: Abdulhakim Mujahid Muhammad (Carlos Bledsoe) Case
        Study,” Terrorism and Political Violence 26:110-28 (2014).
    •   “Islamistischer Terrorismus in den USA: ‘Homegrown Terrorism’ in den Vereinigten
        Staaten: Bedrohung, Ursachen und Prävention,” Der Bürger im Staat (Germany), Winter
        2011.
    •   “Save the Terrorism Prevention Toolkit” (with G. Selim), War on the Rocks, August 28,
        2017.
    •   “Fixing How We Fight the Islamic State’s Narrative” (with N. Barr), War on the Rocks,
        January 4, 2016.
    •    “Prominent European Islamic Terrorist Renounces Extremism,” The Atlantic, October 19,
        2010.
    •   “The Danger Signs of Terror,” National Post (Canada), November 24, 2009.
    •   “How Do They Radicalize Others?,” Washington Times, June 20, 2009.
    •   “Changing Minds,” Washington Times, February 22, 2007.
    •   Book review, Ramón Spaaij, Understanding Lone Wolf Terrorism, in War on the Rocks,
        October 27, 2014.
    •   Book review, Clark McCauley & Sophia Moskelenko, Friction, in Pragati, November 2,
        2012.
    •   Book review, Assaf Moghadam, The Globalization of Martyrdom, in Association for the
        Study of the Middle East and Africa Book Notes, October 15, 2010.
    •   Book review, Tore Bjørgo & John Horgan eds., Leaving Terrorism Behind, in Association
        for the Study of the Middle East and Africa Book Notes, April 14, 2010.
    •   Book review, Alan B. Krueger, What Makes a Terrorist: Economics and the Roots of


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        Terrorism, in Association for the Study of the Middle East and Africa Book Notes, 2009.
    •   Book review, Marc Sageman, Leaderless Jihad, in Middle East Quarterly, Summer 2009.
    •   Book review, Quintan Wiktorowicz, Radical Islam Rising, in Middle East Quarterly,
        Winter 2009.

 Here is a selection of relevant presentations I have delivered on radicalization, deradicalization,
 and countering extremist ideologies:

    •   “Countering Violent Extremism,” presenter and panelist, Homeland Security Training
        Institute, College of DuPage, Glen Ellyn, Ill., March 29, 2017.
    •   “Counterterrorism/Extremism and the Internet Challenge,” respondent, Quad-Plus
        Dialogue, hosted at the Heritage Foundation, Washington, D.C., March 1, 2017.
    •   “The Growing Challenge,” keynote address, Social Media Narratives and Extremism
        Workshop, sponsored by the Near East South Asia Center, National Defense University,
        Casablanca, Morocco, August 16-17, 2016.
    •   “As the Rest of the World Gets Online: Implications for Militant Groups, Stability, and
        Social Change,” keynote speech, Transportation Security Administration (TSA) Intel Talk
        series, Arlington, Va., July 13, 2016.
    •   “Transnational Terrorism, Foreign Fighters and Youth Radicalization,” Developing
        Strategies to Address Contemporary Security Challenges on Europe’s Southern Flank,
        George C. Marshall European Center for Security Studies, Garmisch, Germany, May 10,
        2016.
    •   “Cyber Technology Roles and Trends in Radicalization,” keynote presentation, U.S. Army
        Special Operations Command Commander’s Conference, West Point, N.Y., May 4, 2016.
    •   “Intellectual Frameworks for Counter-Messaging,” U.S. Special Operations Command
        Central (SOCCENT), January 26, 2016.
    •   “On Tribalism, Jihadists, and Lone Wolf Political Violence,” panel, Understanding the
        Extremist Threat workshop, Institute for National Strategic Studies, Washington, D.C.,
        March 11, 2015.
    •   “Africa’s Youth in the Age of Extremism,” panelist, National Committee on American
        Foreign Policy, New York City, September 26, 2013.
    •   “Lone Wolf Islamic Terrorism: Abdulhakim Mujahid Muhammad (Carlos Bledsoe) Case
        Study,” Lone Wolf and Autonomous Cell Terrorism, conference at Uppsala University,
        Uppsala, Sweden, September 25, 2012.
    •   “Islamist Radicalization,” U.S. Marine Corps Command and Staff College, Quantico, Va.,
        February 22, 2012.
    •   “Terrorist Use of the Internet,” National Counterterrorism Center, Conference on al-Qaeda
        and the Global Threat, Warrenton, Va., July 28, 2011.
    •   “Ideas, Identity, and Terror,” keynote speech, The Impact of Identity Politics on Violent
        Extremism: Regional Perspectives, Global Futures Forum, Monterey, Calif., April 7, 2011.
    •   “Countering Youth Radicalization,” Preventing Youth Radicalization Conference, Ottawa
        Police Service, Ottawa, December 7, 2010.
    •   “Islamic Radicalization to 2025,” Special Operations Command Europe (SOCEUR),
        Component Commander’s Conference, Garmisch, Germany, November 16, 2010.




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 My research and scholarship in all three of these areas is consistent with best academic practices.
 I mainly rely on primary-source information, including statements and social media postings by
 extremist groups and their supporters, and internal documents intercepted by the United States or
 other governments. I cross-check all primary sources I read against other primary-source
 information, against information about events on the ground in relevant theaters, and against
 relevant secondary-source literature that allows me to determine whether my conclusions are
 consistent with those of other scholars and practitioners. I also check my analytic track record
 against unfolding events to determine if my anticipatory analysis is accurate, or if it requires some
 recalibration.6

 In February 2017, the U.S. Attorney’s Office in the Eastern District of Virginia asked me to review
 evidence gathered during the criminal investigation in the above-entitled case, United States v.
 Nicholas Young, including: digital media seized from the defendant’s computer; various texts,
 documents, and items obtained from the defendant’s belongings; records of Internet use by the
 defendant; photographs of the defendant seized from the defendant’s computer; and weapons and
 combat gear possessed by the defendant. I was thereafter requested to produce a report, based on
 my expertise and experience, describing the cultural significance of the items seized from the
 defendant.

 This report first examines what an examination of militant Islamism and neo-Nazism, as well as
 relevant academic research, can tell us about radicalization to violent extremism within these two
 ideological strains. It begins by explaining the commonalities between radicalization mechanisms
 in militant Islamism and neo-Nazism, then outlines how there has been a historical convergence
 between segments of the militant Islamist and Nazi or neo-Nazi movements. Following this
 exploration of radicalization dynamics, the report examines the cultural significance of evidence
 that the U.S. Attorney’s Office in the Eastern District of Virginia has provided to me.

 I.      The Commonality Between Radicalization Mechanisms in Militant Islamism and
         Neo-Nazism

 For decades, scholars of political and religious extremism have examined the reasons that some
 individuals who possess radical beliefs engage in terrorism and political violence to advance their
 cause. The academic literature has established several pathways that individuals follow from
 extremism to terrorist violence. Two major radicalization pathways are quite similar for militant
 Islamists and neo-Nazis. Some scholars emphasize the importance of radical ideology, or radical
 opinion, in driving people to illegally support militant groups.7 And some scholars emphasize the


 6
   For one framework on measuring forecasting, which I have adapted to measure my own work, see Philip E. Tetlock
 & Dan Gardner, Superforecasting: The Art and Science of Prediction (New York: Random House, 2015).
 7
   See, for example, Michael Jensen & Gary LaFree, Final Report: Empirical Assessment of Domestic Radicalization
 (EADR) (College Park, MD: University of Maryland, 2016); Daveed Gartenstein-Ross & Laura Grossman,
 Homegrown Terrorists in the U.S. and U.K.: An Empirical Examination of the Radicalization Process (Washington,
 DC: Foundation for Defense of Democracies, 2009); Assaf Moghadam, The Globalization of Martyrdom: Al Qaeda,
 Salafi Jihad, and the Diffusion of Suicide Attacks (Baltimore: The Johns Hopkins University Press, 2008); Mitchell
 D. Silber & Arvin Bhatt, Radicalization in the West: The Homegrown Threat (New York: New York City Police
 Department Intelligence Division, 2007); Quintan Wiktorowicz, Radical Islam Rising: Muslim Extremism in the West
 (Oxford: Rowman & Littlefield, 2005).


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 importance of political grievance in driving support for terrorism.8 As a corollary to these primary
 pathways, some scholarship focuses on the role of hate speech in facilitating the dehumanization
 of perceived enemies, which eliminates social and emotional barriers that would otherwise inhibit
 the use of violence. This is also an area where obvious commonalities exist between the approaches
 of adherents to both neo-Nazi and militant Islamist ideologies.

 This section now reviews the academic literature concerning major pathways to violence, and
 establishes that ideological and political radicalization mechanisms are shared by neo-Nazism and
 militant Islamism.

 Radical Ideology

 Several studies have established radical ideology as an important vehicle driving extremist
 violence. In a 2008 article, Assaf Moghadam, a scholar who has authored several seminal studies
 on radicalization, explained the core functions of ideologies in building in-group cohesion,
 identifying “out-groups” as enemies, and driving people to action against perceived foes:

         Ideologies have several core functions, of which the first is to raise awareness to a
         particular group of people that a certain issue deserves their attention. Ideologies
         explain to that “in-group” why social, political, or economic conditions are as they
         are. Since individuals often seek explanations in times of crisis, ideologies are
         particularly appealing when a group of people perceives itself to be in a
         predicament. The second function is a diagnostic one, whereby the ideology
         attributes blame for the present predicament of the in-group upon some “out-group.”
         The out-group is identified with a certain behavior that, according to the narrative
         offered by the ideology, undermines the well-being of the in-group. A third function
         of ideology lies in the creation of a group identity. At the same time that the out-
         group is blamed for the predicament of the in-group, the ideology identifies and
         highlights the common characteristics of those individuals who adhere to, or are
         potential adherents of, the ideology. The fourth and final function of ideologies is
         a programmatic one. It consists of the ideology offering a specific program of action
         said to remedy the in-group of its predicament and urges its adherents to implement
         that course of action.9

 In the case of salafi jihadism, the ideology identifies the waning power of the Islamic faith as a
 political force, and the resulting humiliation of the ummah (worldwide body of believers) as a
 central malady of the age. As Moghadam notes, salafi jihadist ideology “identifies the alleged
 source of Islam’s conundrum in the persistent attacks and humiliation of Muslims on the part of
 an anti-Islamic alliance of what it terms ‘Crusaders,’ ‘Zionists’ and ‘apostates.’” 10 It urges



 8
   See, for example, Clark McCauley & Sophia Moskalenko, Friction: How Radicalization Happens to Them and Us
 (Oxford: Oxford University Press, 2011); Fathali Moghaddam, “The Staircase to Terrorism: A Psychological
 Explanation,” American Psychologist 60:2 (2005), pp. 161-69.
 9
   Assaf Moghadam, “The Salafi-Jihad as a Religious Ideology,” CTC Sentinel (West Point Combating Terrorism
 Center), February 15, 2008.
 10
    Ibid.


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 adherents to violent action—defining the concept of jihad in solely military terms—in response to
 this situation.

 Moghadam also published an important book, The Globalization of Martyrdom, that extends this
 thesis at length.11 Examining a wealth of data and cases, Moghadam concludes that explanations
 for extremism focusing on political grievances alone—in particular, the school of thought focusing
 on the causal force of foreign occupation by democratic countries, which is known as “occupation
 theory”—fail to fully explain contemporary suicide terrorism. He notes that suicide attacks
 “increasingly occur in countries where there is no discernible occupation.”12 While suicide attacks
 employed in nationalist struggles (such as those of Sri Lanka’s LTTE or Palestinian militant groups)
 may occur in the context of occupation, Moghadam lists a number of countries that cannot
 reasonably be considered occupied that have seen significant suicide attacks, including Bangladesh,
 Indonesia, Jordan, Morocco, Saudi Arabia and Uzbekistan. Even where suicide attacks are carried
 out in response to occupations, they often do not target the occupier.

 Suicide attacks in Iraq, Moghadam notes, “aimed instead at Shias, Kurds, and Sufis, in an apparent
 effort to stir ethnic tensions in the country and delegitimize the Iraqi government in the eyes of
 Iraqis.” Further, Moghadam notes that when suicide attacks target occupation forces, many of them
 “are not carried out by those individuals who, theoretically, should be most affected by the
 occupation.” Again using Iraq as his example, Moghadam concludes that most suicide attacks
 against occupation forces were carried out by foreign militants (such as Saudis, Syrians and
 Kuwaitis) rather than by Iraqis themselves.

 Moghadam’s major conclusion is that the growing appeal of salafi jihadist ideology has produced
 a “globalization of suicide missions.” 13 Based on such factors as conflict type, ideology,
 geographic scope of actors, targets, and goals, Moghadam distinguishes localized from globalized
 suicide attacks. The latter often occur in areas “not identified by all parties as zones of conflict,”
 are overwhelmingly associated with salafi jihadist groups, and are often connected to transnational
 militancy.14 Since the 9/11 attacks, Moghadam finds that suicide terrorist attacks by transnational
 salafi jihadist militant groups “have risen exponentially, far outnumbering the attacks conducted
 by the previously dominant groups.”15

 Moghadam finds that ideology has an impact on suicide terrorism on the individual and
 organizational level. On the individual level, he notes that ideology “helps reduce the suicide
 attacker’s reservations about perpetrating the act of killing and dying. Specifically, ideology fills
 two roles: it helps the suicide bomber justify the act, and it helps the suicide attacker to morally
 disengage himself from his act and from the victim.” 16 On the organizational level, most
 contemporary suicide campaigns “are designed to undermine the stability of a regime that the
 perpetrating groups deem illegitimate,”17 often because such governments are seen as un-Islamic.

 11
    Assaf Moghadam, The Globalization of Martyrdom: Al Qaeda, Salafi Jihad, and the Diffusion of Suicide Attacks
 (Baltimore: The Johns Hopkins University Press, 2008).
 12
    Ibid., p. 34.
 13
    Ibid., p. 2.
 14
    Ibid., p. 57.
 15
    Ibid., p. 251.
 16
    Ibid., p. 255.
 17
    Ibid., p. 259.


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 Other studies have quantitatively established the significance of ideology. My own work on
 militant Islamist ideology and terrorism, which examined 117 homegrown terrorist cases in the
 U.S. and U.K. through 2008, found that externally measurable indicators of salafi jihadist ideology
 could be observed throughout the sample with enough frequency to suggest the salience of this
 ideology.18

 In 2016, Michael Jensen and Gary LaFree of the START program at the University of Maryland
 published a study funded by the U.S. Department of Justice’s National Institute of Justice, entitled
 Empirical Assessment of Domestic Radicalization. After examining adherents to various extremist
 ideologies in the United States, Jensen and LaFree conclude that ideology “significantly related to
 behavior,” and that the embrace of a particular ideology is an intrinsic part of terrorists’
 radicalization process.19 The findings of the study, which is based on a mixed-method approach to
 examining the largest known database of individual radicalization in the United States, support the
 idea that ideology—in particular, militant Islamist and far-right ideologies—drives mobilization
 to violence. The researchers explain:

         Regardless of how we model the relationship between ideology and extremist
         behaviors, far right and Islamist ideologies appear to have a significant and positive
         relationship to violence. Despite being hard to assess using statistical methods, our
         results indicate that ideology may play a distinct, non-epiphenomenal role in the
         likelihood of violence. That is, the relationship between ideology and violence does
         not appear to be one that is completely driven by selection effects, whereby
         individuals with violent tendencies choose violent ideologies, and those without
         violent tendencies choose leftist ideologies. Rather, ideology appears to have an
         independent effect on shaping individual behaviors. These findings also suggest
         that ideological frameworks interact with other aspects of a radicalized individual’s
         life—namely peer-effects and personal stability indicators—to create pathways
         toward violence in the processes of radicalization.20

 Jensen and LaFree’s finding that ideology plays a non-epiphenomenal role in the likelihood of
 violence is not only consistent with the most persuasive academic work examining militant
 Islamism, but is also consistent with research into contemporary neo-Nazi movements. Martin A.
 Lee, whose book The Beast Reawakens provides an account of the resurgence of neo-Nazi and far
 right extremism, recounts the statement of white supremacist John King after he was sentenced to
 death. King and two friends were responsible for the notorious 1997 murder of James Byrd, a
 disabled black man whom they “chained to the back of a pickup truck in Jasper, Texas, and dragged
 by his ankles on a rough rural road for several miles until his head ripped off his body.”21 Lee
 describes King’s reaction to the sentence:


 18
    Daveed Gartenstein-Ross & Laura Grossman, Homegrown Terrorists in the U.S. and U.K.: An Empirical
 Assessment of the Radicalization Process (Washington, DC: FDD Press, 2009).
 19
    Michael Jensen & Gary LaFree, Final Report: Empirical Assessment of Domestic Radicalization (EADR) (College
 Park, Md.: University of Maryland, 2016).
 20
    Ibid., p. 41.
 21
    Martin A. Lee, The Beast Reawakens: Fascism’s Resurgence from Hitler’s Spymasters to Today’s Neo-Nazi Groups
 and Right-Wing Extremists Kindle ed. (New York: Routledge, 2000), loc. 149 of 12225.


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          King showed no emotion when the death sentence was handed down. He responded
          in court by issuing a terse statement through his lawyer that ended with haughty
          words from American fascist ideologue Francis Parker Yockey, who committed
          suicide nearly four decades earlier: “The promise of success is with the man who
          is determined to die proudly when it is no longer possible to live proudly.”22

 Reflecting on King’s invocation of Yockey, Lee concludes that it “highlights the link between
 those who promote extremist ideology and the fanatical disciples who carry it out.”23

 Political Grievance

 Political grievances are another pathway through which individuals may come to engage in
 extremist violence. Different kinds of political grievance that relevant scholarship has found to be
 important drivers of radicalization to violence include frustration with U.S. foreign policy,
 perceptions of discrimination, and socio-political marginalization. Personal grievances can interact
 with and reinforce group-level political grievances.

 Social psychologists Clark McCauley and Sophia Moskalenko provide one of the most
 comprehensive discussions of the political grievance pathway to radicalization in their 2011 book
 Friction: How Radicalization Happens to Them and Us. 24 McCauley and Moskalenko outline
 twelve mechanisms of radicalization. Mechanisms that operate on an individual level include
 personal grievance based on harm inflicted on an individual or his loved ones; group grievance
 based on actual harm or threats toward a group or cause the individual cares about; a slippery slope,
 in which small involvements build upon each other, ultimately producing larger actions and
 commitments; love for someone already radicalized that can pull an individual toward
 radicalization; the risk and status that comes from involvement in an idealistic, and in many cases
 outlawed, cause; and unfreezing, where an individual who loses social connection can become
 open to new ideas and a new identity. Group mechanisms for radicalization that McCauley and
 Moskalenko identify include group polarization, where like-minded individuals cause each other
 to adopt increasingly strident views; group competition, where groups become radicalized through
 a process of political competition with other like-minded groups; and group isolation, where group
 members are cut off from others, and come to see only the group itself as important, and everything
 external as unimportant or even evil.

 In a peer-reviewed article published in 2015, “The Radicalization Puzzle,” Mohammed Hafez and
 Creighton Mullins synthesize several major academic works related to radicalization. They find
 that, despite debates within the field of study, there is “some consensus on the key variables that
 produce radicalization and violent extremism.”25 Hafez and Mullins highlight several kinds of


 22
    Ibid.
 23
    Ibid., loc. 159 of 12225.
 24
    Clark McCauley and Sophia Moskalenko, Friction: How Radicalization Happens to Them and Us (Oxford: Oxford
 University Press, 2011).
 25
    Mohammed Hafez and Creighton Mullins, “The Radicalization Puzzle: A Theoretical Synthesis of Empirical
 Approaches to Homegrown Extremism,” Studies in Conflict & Terrorism 38 (2015), p. 959. McCauley and
 Moskalenko would later identify Hafez and Mullins’s study as one of the key “milestones” in radicalization research
 based on its “contribution to psychological theorizing of radicalization and salience to U.S. security officials.” Clark


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 grievance that have had salience in terrorism cases, including Western foreign policy and
 perceived discrimination. They observe that political grievances often interact with ideology,
 particularly in a group environment. In explaining how ideology functions in this context, Hafez
 and Mullins write:

          Ideology can help forge a new rebellious identity by appealing to symbols,
          narratives, mythologies, and rituals that give meaning to acts of personal risk and
          sacrifice. These symbols and narratives give a sense of reenactment of the past
          where good triumphed over evil, framing victory as “inevitable.” It links isolated
          individuals with broader goals and identities, and may even link worldly time with
          sacred history. Ideology can thus turn mundane existence into a cosmic struggle
          between justice and inequity, and empowers individuals by suggesting that an
          alternative world is possible. Ideology can facilitate the reprioritization of values
          so that material benefits, career, family, or personal risk take a back seat to
          collective identity, transcendental values, and group solidarity. It is also necessary
          for demonizing or dehumanizing enemies and enabling moral beings to engage in
          otherwise immoral violence. In the case of religious extremists, ideology can frame
          personal sacrifice in this world as a steppingstone to eternal salvation and
          redemption. The rewards of afterlife far exceed any possible pleasures that can be
          derived in this world.26

 In synthesizing various pathways to violent action in service of extremist causes, Hafez and
 Mullins specifically finger Islamist militants’ use of online platforms as a significant facilitator.
 “Combined, radicals use these technologies to provide basic information on jihadi arenas and
 insurgent movements, and transmit political and religious narratives to motivate mobilization
 abroad or at home,” they write. “External networks distribute video clips, montages, hymns and
 poems, and even video games to publicize their deeds and promote the image of heroic warriors
 of God.”27

 Both militant Islamist and neo-Nazi movements feature ideological true believers, as well as those
 whose involvement in the movement is driven more by individual or group grievance. There are
 also other radicalization pathways, including radicalization driven by sense of adventure, and
 radicalization driven by mental illness, sometimes coupled with recruiters’ cynical exploitation of
 these individuals.28 The next section turns to the role played by hate speech.

 The Particular Role of Hate Speech



 McCauley & Sophia Moskalenko, “Understanding Political Radicalization: The Two-Pyramids Model,” American
 Psychologist 72:3 (2017), p. 205, 210.
 26
    Hafez and Mullins, “The Radicalization Puzzle,” p. 967.
 27
    Ibid., p. 969.
 28
    Mental illness is rare as a driver of terrorism in the group context, as terrorists tend to suffer from mental illness at
 a lesser frequency than the population as a whole. See Marc Sageman, Leaderless Jihad: Terror Networks in the
 Twenty-First Century (Philadelphia: University of Pennsylvania Press, 2008). However, for “lone wolf” terrorists, as
 opposed to those affiliated with groups, anecdotal evidence suggests that they may suffer from mental illness at a
 higher rate than the general population. See Ramón Spaaij, Understanding Lone Wolf Terrorism: Global Patterns,
 Motivations and Prevention (Springer, 2012).


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 Hateful messages are a staple of extremist ideologies. Hate speech magnifies extremist grievances
 and helps mobilize the audience to violence. Hateful messaging serves as a tool through which
 organizations indoctrinate potential recruits and facilitate their adoption of a radical worldview. In
 2016, the Secretary General of the Council of Europe, Thorbjørn Jagland, remarked that “young
 people are often made more vulnerable and open to (terrorist recruitment) offers after having
 encountered hate speech on the Internet.” 29 Hateful rhetoric helps break down psychological
 barriers to violence, while repeated exposure to and engagement in hateful rhetoric accelerates the
 process of dehumanizing one’s foes, and thus morally disengaging from physical harm inflicted
 upon them.

 Experts generally agree that individuals derive a certain level of self-concept based on group
 membership. Our understanding of and identification with our respective social group provides us
 with a set of norms and behaviors to adhere to, as well as a sense of pride and self-esteem.30 By
 positively differentiating our in-group from another out-group, we can bolster our individual sense
 of positive distinctiveness. But there are pitfalls inherent in this kind of social categorization. One
 set of dangers relates to discrimination based on group identity. Further, as individuals become
 increasingly invested in belonging to a group, the salience of their collective identity can surpass
 that of their individual identities.31 Over time, the cognitive prioritization of the group over the self
 can depress an individual’s “psychological threshold” for carrying out acts of violence, especially
 in pursuit of ideological goals that are viewed as paramount.32 If the group portrays violent or
 alienating behavior as compulsory and vindicated, then the individual is more likely to adopt this
 mentality and engage in such acts.33

 Hateful rhetoric strengthens the salience of collective identity, and can condition individuals to
 perceive an out-group and its members in a highly pejorative manner. Such messaging exaggerates
 the differences between in-group members and out-group members. Hateful messages targeting
 an out-group often feature accusations and alarming statements depicting the out-group as an
 existential threat to the in-group. Such assertions heighten in-group members’ “lack of empathy
 and increased animus to out-groups.” 34 The contempt that hate speech breeds further fuels
 cognitive distancing between the individual and members of the out-group: Out-group members
 are viewed not only as different and inferior, but as loathsome.35



 29
    Thorbjørn Jagland, “Terror and Radicalization: The Council of Europe’s Response,” Horizons (Spring 2015).
 30
    Fathali Moghaddam, Multiculturalism and Intergroup Relations: Psychological Implications for Democracy in
 Global Context (Washington, D.C.: American Psychological Association, 2008), p. 95; Joshua David Wright, “A
 Social Identity and Social Power Perspective on Terrorism,” Journal of Terrorism Research 6:3 (2015), pp. 76–83.
 31
    See Kira Harris, Eyal Gringart & Dierdre Drake, “Understanding the Role of Social Groups in Radicalisation,”
 Proceedings of the 7th Australian Security and Intelligence Conference, Edith Cowan University, Perth, December 1-
 3, 2014 (summarizing theories of deindividuation).
 32
    Jensen & LaFree, Empirical Assessment of Domestic Radicalization, pp. 19-20 (summarizing research and
 synthesizing it with their empirical findings).
 33
    Harris et al., “Understanding the Role of Social Groups in Radicalisation.” Harris and her colleagues review the
 relevant literature, and note that “if the group presents violent or alienating action as required and justified, then the
 individual will embrace this view.”
 34
    Harris et al., “Understanding the Role of Social Groups in Radicalisation.”
 35
    Robert Sternberg, “A Duplex Theory of Hate: Development and Application to Terrorism, Massacres, and
 Genocide,” Review of General Psychology 7 (2003).


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 Hate speech can also function as a mechanism for dehumanization, which social psychologists and
 historians have found to be connected to violence. Alexandra B. Roginsky and Alexander Tsesis
 note that “hate speakers rely on dehumanizing images to justify exclusion, discrimination, and, in
 genocidal cases, elimination of identifiable groups. Dehumanization can be both an attack on the
 target’s dignity and a justification for harmful actions. Statements dehumanizing hated groups
 often influence the commission of discriminatory conduct.”36 They note the role of hateful rhetoric
 in motivating the slaughter of Jews in Nazi Germany, Armenians in Turkey, Darfuris in Sudan,
 and Tutsis in Rwanda. 37 Put simply, exposure to the dehumanizing rhetoric and beliefs that
 characterize hate speech can deteriorate psychological impediments to violence by encouraging
 emotional and cognitive detachment between the actor and the target.38 “To perceive another as
 human activates empathetic reactions through perceived similarity,” writes Stanford University
 psychologist Albert Bandura. “Once dehumanised, they are no longer viewed as persons with
 feelings, hopes and concerns but as sub-human objects.”39

 Adam Lankford, a criminology professor at the University of Alabama, explains in his book
 Human Killing Machines that “if your enemies are not regarded in human terms, it is much easier
 to exterminate them.” 40 Militant Islamist groups like al-Qaeda and ISIS, for example, define
 victims as vermin, describing the West as a “world of contaminants,” and characterizing
 Westerners and Jews as “lowly animals.”41 We can discern this tendency to dehumanize the enemy
 in the statements of ISIS terrorists and leaders. As just one of many examples, on December 19,
 2016, Anis Amri ploughed a truck into a Christmas market in Berlin, killing 12 people. Prior to
 the attack, Amri recorded a video claiming credit on ISIS’s behalf. He called on Muslims in Europe
 to “kill the crusader pigs,” a dehumanizing description of the group’s enemies.42 Amri’s statement
 was utterly typical of ISIS’s rhetoric, and examples of militant Islamists and neo-Nazis using
 dehumanizing language to describe their enemies are numerous.

 Dehumanization is only one aspect of the psychological disengagement process that can mobilize
 militants. In “Mechanisms of Moral Disengagement in Terrorism,” Albert Bandura explains that
 the transformation of ordinary, well-adjusted individuals into killers is “accomplished by
 cognitively restructuring the moral value of killing, so that it can be done free from self-censuring
 restraints.”43 In this way, hate speech and extremist ideology often mutually reinforce one another.
 In other words, beyond demonizing and degrading the enemy, hateful rhetoric can advance an
 extremist ideology, articulating the grievances of the group and facilitating a process of moral
 restructuring. The persuasiveness of hateful messages becomes significantly stronger when paired


 36
    Alexandra B. Roginsky and Alexander Tsesis, “Hate Speech, Volition, and Neurology,” Journal of Law and the
 Biosciences 3:1 (2016), pp. 174–77.
 37
    Ibid.
 38
    Sternberg, “A Duplex Theory of Hate.”
 39
    Albert Bandura, “Selective Moral Disengagement in the Exercise of Moral Agency,” Journal of Moral Education
 31:2 (2002), pp. 108-09.
 40
    Adam Lankford, Human Killing Machines: Systematic Indoctrination in Iran, Nazi Germany, al Qaeda, and Abu
 Ghraib (Lanham: MD, Lexington Books, 2010), p. 80.
 41
    Ibid.
 42
    Adam Withnall, “Berlin Attack Suspect Anis Amri ‘Recorded Video Pledging Allegiance to Isis,’” The Independent
 (U.K.), December 23, 2016.
 43
    Albert Bandura, “Mechanisms of Moral Disengagement,” in Walter Reich ed., Origins of Terrorism: Psychologies,
 Ideologies, Theologies, States of Mind (Cambridge, UK: Cambridge University Press, 1990).


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 with “religious principles, righteous ideologies, and nationalistic imperatives.” 44 In this way,
 hateful rhetoric and extremist ideologies can create a cyclical process wherein ideology prescribes
 a certain moral framework while hate speech allows individuals to tune out voices opposed to their
 growing extremism, and lower their moral disinclination to carry out or materially support
 extremist violence. Hate speech can reinforce an ideology, which in turn proliferates the use of
 hate speech.

 This report has thus outlined how militant Islamism and neo-Nazism have common mechanisms
 of radicalization. It now examines various individuals who represent the convergence between
 Nazism and Islamist militancy in practice.

 II.     The Convergence: Nazism and Islamist Militancy

 It may seem counterintuitive or surprising that there would be areas of convergence between
 Nazism and Islamist militancy, or that both ideologies might appeal to the same person. After all,
 a committed Nazi would view many Muslims as racially suspect, while Islamist militants tend to
 view “infidels” as a whole as their adversaries. But there have been areas of convergence between
 Nazi and Islamist militant movements, and there are several cases where terrorists or extremists
 embraced both ideologies simultaneously, or moved fluidly from one to the other. Despite their
 points of difference, there are ideological similarities between both movements, and they share an
 overlapping set of enemies.

 Turning to the similarities between Nazism and Islamist militancy, they both offer adherents
 similar cognitive frameworks. Both Nazism and Islamist militancy are totalitarian movements that
 propose rigid, far-reaching, and all-consuming outlooks that divide the world unambiguously into
 “good” and “evil.” 45 These ideologies obviate the need for nuance in one’s decision-making
 processes, instead offering a clear set of black-and-white principles for interpreting the world. A
 second similarity is that Nazism and militant Islamism share overlapping sets of enemies: the
 Jewish people, and the West more broadly. (Even when neo-Nazi movements purport to represent
 or defend Western values, in practice they reject the current political system in its totality.) Both
 movements categorize Judaism as evil, and have a paranoid fixation on the idea of a global Zionist
 conspiracy. Indeed, a shared enmity toward the Jews lies at the center of literally every we have
 seen of Nazi-jihadist affinity. For some individuals who have embraced both Nazism and militant
 Islamism, the two movements’ contempt for Jews is of utmost importance, and allows them to
 overlook incongruent aspects of Nazi and jihadist ideology.

 This section first outlines the ideological principles of both movements. It then explores case
 studies of individuals who have become adherents of, or sympathetic toward, both militant Islam
 and Nazism. Following these case studies, the section briefly explores the historical convergence
 between Nazism and movements or governments rooted some way in Islamic values. Finally, the
 section examines the pervasive influence that anti-Semitism has had on both movements.

 Defining Nazism and Jihadism

 44
    Ibid.
 45
    David Patterson, “Islamic Jihadism and the Legacy of Nazi Antisemitism,” Journal of Antisemitism vol. 7 (2016),
 p. 189.


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 National Socialism, more commonly known as Nazism, is a fascist, authoritarian ideology defined
 by hyper-nationalism and extreme xenophobic and ethnocentric views. The ideological tenets of
 Nazism are best articulated in two documents: the dictator Adolf Hitler’s autobiography Mein
 Kampf and the Nazi Party’s twenty-five point program, which Hitler first articulated in a public
 speech in February 1920. 46 Outside of these two documents, there is a dearth of officially-
 sanctioned material that conveys the principles of the movement. For instance, although Alfred
 Rosenberg’s The Myth of the Twentieth Century, an anti-Semitic interpretation of modern history,
 received wide acclaim in Nazi Germany, and is widely considered the most influential articulation
 of Nazi principles after Mein Kampf, Hitler stated privately that the book was “not to be regarded
 as an expression of the official doctrine of the party.”47 Nonetheless, Nazism’s core doctrines have
 been expressed in Nazi party documents, letters, decrees, Hitler’s speeches and writings, and most
 significantly in the actions of Nazi-ruled Germany, which was also known as the Third Reich.

 Nazism calls for a totalitarian model of governance, characterized by single party rule, a head of
 state with absolute power, and government control of the economy and press. But the most
 prominent and distinctive characteristic of Nazi ideology is its view on race and ethnicity. Nazism
 proposes a hierarchical racial order in which Germanic and Nordic peoples, known as “Aryans”
 by Nazi racial designations, are considered the most advanced and culturally refined—in other
 words, the “master race.”48 Nazism seeks to preserve the purity of the Aryan race, and views race
 mixing as a primary cause of cultural and political decline.49

 The Nazis’ fears of ethnic and racial impurity led Hitler and others to propose a militaristic form
 of social Darwinism that called for Germany to remove “inferior races” in order to create a stable
 and pure German nation. 50 This model of ethnic cleansing was focused most virulently on
 Germany’s Jewish population, whom Hitler viewed as parasitic and destructive, and as the greatest
 source of corruption in German society.51 Nazi Germany’s efforts to achieve cultural homogeneity
 included the Nuremberg Laws, which imposed severe legal restrictions on Germany’s Jewish
 population, and later the Final Solution, a plan to exterminate the Jewish people. The Nazi Party
 was also motivated by the principle of Lebensraum, a German word denoting living space. The
 Nazis claimed that the German state would need to expand territorially, through military means,
 to provide sufficient resources for the Aryan peoples.52

 The damage done by the Hitler’s Nazi regime is staggering. Fifty to 60 million people died in the
 Second World War, which Nazi Germany instigated. True to its anti-Semitic ideology, the Third
 Reich engaged in a systematic slaughter of Jewish people, killing around six million Jews.
 According to the United States Holocaust Memorial Museum, Nazi Germany also engaged in the
 mass slaughter of numerous other groups:

 46
    William L. Shirer, The Rise and Fall of the Third Reich Kindle ed. (New York: RosettaBooks, 2011 ed.), loc. 1024
 of 29529.
 47
    Hugh Trevor-Roper, Hitler’s Table Talk (New York: Enigma Books, 2000), p. 400.
 48
    George Lachmann Mosse, Nazi Culture: Intellectual, Cultural, and Social Life in the Third Reich (Madison, WI:
 University of Wisconsin Press, 1966), pp. 79-81.
 49
    Richard Evans, The Coming of the Third Reich (London: Penguin, 2005), p. 10.
 50
    Hajo Holborn, “Origins and Political Character of Nazi Ideology,” Political Science Quarterly 79:4 (1964), p. 546.
 51
    Ian Kershaw, Hitler: A Biography (London: W.W. Norton & Company, 2008), p. 148.
 52
    Ibid.


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         Soviet civilians: around 7 million (including 1.3 Soviet Jewish civilians, who are
         included in the 6 million figure for Jews)

         Soviet prisoners of war: around 3 millino (including about 50,000 Jewish soldiers)

         Non-Jewish Polish civilians: around 18 million (including between 50,000 and
         100,000 members of the Polish elites)

         Serb civilians (on the territory of Croatia, Bosnia and Herzegovina): 312,000

         People with disabilities living in institutions: up to 250,000

         Roma (Gypsies): 196,000 – 220,000

         Jehovah’s Witnesses: around 1,900

         Repeat criminal offenders and so-called asocials: at least 70,000 …

         Homosexuals: hundreds, possibly thousands53

 Though Nazi Germany met with decisive defeat at the end of World War II, its ideals are kept
 alive by the contemporary neo-Nazi movement. Violence, anti-Semitism, and racialism remain at
 the core of the neo-Nazi movement’s worldview. There are few differences between the ideology
 of contemporary neo-Nazi groups and that of the National Socialist Party that rose to power in
 Germany in the 1930s. Indeed, the neo-Nazi movement draws freely from Hitler’s ideas and ideals.

 Militant Islamism is frequently referred to by its adherents as salafi jihadism, or salafiyya
 jihadiyya. Salafi jihadism is a violent outgrowth of the salafi movement. Salafists can be defined
 broadly as individuals who embrace an austere religious methodology striving for a practice of
 Islam that they believe to be consonant with that of the Prophet Muhammad and the first three
 generations of Muslims. This focus on the first three generations is derived from a hadith, or saying
 of the Prophet Muhammad, who was asked about the characteristics of the best Muslims. He said
 that they were “of the generation to which I belong, then of the second generation, then of the third
 generation.”54

 The scholar Monica Marks identifies three major divisions of salafism: salafiyya ‘almiyya (usually
 translated as scientific salafism), political salafism, and salafi jihadism.55 She explains that for
 those who can be categorized as salafiyya ‘almiyya, democracy is “a tempting, but ultimately dead-
 end street.” Thus, people belonging to this current focus on “apolitical lives of quietist piety.”
 Adherents to the second category, political salafism, have much in common with those who

 53
    United States Holocaust Memorial Museum, “Documenting Numbers of Victims of the Holocaust and Nazi
 Persecution” (n.d.).
 54
    Sahih Muslim book 31, no. 6159.
 55
    Monica Marks, “Youth Politics and Tunisian Salafism: Understanding the Jihadi Current,” Mediterranean Politics
 18:1 (2013).


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 identify as salafiyya ‘almiyya, but believe that participation in democratic politics is justified
 despite its flaws because it “could serve as a vehicle to attain a more caliphate-like, shariah-based
 polity.” The third division, salafi jihadism, rejects both participation in democracy and also “the
 non-engagement of scripturalist Salafis.” 56 Instead, this strain of salafism sanctions violence.
 Quintan Wiktorowicz notes that salafi jihadists “take a more militant position” than other salafi
 strains, arguing “that the current context calls for violence and revolution.”57 Similarly, Stefano
 Torelli, Fabio Merone and Francesco Cavatorta define salafi jihadism as “a form of violent
 opposition to ‘unjust rule,’ aimed at establishing an Islamic state.”58

 Salafi jihadists define “unjust rule” broadly. While the movement bases its justification for
 violence in part on political grievances, which have been outlined in numerous jihadist
 documents,59 the movement’s political grievances should not obscure the longer-term political
 objectives driving its use of violence. One objective is to spread sharia, or Islamic law. As al-
 Qaeda’s co-founder and longtime emir Osama bin Laden said in a 1998 letter published in the
 Rawalpindi-based newspaper Jang, al-Qaeda believes that its war should continue until “the
 Islamic sharia is enforced on the land of God.”60 Jihadist leaders have repeatedly emphasized the
 importance of establishing sharia since then, and whenever they have succeeded in seizing territory,
 they have implemented a hardline version of sharia. A strict version of sharia was implemented,
 for example, in Taliban-ruled Afghanistan from the mid-1990s through 2001; in Iraq’s Anbar
 province under al-Qaeda in Iraq, and later in Iraq and Syria under ISIS; in Somalia under al-
 Shabaab; in Yemen under al-Qaeda in the Arabian Peninsula (AQAP); in northern Mali under al-
 Qaeda in the Islamic Maghreb (AQIM); and in Libya when ISIS conquered the coastal city of Sirte.

 The implementation of a hardline version of sharia in these areas has been catastrophic for
 vulnerable populations. The Taliban’s treatment of women was so inhumane that Physicians for
 Human Rights noted in 1998 that “no other regime in the world has methodically and violently
 forced half of its population into virtual house arrest, prohibiting them on pain of physical
 punishment from showing their faces, seeking medical care without a male escort, or attending
 school.”61 Homosexuals were executed. Virtually every imaginable form of light entertainment
 was banned, including kite flying, movies, television, music, and dancing. Also banned were
 paintings and the celebration of holidays that were cultural rather than religious, such as the Afghan
 new year.62 Afghans were beaten and sometimes killed for flouting the Taliban’s complex and
 often absurd set of rules. And ISIS’s rule was even more extreme and brutal. In areas where it was
 militarily powerful, ISIS implemented outright genocidal policies toward religious minorities,
 including Yazidis and Christians, including engaging in mass slaughter of civilians. ISIS had so
 thoroughly dehumanized the Yazidis that its official English-language publication, Dabiq, even

 56
    Ibid., p. 109.
 57
    Quintan Wiktorowicz, “Anatomy of the Salafi Movement,” Studies in Conflict & Terrorism 29 (2006), p. 208.
 58
    Stefano M. Torelli, Fabio Merone and Francesco Cavatorta, “Salafism in Tunisia: Challenges and Opportunities for
 Democratization,” Middle East Policy 19:4 (2012), p. 145.
 59
    See, for example, Osama bin Laden, “Declaration of Jihad against the Americans Occupying the Land of the Two
 Holy Mosques,” trans. Open Source Center, August 23, 1996.
 60
    “Bin Laden: Expel Jews, Christians from Holy Places,” Jang (Rawalpindi), trans. Open Source Center, November
 18, 1998.
 61
    Physicians for Human Rights, The Taliban’s War on Women: A Health and Human Rights Crisis in Afghanistan
 (Boston: Physicians for Human Rights, 1998).
 62
    Ahmed Rashid, Taliban (New Haven: Yale Nota Bene, 2001), p. 107, 115.


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 boasted at length that it was now enslaving Yazidis, and forcing Yazidi women to become
 concubines.63 (The group argued at length that the institution of forced concubinage was justified
 theologically.) ISIS’s implementation of sex slavery was widespread and devastating, both
 physically and psychologically, for its victims.

 Another goal of the salafi jihadist movement is reestablishment of the caliphate, a theocratic
 government that would rule a united Muslim world. Islam’s first caliph (Arabic for successor,
 denoting that the caliph follows Muhammad as the faith’s political leader) was Abu Bakr, who led
 the umma beginning in 632 AD, after the Prophet Muhammad’s death. One jihadist thinker, in a
 representative statement, described Mustafa Kemal Atatürk’s 1924 abolition of the caliphate as the
 “mother of all crimes.”64 Al-Qaeda leaders, including bin Laden, made multiple references to the
 need to reestablish the caliphate. ISIS claimed in a June 2014 announcement that it had
 accomplished this goal. Yet the caliphate’s alleged establishment did not end ISIS’s war against
 the infidels, nor would it do so for al-Qaeda.

 One work that shows how jihadists envision their fighting continuing even after the caliphate has
 been restored is Jordanian journalist Fouad Hussein’s influential 2005 book Al-Zarqawi: The
 Second Generation of al-Qaeda, which Pulitzer Prize-winning author Lawrence Wright has called
 “perhaps the most definitive outline of al-Qaeda’s master plan.” 65 Hussein shows that in this
 master plan, al-Qaeda’s strategists foresaw a “stage of all-out confrontation” with the forces of
 atheism after the caliphate is established. Hussein writes, “Al-Qaeda ideologues believe that the
 all-out confrontation with the forces of falsehood will take a few years at most. The enormous
 potential of the Islamic state—particularly because the Muslim population will amount to more
 than 1.5 billion—will terrify the enemy and prompt them to retreat rapidly.”66 Consistent with this
 vision of the caliphate’s establishment as one further step to all-out confrontation with the non-
 Muslim world, ISIS continued to try to conquer land contiguous to the territory it controlled, and
 to carry out brutal terrorist attacks throughout the world, even after it declared a caliphate.

 Individual Case Studies of the Nazi-Militant Islamist Convergence

 Ideological synergy between neo-Nazism and militant Islamism has resulted in some people either
 embracing both ideologies simultaneously or else transitioning smoothly from one movement to
 the other. Scholar Lorenzo Vidino of George Washington University notes that neo-Nazis and their
 fellow travelers are “fascinated with fundamentalist Islam’s opposition to capitalism, its martial
 discipline, and its profound hatred of Jews.”67 Vidino writes:

         Several members of European fascist and Nazi organizations expressed their
         support for the 9/11 attacks, and there have been reports of contact between their

 63
    “The Revival of Slavery Before the Hour,” Dabiq issue 4, October 2014, pp. 14-17.
 64
    Asim Umayra, “The Destruction of the Khilafah: The Mother of All Crimes,” talk given at Najah University, Nablus,
 West Bank, April 15, 2000, quoted in Mary Habeck, Knowing the Enemy: Jihadist Ideology and the War on Terror
 (New Haven, CT: Yale University Press, 2006), p. 8.
 65
    Lawrence Wright, “The Master Plan,” New Yorker, September 11, 2006.
 66
    Fouad Hussein, Al-Zarqawi: The Second Generation of al-Qaeda, part 15, serialized in Al-Quds Al-Arabi (London),
 May 30, 2005, trans. Open Source Center.
 67
    Lorenzo Vidino, Al-Qaeda in Europe: The New Battleground of International Jihad (Amherst, NY: Prometheus
 Books, 2006), p. 32.


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         groups and radical Islamic organizations. Though their numbers are still small,
         some of these extremists have converted to Islam and embrace the religion’s most
         vicious interpretation.68

 This observation—that members of Nazi organizations who convert to Islam almost uniformly
 embrace the most extreme version of that faith—is consistent with my own research into the
 phenomenon. This section examines several individuals that illustrate the Nazi-militant Islamist
 connection, including David Myatt, Steven Smyrek, Emerson Begolly, Ahmed Huber, Sascha
 Lemanski, Devon Arthurs, Thomas Usztics and Diego José Frías Álvarez.

 David Myatt. One the most famous examples of this type of convergence is David Myatt, a founder
 of the British National Socialist Movement. Myatt converted to Islam in 1998.

 According to George Michael, an American academic who has done seminal research on the
 relationship between neo-Nazism and militant Islamism, Myatt “has arguably done more than any
 other theorist to develop a synthesis of the extreme right and Islam.”69 Prior to converting to Islam,
 Myatt authored a handbook entitled A Practical Guide to Aryan Revolution, and served as the
 ideological leader of the ultra-violent British neo-Nazi gang Combat 18.70 In an online article
 entitled From Neo-Nazi to Muslim, Myatt acknowledges the apparent irony of his conversion, and
 the tension that existed between his former and then-current ideology. He wrote: “These were the
 people who I had been fighting on the streets, I had swore [sic] at and had used violence against—
 indeed, one of my terms of imprisonment was a result of me leading a gang of skinheads in a fight
 against ‘Pakis’.”71 But Myatt eventually lost hope in the far right’s ability to combat Zionism and
 the West. He explained: “There will not be an uprising, a revolution, in any Western nation, by
 nationalists, racial nationalists, or National Socialists—because these people lack the desire, the
 motivation, the ethos, to do this and because they do not have the support of even a large minority
 of their own folk.”72

 This disillusion helped prompt Myatt to turn to Islam, after which he assumed the name Abdul
 Aziz ibn Myatt. Myatt exhorted “all enemies of the Zionists to embrace the Jihad,” referred to
 Islam as the “true martial religion,” and claimed that it “will most effectively fight against the Jews
 and the Americans.”73 He praised al-Qaeda leader Osama bin Laden, describing bin Laden as “an
 exemplary warrior who has forsaken a life of luxury to pursue his Islamic duty.”74 In an essay
 entitled “In Reply to Sheikh Salman b. Fahd al-Oadah,” Myatt rebuffed a leading Saudi cleric who
 had criticized al-Qaeda and Osama bin Laden for sanctioning the killing of innocents. In his
 response, Myatt argued that bin Laden seeks “only to do what is right and just according to the

 68
    Ibid.
 69
    George Michael, The Enemy of My Enemy: The Alarming Convergence of Militant Islam and the Extreme Right
 (Lawrence, KS: University of Kansas, 2006), p. 142.
 70
    Nicola Woolcock & Dominic Kennedy, “What the Neo-Nazi Fanatic Did Next: Switched to Islam,” The Times
 (U.K.), April 24, 2006.
 71
    Quoted in ibid.
 72
    Ibid.
 73
    Discussed in Ely Karmon, “The Middle East, Iraq, Palestine—Arenas for Radical and Anti-Globalization Groups
 Activity,” paper presented at NATO Workshop on Terrorism and Communications – Countering the Terrorist
 Information Cycle, April 2005, available at https://www.ict.org.il/Article.aspx?ID=929.
 74
    Michael, The Enemy of My Enemy, p. 147.


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 criteria of Quran and Sunnah,” and therefore that those who criticize him “betray” him to the
 “kuffar,” a derogatory term for non-believers.75

 Essentially, Myatt’s hatred for Jews and enmity toward the “so-called New World Order”
 superseded the discordant elements of militant Islamist and Nazi ideology. “According to Myatt,”
 George Michael writes, “the primary battle against the Zionist occupation government (ZOG) has
 shifted from the West to the Islamic world… This war between Islam and the new world order, in
 Myatt’s estimation, makes the extreme right’s goals more easily obtainable.”76 Consequently, in
 an interview with Michael in April 2003, Myatt deemed an alliance between militant Islamists and
 National Socialists to be not only “possible” but “indeed necessary.”77

 Though Myatt eventually came to reject both Islam and extremism, his case provides an example
 of how one’s commitment to anti-Semitism can bridge the ideological divide between Nazism and
 jihadism.

                                    Emerson Begolly is a Nazi sympathizer turned jihadist who
                                    originally hails from Pennsylvania. He had been involved in neo-
                                    Nazism at a young age, as Begolly’s father introduced him to Nazi
                                    beliefs, and dressed him as a Nazi.78 Begolly posted photos on his
                                    MySpace page depicting him dressed as a Nazi while he was a
                                    teenager.

                                Begolly later converted to Islam, and became an active member of
                                several jihadist forums. Displaying continuity with his early
                                immersion in Nazi ideas and identity, he established a reputation
                                for particularly harsh anti-Semitic posts.79 For example, in one post
                                on a jihadist forum in which he references Hitler’s Final Solution,
                                Begolly wrote: “The only the good about that all the jews weren’t
                                gassed that that insha’Allah someday we will get a chance to kill
                                jews ourselves.”80 (Grammar in original.) Begolly was also known
                                for collecting, distributing, and producing his own nasheeds—
                                Islamic works of acapella music. Islamist militants have
                                particularly taken to producing nasheeds because they believe
 musical instruments are religiously proscribed, thus making the a capella nasheeds one of the few
 permissible forms of music. Begolly composed an original nasheed entitled “When the Jew’s
 Blood Reds My Knife, Then My Life is Free from Strife”:

         When the Jew’s blood reds my knife, Then my life is free from strife.
         Hiding behind rocks and trees, I’ll find them with greatest ease.
         Make them get down on their knees, Slaughter them despite their pleas.
 75
    David Myatt, “In Reply to Sheikh Salman b. Fahd al-Oadah,” blog entry posted in September 2007, available at
 http://archive.is/Ornn#selection-1257.0-1799.16.
 76
    Michael, The Enemy of My Enemy, pp. 146-47.
 77
    Ibid.
 78
    Hanna Siegel, “Nazi Buff Turned Jihadi Allegedly Bites FBI Agents,” ABC News, January 6, 2011.
 79
    SITE Intelligence Group, “Emerson Begolly: An American Jihadist,” December 22, 2010.
 80
    Ibid.


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          Throw them in the ovens hot, Soap and lampshades sold and bought.
          Made of the Jews that we shot, Mercy’s something I have not.
          With the bomb and machine gun, Blast at them and watch them run.
          We will have a lot of fun, Shoot and kill Jews one by one.
          Rise up, O Salahuddin, Great and brave Mujahideen.
          Like the Sheikh Ahmed Yassin, For the Love of Filisteen.
          At al-Aqsa we shall meet, After Israel’s defeat.
          Their dead bodies at our feet, Taste of victory is sweet.
          Jerusalem is calling me, Asadullah Alshishani.
          Jihad’s where you’re meant to be, Come and set the captives free.81

 Begolly began exhorting others to participate in violent attacks in the United States. Information
 presented in Begolly’s prosecution showed that he was “an active administrator” of a jihadist
 forum known as Ansar al Mujahideen English Forum. 82 Writing under the name Abu Nancy,
 Begolly “systematically solicited jihadists to use firearms, explosives, and propane tanks against
 targets such as police stations, post offices, Jewish schools and daycare centers, military facilities,
 train lines, bridges, cell phone towers, and water plants.” 83 On December 18, 2010, Begolly
 uploaded a guide with instructions on how to manufacture explosives.84 He was sentenced to 102
 months in prison after pleading guilty to soliciting crimes of violence.

 One piece of evidence provided to me by the U.S. Attorney’s Office in the Eastern District of
 Virginia suggests that the defendant was interested in the Begolly case. A post that seemingly
 appeared on the defendant’s Facebook page recommends a news video produced by WTAE
 Channel 4 Pittsburgh where reporters profile Begolly, and discuss his extremist beliefs and pro-
 terrorism activities.85

 Steven Smyrek. Another case of Nazi-militant Islamist convergence is Steven Smyrek, a former
 German neo-Nazi. While most cases of convergence discussed in this section involve individuals
 who gravitated toward Sunni militancy, Smyrek was arrested in Israel in 1997 for planning to carry
 out a suicide attack on behalf of Hizballah, a Shia militant group.86 Smyrek had converted to Islam
 prior to travelling to Tel Aviv. Though he was sentenced to ten years in prison, Israeli security
 services released Smyrek as part of a prisoner exchange agreement in 2004 after he signed a
 document “renouncing violence.”87



 81
    Lorenzo Vidino et al., Terrorist Chatter: Understanding What Terrorists Talk About (Ottawa: Carleton University,
 2015), p. 63. In this passage, he references Ahmed Yassin, founder of the Islamist terrorist group Hamas. Filisteen is
 the Arabic word for Palestine. Begolly’s reference to Asadullah Alshishani indicates the name he adopted following
 his conversion to Islam.
 82
    U.S. Department of Justice, press release, “Pennsylvania Man Sentenced for Terrorism Solicitation and Firearms
 Offense,” July 16, 2013, https://archives.fbi.gov/archives/pittsburgh/press-releases/2013/pennsylvania-man-
 sentenced-for-terrorism-solicitation-and-firearms-offense.
 83
    Ibid.
 84
    Ibid.
 85
    Evidentiary documents GX 8-108, 8-109.
 86
    Vidino, Al-Qaeda in Europe, p. 33; see also Der Spiegel (German), February 9, 1998; Der Spiegel (German), April
 13, 1998.
 87
    Deutschlandfunk Network (German), August 19, 1999; Handelsblatt (German), January 30, 2004.


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 But once he returned to Europe, Smyrek was unrepentant. “It’s an honor to die for Islam and for
 Allah,” he told a filmmaker in an interview for a documentary. “When the order comes you have
 to carry it out and there’s not time to ask if there is a God or not, or to think what will happen after
 you’re dead, without feeling you simply have to lay down your life as Allah decreed.”88

 The late Ahmed Huber, born Albert
 Friedrich Armand Huber in 1927, is another
 individual who, driven primarily by anti-
 Semitism, found common ground between
 neo-Nazi and extreme Islamist beliefs.
 Huber was a Swiss journalist and influential
 leader in Europe’s far-right circles who, in
 his late thirties, had converted to Islam. 89
 Huber actually converted to Islam prior to
 embracing more extreme right-wing beliefs.
 Nonetheless, according to George Michael,
 “[n]ot unlike David Myatt, Huber found no
 contradiction in terms of his Islamic faith
 and his admiration for German National
 Socialism.” 90 Huber was virulently anti-
 Semitic and anti-American, and his prioritization of these hatreds allowed him to move seamlessly
 between militant Islam and neo-Nazism. Like Myatt, Huber actively sought to nurture relations
 between Muslim extremism and the far right, arguing that they could unite against a common foe:
 Jews and Zionism.91

 Huber’s first real exposure to Islam came in 1959, when he was asked to shelter several Algerians
 fleeing from the country’s war for independence.92 He describes himself as having been, at the
 time, a “young socialist journalist” and “Protestant Christian, very tolerant, liberal, and not
 practicing … religious, but not too much.”93 In his conversations with the Algerians, he became
 “fascinated” by Islam, and recited his shahada (declaration of faith) in 1962. According to Huber,
 upon urging from the Egyptian embassy in Switzerland, he later repeated his shahada in Cairo,
 where he met Egyptian president Gamal Abdel Nasser.94 By Huber’s account, it was Nasser who
 sparked his later devotion to Nazism. Huber described meeting Nasser as “a complete cultural
 shock,” as “Nasser explained to [Huber] some things about the Third Reich and about the Second
 World War, and about Adolf Hitler.” 95 These conversations helped pave the way for Huber’s
 embrace of neo-Nazism, and helped to form Huber’s views on the convergence between Nazism
 and militant Islamism.


 88
    Quoted in Vidino, Al-Qaeda in Europe, p. 33.
 89
    Philipp Jaklin and Hugh Williamson, “Far-Right Has Ties with Islamic Extreme,” Financial Times (London),
 November 9, 2001.
 90
    Michael, The Enemy of My Enemy, p. 151.
 91
    Ibid., p. 274.
 92
    Ibid., pp. 149-50.
 93
    Ibid.
 94
    Ibid., p. 150.
 95
    Ibid.


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 In an interview he conducted with Huber, George Michael learned more about Huber’s views on
 this convergence. He found that Haj Muhammad Amin al-Husseini, the World War II-era pro-Nazi
 grand mufti of Jerusalem, “was instrumental in shaping Huber’s views, not only on Islam but also
 on the Third Reich.”96 Husseini—who is discussed subsequently in this report’s section on the
 historical convergence—served as a conduit between Adolf Hitler and the Arab world during
 World War II.

 Though Huber was a Sunni Muslim, he also displayed clear affinities for Shia militant figures.
 Huber told Michael that he “became more deeply involved with Islam” after traveling to Iran and
 meeting with Ayatollah Khomeini in the mid-1980s. Huber said that he “became very much
 touched by Shi’ite Islam and felt [sympathy] for the legality of the Shi’a Muslim and especially
 for the Islamic republic.”97 This trip to Iran came when the Islamic Republic was at its most overtly
 militant and ideological. That Huber’s trip during this period would cause him to openly endorse
 the new Iranian regime despite the deep schism between Sunni and Shia Islam illustrates that
 Huber prioritized anti-Semitism and anti-Americanism above all else, defining his heroes and
 allies in juxtaposition to the out-groups that he opposed. Huber confirmed this in his interview
 with Michael, saying:

           There are two great menaces, the power of Zionism in the United States over the
           United States, and as a consequence of this, the utterly hostile policies of the United
           States government, not only Mr. Bush but Mr. Clinton before him, and lots of
           presidents before him against the Muslim world, which is of course especially the
           creation of the so-called state of Israel in the Palestinian part of Dar-al-Islam.98

 On November 7, 2001, Huber was named by the U.S. Department of the Treasury as one of several
 key terrorist financiers associated with the banking group al-Taqwa. Al-Taqwa’s support for
 terrorism was significant enough, in the estimation of U.S. officials reviewing the best information
 available, that President George W. Bush spoke of its closure at length in an announcement.
 President Bush stated:

           Acting on solid and credible evidence, the Treasury Department of the United
           States today blocked the U.S. assets of 62 individuals and organizations connected
           with two terrorist-supporting financial networks, the Al Taqwa and the Al Barakaat.
           Their offices have been shut down in four U.S. states, and our G-8 partners and
           other friends, including the United Arab Emirates, have joined us in blocking assets
           and coordinating enforcement action. Al Taqwa is an association of offshore banks
           and financial management firms that have helped Al Qaeda shift money around the
           world…. Al Taqwa and Al Barakaat raise funds for Al Qaeda. They manage, invest
           and distribute those funds. They provide terrorist supporters with Internet service,
           secure telephone communications and other ways of sending messages and sharing
           information. They even arrange for the shipment of weapons. They present
           themselves as legitimate businesses. But they skim money from every transaction
           for the benefit of terrorist organizations. They enable the proceeds of crime in one

 96
    Ibid., p. 151.
 97
    Ibid.
 98
    Ibid., p. 274.


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         country to be transferred to pay for terrorist acts in another.99

 Huber admitted to George Michael that he served as a member of al-Taqwa’s administration
 council from 1988 until the bank’s closure in 2002.100 Although Huber denied any operational link
 to al-Qaeda, he was clearly “enthusiastic over the 9/11 attacks,” as he “saw them as a catalyst that
 would bring together elements of the extreme right and militant Islam.”101 As Huber told George
 Michael:

         The new alliance has come. The eleventh of September has brought together [the
         far right and militant Islam] because the new right has reacted positively.… They
         say, and I agree with them 100 percent, what happened on the eleventh of
         September, if it is the Muslims who did it, it is not an act of terrorism but an act of
         counterterrorism.102

 Similarly, Huber told a CNN interviewer in 2002 that al-Qaeda was “a very honorable
 organization… If they killed a few American generals in the Pentagon, I don’t feel very sorry,
 because these guys have done a lot of trouble.”103 The same video shows the interior of Huber’s
 study, which features portraits of Iran’s supreme leader, Adolf Hitler, and Osama bin Laden, as
 well as a relic Huber prizes: a physical piece of Hitler’s house.

 Further demonstrating the links that Huber was trying to build between Islamist militancy and neo-
 Nazism, in the summer of 2001 Huber collaborated with the Holocaust-denying Institute for
 Historical Review (IHR) and several European far-right colleagues in an effort to host a conference
 in Beirut on “Revisionism and Zionism.”104 His efforts ultimately fell flat, as Lebanese authorities
 banned the conference before it could kick off.

 Sascha Lemanski (Sascha L.). Consistent with German privacy laws that limit dissemination of a
 defendant’s last name, this German citizen is known only as Sascha L. in most of the reporting on
 his case, but I was able to track down his last name. Lemanski is a former neo-Nazi arrested in
 Germany in February 2017 for allegedly plotting an attack on ISIS’s behalf. According to reports,
 Lemanski previously identified with a prominent neo-Nazi group in Germany known as the
 Immortals. Prior to his conversion, he had publicly accused Muslims of causing the “creeping
 death of the people,” and of trying to impose sharia in Germany. In a May 2013 YouTube video
 entitled “Tips for the fight against cockroaches,” Lemanski called for attacks against immigrants
 in Germany.105



 99
    Full statement republished in “In Bush’s Words: Attack on ‘2 Terrorist-Supporting Financial Networks,’” New York
 Times, November 8, 2001.
 100
     Michael, The Enemy of My Enemy, p. 155.
 101
     Ibid., p. 156.
 102
     Ibid.
 103
        “Links Between American, European Terrorist Groups,” CNN.com, March 5, 2002,
 http://transcripts.cnn.com/TRANSCRIPTS/0203/05/i_ins.01.html.
 104
     Ibid.
 105
      Adam Taylor, “German Police Say Suspected Islamist Extremist Accused of Plot Was Once a Neo-Nazi,”
 Washington Post, February 28, 2017.


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 But in 2014, Lemanski converted to Islam, and was later charged with disseminating ISIS
 messages online.106 In February 2017, German authorities arrested Lemanski as he was planning
 a terrorist attack. In interrogations after his arrest, Lemanski “admitted to planning to lure police
 officers or soldiers into a trap and then kill them with a home-made explosive.”107 Authorities also
 recovered “materials required for the construction of an unconventional blasting device,” including
 “chemical materials required for the production of an acetone peroxide explosive device, as well
 as the electronic components required for remote ignition.”108

 Devon Arthurs. On May 19, 2017, authorities responded to a hostage situation at Green Planet
 Smoke Shop in Tampa, Florida, in which 18-year-old Devon Arthurs held three people at gunpoint.
 The criminal complaint against Arthurs describes the situation:

         Devon Arthurs entered the Green Planet Smoke Shop, located at 15325 Amberly
         Dr, Tampa, FL 33647. The store was occupied by an employee/victim#1 and a
         customer/victim #2. Devon Arthurs lifted up the back of his t-shirt and removed a
         black semiautomatic pistol from his rear waistband. Victim #1 stated that Arthurs
         pointed a gun at her and told her to get on the ground. Victim #2 stated that Arthur
         yelled, “Do me a favor and get the fuck on the ground!” Both victims complied
         with the demand. Victim #2 also advised that Arthur asked him, “Why shouldn’t I
         kill you?” Arthurs made these demands and asked these questions from a distance
         of no more than five feet from both victim #1 and #2. Both victim #1 and #2 were
         placed in fear for their life.

         Approximately two to three minutes after Arthurs entered the Green Planet Smoke
         Shop, a second customer/victim #3 enters the store. Arthurs orders victim #3 down
         to the ground but does not threaten him with the firearm. Arthurs informed all three
         victims in the store that he had already killed somebody. He further informed all
         three victims that he was upset due to America bombing his Muslim countries.109

 Tampa police reached the smoke shop minutes after the third hostage had entered, and arrested
 Arthurs shortly thereafter. When asked if anyone else was hurt, Arthurs confessed that he had
 killed two people in his apartment.110 On further investigation, officers found the bodies of Jeremy
 Himmelman and Andrew Oneschuk, both of whom were killed by gunshot wounds to the upper
 body and head.111 During the subsequent interrogation, Arthurs confessed to killing both of them,
 identifying the victims as “personally known to him,” and providing specific details about how




 106
     Ben Knight, “Suspected German Islamist ‘Used to be Neo-Nazi,’” Deutsche Welle, February 27, 2017.
 107
     Ibid.
 108
         “Hier     baute    der     Salafist (26)    an    der     Bombe,”      Bild,   February     23,   2017,
 http://www.bild.de/regional/hannover/festnahme/terror-verdaechtiger-in-northeim-festgenommen-
 50572032.bild.html.
 109
     Florida v. Arthurs, case no. 292017CF007587000AHC, criminal report affidavit, May 21, 2017, p. 1.
 110
     Ibid., pp. 1-2.
 111
     Ibid., p. 2.


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 they were murdered.112 Subsequent reporting by the New York Times has identified the two men
 as roommates of Arthurs.113 According to the criminal complaint:

          Arthurs advised that the shooting stemmed from Himmelman and Oneschuk
          disrespecting Arthurs’ Muslim faith. Arthurs stated that all of them had been friends
          with a common neo-Nazi belief, until Arthurs converted to [Islam]. Since then,
          Arthurs stated, he has become angered by the world’s anti-Muslim sentiment and
          had wanted to bring attention to his cause.114

 Indeed, according to the criminal complaint, Arthurs made religious references in Arabic
 subsequent to his arrest, while being walked to a patrol vehicle. Arthurs further stated, “I had to
 do it. This wouldn’t have had to happen if your country didn’t bomb my country.”115

 Thus, by Arthurs’s own account, he had been a devoted neo-Nazi prior to his conversion to Islam.
 Though not all the details of his newfound faith are known, Arthurs explained that he murdered
 two people and subsequently took hostages in response to disrespect for his faith, and in retaliation
 for American foreign policy. Arthurs’s explanation of his actions tracks with both grievance-based
 and ideology-based explanations for radicalization to violent extremism.

 Thomas Usztics
 Thomas Usztics is a German national and former neo-Nazi who converted to Islam in his early
 twenties and travelled abroad to join the Deutsche Taliban Mujahideen (DTM), which is based in
 the Afghanistan/Pakistan region (Waziristan and Hindu Kush). DTM is a militant splinter group
 that was originally part of the Islamic Jihad Union. DTM is composed of German-speaking
 Islamists, and prioritizes the ouster of non-Muslim forces from Afghanistan, including German
 soldiers, while simultaneously espousing attacks on German soil.116

 Born in 1985 to parents who had immigrated from Hungary, Usztics had ties to the far-right and
 neo-Nazi scenes in his youth.117 Usztics converted to Islam in early 2008, and radicalized quickly,
 joining DTM within a year of his conversion.118 With DTM, Usztics adopted the nom de guerre
 of Hamsa al-Majaari (Hamsa the Hungarian). He received weapons and explosives training, took
 part in an attack against a NATO base that housed American and Afghan forces, and appeared in
 two jihadist propaganda videos. 119 In these videos, Usztics threatened that the group would

 112
     Ibid.
 113
     Jonah Engel Bromwich, “Man in Florida Told the Police He Killed Neo-Nazi Roommates for Disrespecting His
 Muslim Faith,” New York Times, May 24, 2017.
 114
     Florida v. Arthurs, criminal report affidavit, p. 2.
 115
     Ibid.
 116
     Press statement 20/2012 from the press office of the federal prosecutor (Pressemitteilung 20/2012 der Pressestelle
 der Bundesanwaltschaft), August 3, 2012, https://www.berlin.de/gerichte/presse/pressemitteilungen-der-
 ordentlichen-gerichtsbarkeit/2012/pressemitteilung.426216.php.
 117
      Karin Priester, Warum Europäer in den Heiligen Krieg ziehen: Der Dschihadismus als rechtsradikale
 Jugendbewegung (Frankfurt, Germany: Campus Verlag, 2017), p. 266.
 118
      Florian Flade, “Islamist Thomas U. wollte zurück nach Deutschland,” WeltN24, September 11, 2010,
 https://www.welt.de/politik/ausland/article9552830/Islamist-Thomas-U-wollte-zurueck-nach-Deutschland.html.
 119
       “Deutscher Taliban-Kämpfer muss ins Gefängnis,” Spiegel Online, December 13, 2012,
 http://www.spiegel.de/politik/deutschland/talibankaempfer-aus-deutschland-muss-fuer-mehrere-jahre-ins-
 gefaengnis-a-872757.html.


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 continue fighting until all Western troops had left Afghanistan, and urged all Muslims living in
 Germany to join the jihad in the Hindu Kush, either by physically travelling to join the fight, or at
 the very least through monetary support.120 He implored his co-religionists in one video: “Sell your
 belongings so we can continue buying weapons.” Usztics also contacted German citizens by email,
 and through this correspondence took to “demanding political and financial support” for DTM.121

 Despite his obvious fanaticism, Usztics became disillusioned with DTM, and disheartened by the
 hardships he suffered. Usztics would later explain the reasons for his change of heart in some detail.
 He revealed the living conditions that he and his wife (also a German convert, whom he had
 brought along to Waziristan) had to endure, which he described as unfit for human habitation.
 Usztics described a shocking lack of hygiene, people who “were spitting and vomiting,” and
 disrespectful treatment of women. 122 Turning to this last area of disillusionment, Usztics
 commented that only when he arrived in Turkey, “finally I could hold hands with my wife in
 public.”123 But the biggest factor prompting Usztics’s split from DTM was the gruesome deaths of
 his German friends in a firefight with Pakistani soldiers.124

 Usztics and his wife planned to travel to Turkey through Iran, from where they would fly to
 Copenhagen, and subsequently drive back to Germany.125 But they were arrested in Turkey and
 extradited to Germany, where Usztics was sentenced to four years and three months in prison for
 membership in a terrorist group, and preparation of a serious act of subversion while abroad.126

 Like David Myatt, Usztics has now renounced jihadism.127 Nonetheless, his case exemplifies how
 an initial sympathy or adherence to neo-Nazi ideology can be conducive to an ideological shift
 toward jihadism.

 Diego José Frías Álvarez
 The case of Diego José Frías Álvarez exemplifies how a commitment to anti-Semitism can bridge
 the ideological divide between Nazism and jihadism. Frías Álvarez is a Spanish neo-Nazi activist
 and former member of the Republican Social Movement (MSR: Moviment Social Republicà), one
 of Spain’s most active neo-fascist and extreme right-wing formations. His political militancy
 reached its zenith when he topped the MSR’s electoral appointment list in the 2006 parliamentary
 elections. However, Frías Álvarez achieved meager results, winning about 0.04% of the total
 votes.128 In addition to MSR’s connection to other clearly anti-Semitic parties, it also allied with

 120
     Flade, “Islamist Thomas U. wollte zurück nach Deutschland.”
 121
         “Deutscher     Taliban-Verdächtiger     angeklagt,”    Süddeutsche      Zeitung,    August     3,    2012,
 http://www.sueddeutsche.de/politik/bundesstaatsanwaltschaft-ermittelt-deutscher-taliban-verdaechtiger-angeklagt-
 1.1430924.
 122
     Mark Silinsky, The Taliban: Afghanistan’s Most Lethal Insurgents (Santa Barbara, CA: Praeger, 2014), p. 144.
 123
     Ibid.
 124
     Ibid.
 125
     Flade, “Islamist Thomas U. wollte zurück nach Deutschland.”
 126
     Press statement 20/2012 (Pressemitteilung 20/2012 der Pressestelle der Bundesanwaltschaft).
 127
      “Früherer Berliner Taliban-Kämpfer zu Haft verurteilt,” Hamburger Abendblatt, December 13, 2012,
 https://www.abendblatt.de/politik/deutschland/article111996221/Frueherer-Berliner-Taliban-Kaempfer-zu-Haft-
 verurteilt.html.
 128
     “Uno de los detenidos de la célula yihadista fue candidato de un partido ultra,” La Vanguardia, April 4, 2015,
 http://www.lavanguardia.com/politica/20150411/54429553871/detenidos-celula-yihadista-candidato-partido-
 ultra.html.


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 European far-right parties with anti-Muslim politics.129

 In mid-2015, Frías Álvarez was arrested by the Mossos d’Esquadra (the Catalonian police force)
 for his suspected involvement with a jihadist cell known as the “Islamic Fraternity for the
 Preaching of Jihad.” Though not a convert, he was a collaborator and co-conspirator of the cell, as
 he mainly provided material assistance in the form of a weapons arsenal and suggested targets to
 be attacked.

 The leader of the cell, Antonio Sáez Martínez, a Granada barber who converted to Islam in 2012
 and was subsequently known as Aalí, initially used the network to send recruits to ISIS camps in
 Syria and Iraq.130 But as authorities arrested several would-be foreign fighters, the cell redirected
 its efforts to committing attacks around Barcelona.131 One example of a planned attack (which
 would starkly mirror ISIS’s own torture and slaughter of its victims) was to kidnap a victim, put
 him in an orange jumpsuit, and behead him in front of running cameras.132 Other planned attacks,
 for which Frías Álvarez and other members of the cell were arrested, included the bombing of a
 Jewish bookstore, and further attacks against synagogues, the Parliament of Catalonia, and police
 stations.133

 Initially the Islamic Fraternity lacked the necessary materials to carry out such attacks. Thus, Frías
 Álvarez was introduced to the plot through a contact of Sáez Martínez, as the neo-Nazi was
 understood to be an intermediary capable of obtaining weapons and explosive materials.134 But the
 role Frías Álvarez played in the plot was not that of a mere middle man. Demonstrating how
 jihadists and neo-Nazis can be bound together by common enemies, Frías Álvarez suggested
 several targets in the Barcelona metropolitan area to the cell, such as the Mossos d’Esquadra police
 department on the Plaza de España. This central role played by the neo-Nazi was corroborated by
 two witnesses who are now under police protection, and also by photographs found on mobile
 phones from some of the arrestees.135

 Thus, though Diego José Frías Álvarez had been active in political and social groups that overtly
 flaunted anti-Muslim sentiments, his deep-seated hatred for Jews made him a natural associate of
 a jihadist terror cell. Such ideological synergy enables and facilitates an alliance that at first may
 seem improbable.


 129
     Joan Cantarero, “Anglada fichó al neonazi yihadista tras aliarse con los islamófobos europeos”, Público, May 19,
 2015, http://www.publico.es/politica/anglada-ficho-al-neonazi-yihadista.html.
 130
     Fernando J. Pérez, “Los yihadistas detenidos en Cataluña planeaban asesinar al estilo de EI,” El País, April 10,
 2015, https://politica.elpais.com/politica/2015/04/10/actualidad/1428670827_608759.html.
 131
     Matt Moffett, “Spanish Terror Raid Shows Persistence of Extremists Blocked from Heading Abroad,” Wall Street
 Journal, May 4, 2015.
 132
        “Islamisten planten Anshläge zusammen mit Neonazi,” Zeit Online, April 4, 2015,
 http://www.zeit.de/gesellschaft/zeitgeschehen/2015-04/terror-spanien-islamismus-
 enthauptung?google_editors_picks=true.
 133
     Pérez, “Los yihadistas detenidos en Cataluña.”
 134
      “Diego José Frías guardaba las armas de los yihadistas de Catalunya”, Teinteresa, April 10, 2015,
 http://www.teinteresa.es/espana/Diego-Jose-Frias-yihadistas-Catalunya_0_1336667769.html.
 135
     Pedro García Campos, “Cómo un neonazi se alió con los presuntos yihadistas que querían atentar en Barcelona,”
 Vice News, August 11, 2015, https://news.vice.com/es/article/como-neonazi-alio-presuntos-yihadistas-que-querian-
 atentar-barcelona.


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 The Historical Convergence

 In Ahmed Huber’s estimation, the historical convergence between Nazism and militant Islamism
 is best exemplified by the collaboration of Haj Muhammad Amin al-Husseini, who had been the
 grand mufti of Jerusalem, with Hitler’s Nazi regime. Other figures who have embraced the
 convergence between these two ideological streams agree with Huber, as do scholars and
 researchers. George Michael writes, “Perhaps no other figure did more to foster ties between right-
 wing extremism and militant Islam than [Husseini], as his ideology informed both pan-Arabism
 and militant Islam.” 136 Husseini was both anti-Semitic and anti-British, a combination that
 “dovetailed with Hitler’s policies during this period.”137 According to scholar Raphael Israeli, the
 grand mufti was extremely anti-Semitic even before Jewish mass migration to Palestine. Israeli
 notes that in 1929 Husseini incited Palestinian crowds to “kill and maim fellow inhabitants of
 Jerusalem, Hebron, and other cities, for no other reason than their being Jewish.”138 Israeli notes
 that Husseini “loathed the Jews for being a harbinger of westernism, modernism, secularism, and
 liberalism in the Middle East.”139

 Though Husseini began cultivating ties to the Nazi movement as early as 1933, a publicly
 acknowledged reciprocal, cooperative relationship did not form until 1937, when the British Royal
 Commission published the Peel Report recommending that Palestine be divided into separate
 Jewish and Arab states. Following the Peel report’s publication, Husseini publicly voiced his
 support for the Third Reich, and requested that the Nazis assist him in his fight against the Jews.140
 Fearing that statehood might bolster and strengthen “international Jewry,” the Germans began to
 see the Arabs as “assets” for the Nazi cause, and to view Husseini as a potential strategic partner
 in the Middle East.141 Nazi Germany began supplying Palestinian Arabs with weapons to fight the
 Jews, while the Palestinian press in turn actively promoted European Nazism and anti-Semitic
 propaganda.142 On October 2, 1937, Husseini met with Nazi officials Adolf Eichmann and Herbert
 Hagen, who traveled to Mandatory Palestine disguised as a journalist and a student, respectively.143
 Toward the end of 1937, Husseini was forced to flee Palestine in order to avoid arrest for inciting
 a rebellion against the British Mandate.144

 By 1939, Husseini was operating out of Baghdad, and was funded by the Nazis.145 While in Iraq,
 he collaborated with Rashid Ali al-Gaylani to orchestrate a Nazi-backed coup against the Iraqi
 government. Though Britain suppressed the coup, it only did so after “al-Husseini issued a fatwa


 136
     Michael, The Enemy of My Enemy, p. 112.
 137
     Ibid., p. 113.
 138
     Raphael Israeli, The Death Camps of Croatia: Visions and Revisions, 1942-1945 (New Brunswick, NJ: Transaction
 Publishers, 2013), p.121.
 139
     Ibid.
 140
     Michael, The Enemy of My Enemy, p. 113.
 141
     Klaus-Michael Mallmann and Martin Cüppers, Nazi Palestine: The Plans for the Extermination of the Jews in
 Palestine (New York, NY: Enigma Books, in association with the United States Holocaust Memorial Museum, 2005).
 142
     Ibid.
 143
     The National Library of Israel, “Adolf Eichmann’s Clandestine Visit to Palestine,” accessed April 29, 2017,
 http://web.nli.org.il/sites/NLI/English/library/reading_corner/Pages/eichmann_secret_visit.aspx.
 144
     David Patterson, “Nazis, Jihadists, and Jew Hatred,” Institute for the Study of Global Antisemitism and Policy,
 September 30, 2016, http://isgap.org/flashpoint/nazis-jihadists-and-jew-hatred/.
 145
     Ibid.


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 announcing a jihad against Britain and the Jews.”146 When the British stopped the coup, Husseini
 was forced to flee once again. In November 1941, he settled in Berlin, and almost immediately
 obtained an audience with Hitler himself. Husseini pledged his support for the Third Reich. Hitler
 assured the grand mufti of the Nazis’ commitment to exterminating the Jews, and dubbed Husseini
 the leader of the Arab world, even promising to eventually make Husseini the “Arab führer.”147

 In the years that followed, Husseini played an
 important role for the Nazis. In 1943, he helped
 organize the 13th Waffen Mountain Division of the
 SS Handschar, a volunteer force in the former
 Yugoslavia composed predominantly of Bosnian
 Muslims. (As will be discussed subsequently in this
 report’s section on the cultural significance of items
 in the defendant’s possession, the defendant had
 photos of the 13th Waffen Mountain Division in his
 electronic files.) George Michael notes that, to
 advance the recruitment of Bosnian Muslims,
 Husseini wrote a “motivational treatise” entitled
 Islam and the Jews intended to inspire Bosnian
 Muslim SS units, and promote their involvement in
 the Jewish genocide.

 In January 1944, Husseini began making pro-Axis radio broadcasts to the Arab world in which he
 implored Muslims to aid the Nazi slaughter, and stressed the ideological affinities between German
 National Socialism and Islam.148 In one broadcast, he urged Muslims to “kill the Jews wherever
 you find them. This pleases God.”149

 Following Nazi Germany’s defeat, Hitler’s erstwhile officers had to flee to new homes lest they
 be held accountable for their role in the regime’s atrocities. A large number of Hitler’s men went
 to the Middle East. Huber’s recollection of Gamal Abdel Nasser’s fondness for Hitler, for example,
 was consistent with the Nasser regime’s sheltering of Nazi war criminals. Nazi commando Otto
 Skorzeny (a figure who was featured in the defendant’s collections and personal notes) trained
 thousands of Egyptians in guerilla and desert warfare, and even organized early Palestinian
 terrorist forays into Israel and the Gaza Strip in the mid-1950s. Johann von Leers, who had been a
 high-ranking assistant to Nazi propaganda minister Joseph Goebbels, produced material for Nasser
 attacking the United States and Israel. Von Leers even converted to Islam, adopting the name
 Oman Amin von Leers. Corresponding with a fellow fascist, von Leers opined that “if my nation
 had got Islam instead of Christianity we should not have had all the traitors we had in World War
 II.”



 146
     Patterson, “Islamic Jihadism and the Legacy of Nazi Antisemitism,” p. 191.
 147
     Michael, The Enemy of My Enemy, p. 115; Patterson, “Islamic Jihadism and the Legacy of Nazi Antisemitism,” p.
 191.
 148
     Patterson, “Islamic Jihadism and the Legacy of Nazi Antisemitism,” p. 192.
 149
     Ibid.


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 Thus, in addition to the case studies of individuals who have embraced both Nazism and Islamist
 militancy in recent years, there is historical precedent.

 The Centrality of Anti-Semitism and the Jewish Scapegoat

 As discussed in Part I, a central tenet of extremist ideologies is the attribution of blame to a target
 out-group. For both Nazis and militant Islamists, the Jewish population is a key out-group. Both
 movements consider the Jews to be responsible for a disproportionate amount of the misfortunes
 that befall humankind. This perspective is articulated in copious speeches, statements and writings
 of militant Islamist and Nazi leaders. For example, in his infamous essay “Our Struggle with the
 Jews,” Sayyid Qutb—a key figure for militant Islamists—writes: “Everywhere the Jews have been
 they have committed unprecedented abominations. From such creatures who kill, massacre and
 defame prophets one can only expect the spilling of human blood and dirty means which would
 further their machinations and evil.”

 Hitler’s sentiments in his autobiography Mein Kampf are quite similar. Like Qutb, who accused
 the Jews of committing “unprecedented abominations,” Hitler asks: “Was there any excrement,
 any shamelessness in any form, above all in cultural life, in which at least one Jew would not have
 been involved?”150 To Hitler, the Jews are universal villains, and their mere existence is menacing
 and malign. In his book Roots of Nazi Psychology, author Jay Y. Gonen explains: “Hitler’s
 perception was clear and ominous. An ill-understood evil is on the verge of triumph in this
 world.”151 Indeed, Hitler compares the Jewish people to “maggots” in a “decaying body.”152

 Both Qutb and Hitler’s statements not only blame and vilify the Jews, but dehumanize them. As
 mentioned in Part I, the dehumanization of an “out-group” is common among extremist
 movements, particularly those who seek to incite violence against, or the extermination of, a
 particular group. In the Nazi and militant Islamist movements, the dehumanization of Jews occurs
 through degradation and demonization.

 Degradation includes the reduction of the Jew to vermin. In the aforementioned quotes, Qutb and
 Hitler describe the Jews as murderous “creatures,” loathsome “maggots.” They exacerbate the
 cognitive distance between members of their movements and Jews, thus increasing the
 acceptability of violence. Indeed, according to Goebbels, the Jews were to be considered
 “unconditionally exterminable”—a depiction he actively promulgated and emphasized in his
 statements, and in the Nazi party’s messaging campaigns. As scholar David Livingstone Smith
 explains, “all that Goebbels could see were vermin: carriers of the Jewish disease—a disease that
 would engulf the world unless it was obliterated.”153 In one of Goebbels’s diary entries, he writes
 that Jews “are no longer human beings, but animals. It is, therefore, also no humanitarian task, but
 a task for the surgeon. One has got to cut here, and that most radically. Or Europe will vanish one
 day due to the Jewish disease.”154
 150
     Adolf Hitler, Mein Kampf (Boston: Houghton Mifflin, 1971 ed.), p. 61.
 151
     Jay Y. Gonen, The Roots of Nazi Psychology: Hitler’s Utopian Barbarism (Lexington, KY: The University Press
 of Kentucky, 2013), pp. 29-30.
 152
     Hitler, Mein Kampf, p. 61.
 153
     David Livingstone Smith, Less than Human: Why We Demean, Enslave, and Exterminate Others (New York: St.
 Martin’s Press, 2011), p. 139.
 154
     Ibid., p. 138.


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 Goebbels’s revulsion toward the Jews is articulated in The Eternal Jew—a pro-Nazi “documentary”
 that he conceived—that depicted the Jews as agents of filth, decay and disease.155 In one of the
 film’s most infamous scenes, “a swarm of rats appears on the screen, followed by scenes of rats
 emerging from sewers and infesting bags of grain.”156 The narrator states:

          Wherever rats appear they bring ruin, by destroying mankind’s good and foodstuffs.
          In this way, they spread disease, plague, leprosy, typhoid fever, cholera, dysentery,
          and so on. They are cunning, cowardly, and cruel, and are found mostly in large
          packs. Among the animals they represent the rudiment of an insidious and
          underground destruction, just like the Jews among human beings.157

 Today, the depiction of the Jew as the personification of malice and grime persists among
 spokesmen for both ideologies. Even where Jews are not explicitly described as subhuman by
 adherents to these movements, their humanity is in some way discounted. For example, Qutb
 described Jews’ “natural disposition” as characterized by “ingratitude” and “narrow selfishness.”
 As a result, Qutb asserted, Jews are fundamentally unable to “feel the larger human connection
 which binds humanity together.” Osama bin Laden reiterated this notion of Jews as detached and
 callous, highlighting what he described as their murderous intolerance. He states that “Jews believe
 as part of their religion that people are their slaves, and whoever denies their religion deserves to
 be killed.” 158 In this way, bin Laden portrayed a disconnect between Jews and the rest of
 humankind.

 The second form of dehumanization exhibited by both groups is demonization. Scholar David
 Patterson notes that both movements see “the Jew” as someone who “not only commits evil but
 embodies the essence of evil and is therefore beyond remission.”159 In Mein Kampf, for example,
 Hitler writes of the “vileness” of the Jew, declaring that “no one need be surprised if among our
 people the personification of the devil as the symbol of evil assumes the living shape of the Jew.”
 Similarly, according to Qutb, Jews represent the “blackest devil and source of the worst anti-
 Islamic machinations.” In both cases, Jews are not only responsible for spreading corruption and
 evil, but are considered intrinsically wicked and immoral by virtue of their ethnicity.160

 The combination of demonization and degradation as a means of dehumanizing the Jews is
 imperative to the “exterminationist anti-Semitism” that pervades both ideologies. 161 While
 comparing a particular category of people to disgusting, lowly creatures undoubtedly facilitates

 155
     Ibid., p. 139.
 156
     Ibid.
 157
     See https://www.youtube.com/watch?v=RlHVin56U2w (relevant video at 17:00).
 158
     Quoted in Bruce Lawrence, Messages to the World: The Statements of Osama bin Laden (New York: Verso, 2005),
 p. 190.
 159
     David Patterson, “Islamic Jihadism and the Legacy of Nazi Antisemitism,” p. 193.
 160
     See, for example, Joseph Goebbels, “Die Juden Sind Schuld!,” Das eherne Herz (Munich: Zentralverlag der
 NSDAP, 1943), pp. 85-91. Goebbels writes: “Every Jew is our enemy in this historic struggle, regardless of whether
 he vegetates in a Polish ghetto or carries on his parasitic existence in Berlin or Hamburg or blows the trumpets of war
 in New York or Washington. All Jews by virtue of their birth and their race are part of an international conspiracy
 against National Socialist Germany. They want its defeat and annihilation, and do all in their power to bring it about.”
 161
     Patterson, “Nazis, Jihadists, and Jew Hatred.”


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 the process of moral disengagement necessary for violence, declaring them to actually be an
 altogether different species provides the justification for extermination. As the scholar Elana
 Gomel explains:

         Saying that a certain category of people is like bacteria still does not give license to
         exterminate them with impunity… However, if the Jews are really parasites, a
         different biological species, masquerading as humans but in fact, dangerous, alien
         and strange, killing them becomes as morally neutral as cleansing a house from
         bugs.162

 The “Zionist Conspiracy” and the Jew as an Existential Threat

 Hatred and animus toward Jews is further fueled by both movements’ unwavering belief in a
 “Zionist conspiracy”—the notion that Jews are secretly plotting to take over, or fundamentally
 manipulate, the world. Contemporary conceptions of this purported conspiracy largely stem from
 The Protocols of the Elders of Zion, a forgery birthed in czarist Russia that claimed to be a “record
 of secret meetings of Jewish leaders.”163 Though the Protocols were exposed as a fraud in the
 1920s, the document was a key facet of Nazi propaganda.164 The Nazi party published at least
 twenty-three editions of the text between 1933 and the onset of the Second World War. 165
 Similarly, in “Our Struggle with the Jews,” Sayyid Qutb frequently references the Protocols.

 In his book Milestones, Qutb further articulates his belief in a “Jewish master plan,” declaring that
 the Jews intend to “eliminate all limitations, especially the limitations imposed by faith and
 religion, so that [they] may penetrate into the body politic of the whole world and then may be free
 to perpetuate their evil designs.”166 This bigoted attitude is prevalent within the militant Islamist
 movement, and among contemporary neo-Nazi leaders. For example, in an essay entitled “Who
 Rules America?”—which was found among the defendant’s belongings167—William Pierce, the
 late leader of the domestic extremist group National Alliance, writes: “The Jewish control of the
 American mass media is the single most important fact of life, not just in America but in the world
 today. There is nothing—plague, famine, economic collapse, even nuclear war—more dangerous
 to the future of our people.”168 Pierce’s comments are in line with the exterminationist narrative
 propagated by Hitler and Goebbels.

 The power of this narrative, and its prevalence in the contemporary neo-Nazi movement, is also
 evident in the comments and writings of the movement’s followers. In a March 22, 2017 post
 appearing in the “Jewish Problem” section of the neo-Nazi website Daily Stormer, an author claims
 that the Jews maintain “a multi-generational regime of subversion,” and asserts: “It’s all outlined


 162
     Elana Gomel, “Aliens Among Us: Fascism and Narrativity,” Journal of Narrative Theory 30:1 (2000), p. 134.
 163
      United States Holocaust Memorial Museum, “Protocols of the Elders of Zion: Timeline” (n.d.),
 https://www.ushmm.org/wlc/en/article.php?ModuleId=10007244.
 164
     Ibid.; see also Gonen, The Roots of Nazi Psychology.
 165
     Holocaust Museum, “Protocols of the Elders of Zion: Timeline.”
 166
     Sayyid Qutb, Milestones, A.B. al-Mehri ed. (Birmingham, England: Maktabah Booksellers and Publishers, 2006),
 p. 123.
 167
     Evidentiary Document GX 10-862.
 168
     William Pierce, Who Rules America? (National Alliance, 1967), p. 17.


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 in The Protocols of the Learned Elders of Zion.”169 Another Daily Stormer commenter claims:
 “Folks, the backroom Globalist Jews have been steadily working to destroy you and the hopes and
 dreams for your children.”170

 Neo-Nazis and jihadists generally use the terms “Jews” and “Zionists” interchangeably. In his
 essay “The Jewish Problem,” William Pierce declares the two to be synonymous, describing
 “professional Zionists” to be the “most Jewish of the Jews.”171 Similarly, the scholar Bassam Tibi
 notes, in evaluating al-Qaeda and other militant Islamist movements: “When al-Qaeda was
 established in 1998, it adopted a mission to ‘fight Jews and crusaders.’ Its founding statements
 make little distinction between Jews and sahyuniyyun (Zionists).”172 Instead, they maintain that
 Islam is “under siege,” and that “world Jewry,” or “world Zionism,” is waging a war against Islam
 with the help the United States.173 For example, in a speech urging supporters to “erupt volcanoes
 of jihad everywhere,” ISIS leader Abu Bakr al-Baghdadi accused “the Jews” of “covertly and
 stealthily” joining the U.S. campaign against ISIS, and urged Muslims throughout the Middle East
 to fight “the agents of the Jews and crusaders, their slaves, tails and dogs.”174

 The salience of anti-Semitism and the scapegoating of Jews plays a key role in the ability of some
 individuals to move seamlessly from neo-Nazism to the militant Islamist movement. Both
 movements possess clearly defined in-groups and out-groups. As discussed in Part I, it is essential
 to extremist movements to cultivate a sense of self or community on behalf of whom one is fighting,
 as well as to define an enemy. This shared out-group of the Jews has proven critical to individuals
 who move between, or simultaneously embrace, Nazism and militant Islamism. In a vacuum, of
 course, Nazism and militant Islamism should be opposed to one another. Qutb contended that
 “there can be no permanent peaceful coexistence between a community implementing God’s law
 and other communities,” which is consistent with the subsequent writings and teachings of militant
 Islamist figures. And, as observed previously in this report, a committed Nazi would view many
 Muslims as racially suspect. But the “Jewish question” looms large for both ideologies, and in
 some cases the emphasis on “the Jew” as a scapegoat is more powerful than the movements’
 differences. For some, anti-Semitism renders the transition from one movement to another not only
 justified, but an imperative.

 Of course, while both movements are heavily influenced by anti-Semitism, they have claimed a
 wide range of victims. In recent years, for example, we have seen ISIS slaughter members of such
 minority religious communities in Iraq as the Christians and Yazidis; boast openly of taking sex
 slaves; launch terrorist attacks that kill indiscriminately at Christmas markets or cafés; launch
 lethal bomb attacks against church services, and at concerts frequented primarily by young girls;

 169
     Azzmador, “International Jews Court Spics to Ensure Eternal Subversion of American Goyim,” Daily Stormer,
 March 22, 2017, http://www.dailystormer.com/international-jews-court-spics-to-ensure-eternal-subversion-of-
 american-goyim/.
 170
      Incogman, “The Real Background of the Jewish Conspiracy,” Daily Stormer, October 8, 2013,
 http://www.dailystormer.com/the-real-background-of-the-jewish-conspiracy/.
 171
       William L. Pierce, “The Jewish Problem,” The National Vanguard (n.d.), available at
 http://nationalvanguard.org/2014/11/the-jewish-problem/.
 172
     Bassam Tibi, Islamism and Islam (New Haven, CT: Yale University Press, 2012), p. 67.
 173
     Discussed in ibid., p. 58.
 174
     Quoted in David D. Kirkpatrick & Rick Gladstone, “ISIS Chief Emerges, Urging ‘Volcanoes of Jihad,’” New York
 Times, November 13, 2014.


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 and separate non-Muslims from Muslims before slaughtering them in restaurants or shopping
 malls. Jews may be the scapegoat, but they are not the sole victims.

 III.     Cultural Significance of Evidence Related to the Militant Islamist Ideology Espoused
          by ISIS

 As previously noted, in February 2017, the U.S. Attorney’s Office in the Eastern District of
 Virginia asked me to review evidence gathered during the criminal investigation in this case. This
 section of the report now examines the cultural significance of key pieces of evidence that the U.S.
 Attorney’s Office provided to me that relate to the salafi jihadist interpretation of Islam, such as
 that espoused by ISIS and its fellow travelers. The subsequent section then examines the cultural
 significance of evidence related to Nazism and neo-Nazism.

 1. The Book of Jihad, by Ibn Nuhaas
 One item provided to me by the U.S. Attorney’s Office is The Book of Jihad, by Abi Zakaryya al-
 Dimashqi al-Dumyati, also known as Ibn Nuhaas.175 The Book of Jihad is a medieval text written
 in 1411 AD. In the mid to late twentieth century, the book gained popularity among adherents to
 the modern-day militant Islamist movement. This popularity was promoted, for example, by Hasan
 al-Banna, founder of the Muslim Brotherhood, who described it as “essential reading.” Abdullah
 Azzam, a founding member of al-Qaeda and a mentor to Osama bin Laden, declared The Book of
 Jihad to be “the best book on jihad,” and gave it to Arab mujahedin in Afghanistan during the
 Afghan-Soviet war.176 More recently, both ISIS and al-Qaeda have cited the text in their official
 publications. In the August 2015 issue of Dabiq, ISIS’s online magazine, ISIS endorsed the book,
 instructing women to read it to their children before bed.177 In the August 2016 issue of Risalah,
 an English-language magazine published by al-Qaeda, The Book of Jihad is quoted twice in
 discussions of waging war in response to the alleged oppression of Muslims.178

 The Book of Jihad’s primary contribution from the jihadist perspective is its commentary on the
 religious validity of employing violence against non-Muslims. The text draws together Qur’anic
 verses and selections from the ahadith (the sayings and doings of Prophet Muhammad) to provide
 a religious justification for violence against non-believers. For instance, The Book of Jihad opens
 with a chapter titled “On the Command of Jihad Against the Non-Believers, and the Stern Warning
 Against Those Who Don’t Practice Jihad.” In that chapter, Ibn Nuhaas describes “attacking the
 non-believers in their territories” as a “collective duty,” while noting that two Islamic scholars, ibn
 al-Musayeb and ibn Shubrumah, state that attacking non-believers in their territories “is a duty
 (fardh ayn) on each and every individual.”179


 175
     Under GX 14-100.
 176
     Alexander Meleagru-Hitchens, As American as Apple Pie: How Anwar al-Awlaki Became the Face of Western
 Jihad (London: The International Centre for the Study of Radicalisation and Political Violence, 2011), p. 53; Shiraz
 Maher, Salafi-Jihadism: The History of an Idea (United Kingdom: C. Hurst & Co. Publishers, 2016), p. 33.
 177
     “A Jihad Without Fighting; From the Battle of al-Ahzab to the War of Coalitions,” Dabiq, August 9, 2015, p. 45.
 The article notes: “And if the claimants of Islam in the lands of kufr raise their children on the stories of Cinderella
 and Robin Hood, you should make use of the stories in ‘Mashāri’ al-Ashwāq ilā Masāri’ al-‘Ushshāq’ of Ibn an-
 Nahhās as stories for your lion cubs before they sleep.”
 178
     “Has the Time Not Come,” Al Risalah, August 2016, p. 7.
 179
     Abi Zakaryya al-Dimashqi al-Dumyati, The Book of Jihad, trans. Noor Yamani, p. 18.


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 Though some of Ibn Nuhaas’s conclusions, such as the one just quoted, are sprinkled into the text,
 the bulk of The Book of Jihad—similar to the works of Muhammad ibn Abdul Wahhab, after
 whom the Wahhabi sect is named—provides Qur’anic verses, ahadith, and scholarly commentary
 that Ibn Nuhaas considers relevant. He uniformly selects the most militant passages. For example,
 in the opening chapter, “On the Command of Jihad,” Ibn Nuhaas cites the following Qur’anic
 passages:

             Fighting has been enjoined upon you while it is hateful to you. But perhaps you
             hate a thing and it is good for you; and perhaps you love a thing and it is bad for
             you. And Allah knows, while you know not.

             And fight in the cause of Allah and know that Allah is Hearing and Knowing.

             And if it were not for Allah checking [some] people by means of others, the earth
             would have been corrupted, but Allah is full of bounty to the worlds.

             Then kill the polytheists wherever you find them and capture them and besiege
             them and sit in wait for them at every place of ambush.

             Fight those who do not believe in Allah or in the Last Day and who do not consider
             unlawful what Allah and His Messenger have made unlawful and who do not adopt
             the religion of truth [i.e., Islam] from those who were given the Scripture—[fight]
             until they give the jizyah willingly while they are humbled.180

 Other chapters are similar in tone and outlook, including a chapter titled “The Virtues of Killing a
 Non-Believer for the Sake of Allah.”181 When his commentaries do appear, Ibn Nuhaas stresses
 the importance of jihad in Islam, writing: “Jihad is the soul of Islam. The sincere Muslims fulfilled
 their duty and fought many battles against the infidels.” He adds: “The door of Jihad is always
 open and the fighting of the nonbelievers would never end until the Day of Judgment.”182

 Consonant with its endorsement by figures like al-Banna and Azzam, The Book of Jihad has
 become a common reference for many notable militant Islamist figures. For example, in 2003 the
 late jihadist cleric Anwar al-Awlaki, whose background is discussed in greater detail in the
 subsequent section of this report, published a lecture series in which he narrated and interpreted




 180
       Ibid., p. 13. The jizyah refers to a tax that non-Muslims can pay to continue practicing their faith under Islamic rule.
 181
       Ibid., p. 82. That chapter quotes the following ahadith:

             Abu Hurairah narrated: The Messenger of Allah said: “The nonbeliever and the one who kills him
             will never be joined together in Hellfire.”

             Anas bin Malik heard his brother al Baraa humming poetry so he told him: “O my brother you are
             humming poetry? What if this is the last thing you speak?” Al Baraa said: “No! A man like me
             won’t die on his bed. I’ve killed ninety-nine of the nonbelievers and hypocrites!”
 182
       Ibid., p. 143, 146.


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 the medieval text.183 The scholar Max Taylor capably summarizes the conclusions that Awlaki
 drew from Ibn Nuhaas’s text:

         Awlaki sought to interpret Nuhaas’s writings on martyrdom in particular (which in
         the latter case referred to self-sacrifice in the face of overwhelming force during
         battles against infidels) as justifications for modern-day suicide bomb attacks
         against non-combatants. Awlaki insisted, for instance that the eighth chapter of the
         original book … provided the contemporary “legalisation of martyrdom operations.”
         Those who jumped into the ranks of the enemies seeking martyrdom, as described
         by Nuhaas, “might as well just put on an explosive belt,” according to Awlaki’s
         interpretation. “There is nothing today that puts fear in the hearts of the enemies of
         Allah like martyrdom operations,” Awlaki insisted. They are the most “powerful
         weapon that the Muslims possess.” Those who carried out martyrdom operations
         (i.e., suicide terrorist attacks), moreover, were not desperate people, but calculating
         strategists inflicting harm on the enemy of Allah. In terms of violence, Awlaki
         interpreted Nuhaas’s descriptions of the use of catapults and siege warfare during
         battles in the formative years of Islam as a clear justification for indiscriminate
         targeting: “The use of catapults does not distinguish between male, female, young
         or old,” Awlaki argued, and since these were used by the Prophet Mohammed and
         his companions and followers this provided a clear sign that “even though Muslims
         should avoid the killing of women and children and the elderly, it does happen that
         some of them die as collateral damage and this should not hinder jihad fi sabilillah
         [for the pleasure of Allah].”184

 The Book of Jihad has even been cited as evidence in previous terrorism cases, like that of Adel
 Daoud, who was indicted in 2012 for attempting to detonate a car bomb in Chicago. According to
 court documents, The Book of Jihad was among the materials relating to jihad that Daoud
 recommended and distributed to encourage others to support violent activities.185

 2. The Hereafter, by Anwar al-Awlaki

 Another item provided to me by the U.S. Attorney’s Office is Anwar al-Awlaki’s 2006 lecture
 series The Hereafter, in which Awlaki discusses his interpretation of the Islamic view of the
 afterlife.186

 Prior to becoming a globally infamous al-Qaeda propagandist and high-level leader of al-Qaeda in
 the Arabian Peninsula (AQAP), Awlaki lived in the United States. He served as the imam of a
 mosque in San Diego from 1996 to 2000, and then as an imam at the Dar al-Hijrah Mosque in
 Falls Church, Virginia from 2001 to 2002.187 During this period, Awlaki was media savvy, and


 183
     Anwar al-Awlaki, ‘‘The Story of Ibn al-Aqwa: Mashari al-Ashwaq ila Masari al-Ushaaq’’ (audio lecture and
 narration of The Book of Jihad by Ibn Nuhaas) (Beirut: Dar Ibn al-Mubarak, 2003). See also discussion in Max Taylor,
 “‘Terroristic Content’: Towards a Grading Scale,” Terrorism and Political Violence 25 (2013), p. 217.
 184
     Taylor, “‘Terroristic Content,’” pp. 217-18.
 185
     Barbara J. Harner affidavit, United States v. Daoud, p. 8.
 186
     Evidentiary document GX 10-818.
 187
     Joseph Rhee and Mark Schone, “How Anwar Awlaki Got Away,” ABC News, November 30, 2009.


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 sometimes was referred to as a “moderate” in the press. In November 2001, for example, the
 Washington Post featured Awlaki in an online Q&A explaining the Muslim fast of Ramadan.

 However, in 2002, Awlaki left the United States, possibly because he feared that a FBI
 investigation into his solicitation of prostitutes would become public, and moved to London. In
 the following years, Awlaki grew increasingly publicly critical of the United States and the West.
 In 2004, he relocated permanently to Yemen, and released The Hereafter series in 2006. The same
 year, Awlaki was arrested by Yemeni security services and detained for around 18 months. Once
 released, Awlaki moved to the remote province of Shabwah in eastern Yemen, where he became
 known as an AQAP spokesman and official.

 In the ensuing years, Awlaki became perhaps the most prominent English-language jihadist
 propagandist. Awlaki’s most enduring contribution to the jihadist community was his production
 of propaganda materials—including blogs, online sermons, YouTube videos, and the glossy
 English-language magazine Inspire, which Awlaki helped to publish along with fellow American
 Samir Khan—that urged Muslims living in the West to wage jihad at home. Alexander Meleagru-
 Hitchens, a terrorism scholar now at George Washington University, drew parallels between
 Awlaki’s early proselytizing work in the United States and his subsequent efforts to inspire attacks
 against the West:

         Awlaki’s ability to juxtapose key moments from the early history of Islam onto the
         present situation of Western Muslims made him immensely popular and easily
         accessible. In his later, more al-Qaeda aligned work, one can see how he employs
         this skill as a highly effective mobilisation tool, using the examples of
         Mohammed’s more violent phases to encourage modern day jihad.188

 Awlaki also played either a direct or indirect role in numerous high-profile terrorist attacks and
 plots, including a 2009 plot to blow up a plane in mid-air over Detroit on Christmas Day, which
 Awlaki reportedly personally sanctioned.

 New York Times reporter Scott Shane has described The Hereafter series as some of Awlaki’s
 “most insidious material” due to its content, and the manner in which it serves as a bridge for his
 audience from his earlier, more innocuous material to his later explicitly extremist content.189 “For
 those who fall under al-Awlaki’s spell,” Shane writes, “‘The Hereafter’ is a crucial way-station
 along the path from ‘The Life of the Prophet’ to [Awlaki’s] explicit endorsement of attacks on
 American civilians.”190

 The most inflammatory content in The Hereafter appears in a segment on past and future clashes
 between the Muslim world and “the Romans,” a broad term that Awlaki uses to encompass “the
 Europeans, which extends to Latin America, Canada, the U.S., etc.—the Caucasians.”191 He refers

 188
     Meleagru-Hitchens, As American As Apple Pie, p. 7.
 189
     Scott Shane, “The Enduring Influence of Anwar al-Awlaki in the Age of the Islamic State,” CTC Sentinel 9:7
 (2016), p. 18.
 190
     Ibid.
 191
               Anwar       al-Awlaki,       The      Hereafter,       CD       7     (transcript available   at
 http://anwarlecturestranscript.blogspot.ca/2015/04/series-hereafter-anwar-al-awlaki-cd-7.html).


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 to these groups as “Romans” in order to situate the current world political system within the
 framework of Islamic prophesy. In the lecture, Awlaki described a future where “Islam will rule
 the world… Kuffar will be stamped out [and] the choice will be ‘either Islam or death.’”192 Awlaki
 remarked:

               There will be big battles in the future between Muslims and the ones who are called
               Romans. That’s number one. And it also mentions, or indicates, that there will be a
               lot of them who are Muslim. There will be a political entity which the Muslims are
               fighting with. But at the same time, there will be many of them, Romans, who are
               fighting with the Muslims. They are Muslims. And this shows that Islam will spread
               in the West.193

 Elsewhere in The Hereafter series, Awlaki claims that Islamic prophesy condemns the West for
 its alleged excesses. In one lecture, Awlaki argues that Allah has punished Western society for its
 lenient sexual norms by creating the AIDS epidemic:

               In another hadith, which is a scientific miracle, RasulAllah sallallahu ‘alayhi wa
               salaam said, “If zina [unlawful sexual intercourse] will prevail until people will
               advertise for it in public, then Allah will inflict on them diseases which did not exist
               before.” Not just committing zina—but zina in public and advertised. AIDS was a
               disease that did not exist before. Allah sent it on the people because zina is public
               and it is advertised for in movies, on billboards, etc. Even advertisement of
               cigarettes or cars, there is nudity—this is also advertisement of zina. People should
               not think that if they find the cure for AIDS, it’ll be ok, because Allah will send
               another disease that didn’t exist before.194

 Though Awlaki was killed in a U.S. drone strike in 2011, his propaganda continues to influence
 and inspire Westerners, and exposure to Awlaki’s extremist propaganda has been a common
 denominator in numerous homegrown terrorism cases. Materials produced by Awlaki were
 discovered, for example, during investigations into the 2013 Boston Marathon bombing (three
 dead, hundreds injured), the 2015 San Bernardino shooting (14 dead), the 2016 Orlando nightclub
 massacre (49 dead, 53 injured), and the 2016 New Jersey and New York City bombings (31
 injured).

 Some homegrown terrorism cases even specifically reference Awlaki’s series of lectures on The
 Hereafter. For example, these sermons were cited as evidence against the aforementioned Adel
 Daoud, who distributed them as part of his effort to encourage violent jihad.195 Court documents
 pertaining to the 2015 San Bernardino shooting, in which jihadists killed 14 people, specifically
 link these lectures to shooter Syed Farook and his neighbor Enrique Marquez, who was charged
 with material support for terrorism. An affidavit submitted in that case by FBI Special Agent Joel
 Anderson notes: “In 2007, Marquez converted to Islam. Shortly thereafter, Farook introduced

 192
       Ibid.
 193
       Ibid.
 194
          Anwar        al-Awlaki,        The        Hereafter,     CD        5       (transcript   available   at
 http://anwarlecturestranscript.blogspot.ca/2015/03/the-hereafter-series-cd-5.html).
 195
     Barbara J. Harner affidavit, United States v. Daoud, p. 9.


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 Marquez to radical Islamic ideology, which included expressing disdain towards Muslims in the
 U.S. military that killed other Muslims, and discussing the extremist views of the now-deceased
 imam and Islamic lecturer Anwar al-Aulaqi.”196 Anderson notes that in 2010, “Marquez listened
 to ‘The Hereafter,’ which is a series of lectures by al-Aulaqi.” 197 Weeks before the Boston
 Marathon bombing, which killed three people and injured several hundred, perpetrator Dzhokhar
 Tsarnaev tweeted: “Listen to Anwar al-Awlaki’s … here after [sic] series, you will gain an
 unbelievable amount of knowledge.”198

 3. Inspire
 According to evidence provided to me by the U.S. Attorney’s Office, the defendant possessed
 multiple issues of Inspire, an English-language online magazine published by al-Qaeda in the
 Arabian Peninsula (AQAP). Inspire was founded by Anwar al-Awlaki and fellow U.S. citizen and
 AQAP operative Samir Khan in 2010. As implied by its title, the magazine intends to radicalize
 potential terrorists in the U.S. and Europe, and move them to carry out attacks. In addition to
 exhorting violence, Inspire features a section called “Open Source Jihad,” which the magazine
 describes as “a resource manual for those who loath the tyrants; includes bomb making techniques,
 security measures, guerrilla tactics, weapons training and all other jihād related activities.”199 The
 evidence provided to me suggests that the defendant possessed the first five issues of the
 magazine.200 These issues include articles written by al-Qaeda emir Osama bin Laden, Ayman al-
 Zawahiri (who was promoted from al-Qaeda’s deputy emir to its emir upon bin Laden’s death in
 May 2011), and other notable terrorist leaders; as well as tactical advice on a broad range of matters
 related to planning and executing terrorist attacks.

 In Inspire’s first issue, the article “Make a Bomb in the Kitchen of Your Mom” provides step-by-
 step directions for manufacturing an improvised explosive device, providing a bullet pointed list
 of the advantages of this approach:

         •   Its ingredients are readily available.
         •   Buying these ingredients does not raise suspicion.
         •   It is easily disposed of if the enemy searches your home. Sniffing dogs are not
             trained to recognize them as bomb making ingredients.
         •   In one or two days the bomb could be ready to kill at least ten people. In a month
             you may make a bigger and more lethal bomb that could kill tens of people.201

 The article provides readers practical advice on carrying and placing the device, once constructed:

         •   Place the device in a crowded area.




 196
     FBI Special Agent Joel T. Anderson, Affidavit in Support of Complaint, United States v. Marquez (C.D. Cal.,
 December 17, 2015), p. 3, https://www.justice.gov/usao-cdca/file/801581/download.
 197
     Ibid., p. 7.
 198
     See tweet at https://twitter.com/Al_firdausiA/status/311005838959595520.
 199
     Inspire issue 1, 2010, p. 32.
 200
     See, e.g., the evidentiary documents GX 14-101, GX 14-102, GX 14-104, GX 14-105.
 201
     “Make a Bomb in the Kitchen of Your Mom,” Inspire issue 1, 2010, p. 33.


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         •    Camouflage the device with something that would not hinder the shrapnel such
              as cardboard.202

 Issue 4 of Inspire, which the defendant also possessed, advises readers about how to destroy a
 building. The author writes:

         Rent an apartment in the lower floors that occupies [sic] the corner of the building.
         If it covers two adjacent corners that is even better. Close the windows and
         ventilations and any openings, which may leak the gas. Open all the internal doors
         of the apartment, rooms, bathrooms and kitchen so that the gas should touch the
         outer wall we intend to destroy. The lamp with the circuit clock (explained in the
         first issue of Inspire) should be placed in the apartment at [sic] the clock set at a
         sufficient time to saturate the apartment with gas. The lamp should be placed at the
         center of the apartment so that the combustion would start from this point
         outward… Leave the scene and wait for the explosion to occur.203

 Inspire also provides advice on how to carry out other terrorist operations, including vehicular
 attacks (which the world has, tragically, seen a massive increase in lately, particularly in Europe).
 In the second edition of the magazine, an article entitled “The Ultimate Mowing Machine”
 encourages readers to “use a pickup truck as a mowing machine, not to mow grass but mow down
 the enemies of Allah.”204 A discussion of target selection and timing follows:

         You would need a 4WD pickup truck. The stronger the better. You would then need
         to weld on steel blades on the front end of the truck. These could be a set of butcher
         blades or thick sheets of steel. They do not need to be extra sharp because with the
         speed of the truck at the time of impact, even a blunter edge would slice through
         bone very easily. You may raise the level of the blades as high as the headlights.
         That would make the blades strike your targets at the torso level or higher.

         Pick your location and timing carefully. Go for the most crowded locations.
         Narrower spots are also better because it gives less chance for the people to run
         away. Avoid locations where other vehicles may intercept you.

         To achieve maximum carnage, you need to pick up as much speed as you can while
         still retaining good control of your vehicle in order to maximize your inertia and be
         able to strike as many people as possible in your first run. Keep in mind that as soon
         as people realize what you are up to, they would scatter and run in every direction
         looking for cover. They would look for areas where the vehicle cannot reach them.
         Therefore, it is important to study your path of operation beforehand.

         The ideal location is a place where there are a maximum number of pedestrians and
         the least number of vehicles. In fact if you can get through to “pedestrian only”
         locations that exist in some downtown (city center) areas, that would be fabulous.

 202
     Ibid., p. 40.
 203
     “Destroy Buildings,” Inspire issue 4, 2010, p. 40.
 204
     “The Ultimate Mowing Machine,” Inspire issue 2, 2010, p. 53.


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         There are some places that are closed down for vehicles at certain times due to the
         swarms of people.205

 Inspire is often cited as an important source of motivation in various acts of domestic jihadist
 terrorism. For example, issue 1 was cited in the indictment of Boston Marathon bomber Dzhokhar
 Tsarnaev as evidence found on his laptop. Indeed, the pressure cooker bombs used by the
 Tsarnaevs to strike near the marathon’s finish line closely resembled the bombs detailed in “Make
 a Bomb in the Kitchen of Your Mom.”206

                                             4. Images Relating to Jihad and ISIS’s Caliphate
                                             Graphics and images that the U.S. Attorney’s Office
                                             found on the defendant’s laptop and thumb drive are also
                                             representative of salafi jihadist ideology. The defendant
                                             had a large number of photos, logos, icons, and other
                                             graphic media that featured symbols of militant jihad,
                                             promoting a jihadist-ruled caliphate. While some of these
                                             items related specifically to ISIS’s caliphate, others
                                             promoted jihadism or the idea of a caliphate more
                                             generally.

                                       For example, evidentiary document GX 10-204, which
                                       was extracted from the defendant’s flash drive, is an
                                       image of a black banner associated with jihadist groups
                                       (al-raya), underneath which is written “One Flag, One
                                       People, One Cause.” Below the text is a grid of flags from
                                       various predominantly Muslim countries with a red “X”
                                       drawn through the center, showing that the black banner
                                       is replacing the symbols of nation-states. Scholar Rüdiger
                                       Lohlker explains the black banner’s symbolism: “The
 black banner (al-raya) served the Muslim army as a war banner and therefore represents war,
 conquest and destruction of the enemy.… The modern adaptation of the black standard carries the
 Islamic credo ‘There is no God but Allah and Muhammad is his Messenger’ in white letters on
 it.”207

 Contemporary militant Islamists have used various adaptations of this flag since the late 1990s.
 The ISIS flag, for example, is one variant. Evidentiary document GX 10-204 is a pro-jihadist and
 pro-caliphate graphic. The text and graphic below the flag refer to the establishment of a caliphate:
 the renunciation of distinct nation-states, as they are replaced by one united Muslim community
 ruled by jihadists and governed by a militant Islamist interpretation of sharia law.




 205
     Ibid.
 206
     Indictment, United States v. Tsarnaev (D. Mass., June 27, 2013), p. 3.
 207
     Rüdiger Lohlker, Jihadism: Online Discourses and Representations (Gottingen, Germany: V&R Unipress GmbH,
 2013), p. 44.


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 The same theme is reiterated in another graphic found among the
 defendant’s electronic files that depicts an hourglass.208 The top half of
 the hourglass contains the flags of numerous Muslim-majority nation-
 states. The bottom half is bisected with a jihadist raya and also another
 flag, al-liwa, which is a symbol of the caliphate. The liwa employs the
 inverse color scheme of the raya: Rather than a shahada in white text
 over a black background, it features a shahada in black text over a white
 background. Lohlker explains that, in contrast to the black battle flag,
 which is flown when making war in infidel lands (sometimes called the
 dar al-harb, or the abode of war), the white flag is “raised in the ‘dar al-
 salam/al Islam’ (abode of peace), where the Islamic sharia is applied.”209
 The symbolism of the hourglass image is self-evident: time is running
 out on the nation-state system, which will be replaced by a jihadist
 caliphate. It is worth noting that the black shahada imposed over a white
 background is also depicted on a sash found among the defendant’s belongings.210

 Another jihadist image in the defendant’s possession features a turbaned warrior with a sword
 dripping blood standing before a black banner.211 This image is overtly pro-jihadist. The image
 features prominently in many jihadists’ online profiles, and the San Diego Law Enforcement
 Coordination Center concluded that the image is associated with al-Qaeda in Iraq, ISIS’s
 predecessor.212 Indeed, the bottom of the flag features the Arabic phrase saraya al-tawhid wal-
 jihad, or squadrons of monotheism and jihad. This language parallels an early name given to al-
 Qaeda in Iraq/ISIS: Jamaat al-Tawhid wal-Jihad. (The group has gone through numerous name
 changes throughout its life.)

                                          West Point’s Combating Terrorism Center has provided
                                          extended analysis of this image:

                                          In Islamic tradition (as was the custom in pre-
                                          Islamic Arabia), blood or shedding blood
                                          symbolizes contrition and expiation, paying for
                                          a wrongdoing or sins with blood. In the jihadi
                                          visual propaganda however, blood or red usually
                                          symbolize the act of martyrdom, and it is linked
                                          to warlike qualities. Here, blood is seen dripping
                                          from the sword of a warrior who is standing in
                                          front of a large black banner that bears
                                          the shahada (Islamic testimony of faith holding
                                          that there is no god but Allah and that
                                          Muhammad is his messenger)….

 208
     Evidentiary document GX 10-208.
 209
     Lohlker, Jihadism, p. 44.
 210
     Evidentiary document GX 10-817.
 211
     Evidentiary document GX 10-207.
 212
      San Diego Law Enforcement Coordination Center, “Terrorism Imagery Recognition,” available at
 https://info.publicintelligence.net/SDLECC-TerroristImagery.pdf.


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         According to hadith (prophetic traditions or reports), the black flag was the battle
         flag of the Prophet Muhammad and it was carried into battle by many of his
         companions. Since then, the image of the black flag has been used as a symbol of
         religious revolt and engagement in battle (i.e., jihad). In the contemporary Islamist
         movement, the black flag is used to evoke notions of jihad and of reestablishing the
         Islamic Caliphate.

         The sword in the image further helps depict current jihadi activities as modern
         extensions of the campaigns of the first Muslims, as swords are seen as noble
         weapons that embody the religious purity, nobility and righteousness that is
         associated with the Prophet, his companions and their successful military
         campaigns.213

 Other examples of pro-jihadist and pro-caliphate
 images found in the defendant’s computer files or
 flash drive include a graphic of a masked jihadist on
 a horse carrying the aforementioned black banner of
 jihad;214 a map published by ISIS after its declaration
 of a caliphate in 2014 that highlights territory that it
 projected it would conquer in the next five years in
 Europe, the Middle East, Asia and North Africa;215 a
 portrait of al-Qaeda founder and leader Osama bin
 Laden;216 a photo of masked terrorists at a rally;217 a photo of would-be Hamas suicide bombers
 marching in a line;218 and a photo of an infamous ISIS executioner known as “The Bulldozer,”
 who is reportedly a member of ISIS’s “chopping committee.”219 These are all militant images.

 5. Nasheeds
 A photograph provided by the U.S. Attorney’s Office depicts an iPod with over a dozen jihadist
 nasheeds, some of which are explicitly identified with ISIS in their titles. A nasheed is a type of
 vocal music that has been around for over a millennium, though the use of jihadist nasheeds and
 nasheeds that serve as a political tool became particularly popularized in the 1970s, when
 fundamentalists in Egypt and Syria heavily used them as a mechanism for mobilizing supporters
 and expressing political dissent.220


 213
     “Image Promoting Saraya al-Tawhid wal-Jihad,” Combating Terrorism Center, West Point (n.d.), available at
 https://www.ctc.usma.edu/posts/imagery/0200.
 214
     Evidentiary document GX 10-105.
 215
     Evidentiary document GX 10-106.
 216
     Evidentiary document GX 10-103.
 217
     Evidentiary document GX 10-206.
 218
     Evidentiary document GX 10-205.
 219
     Evidentiary document GX 10-109. For discussion of “The Bulldozer,” see Omotola Omalayo, “Three Things You
 Should Know About ‘The Bulldozer’—The Captured ISIS Executioner,” Ventures Africa, June 2, 2016,
 http://venturesafrica.com/three-things-you-should-know-about-the-bulldozer-the-captured-isis-executioner/.
 220
     Behnam Said, “Hymns (Nasheeds): A Contribution to the Study of the Jihadist Culture,” Studies in Conflict &
 Terrorism vol. 35 (2012), p. 866; Alex Marshall, “How ISIS Got its Anthem,” Guardian (U.K.), November 9, 2014;
 Thomas Seymat, “How Nasheeds Became the Soundtrack of Jihad,” Euro News, August 10, 2014.


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 Nasheeds have become a staple of contemporary jihadist groups, as jihadists see them as
 reminiscent of early Islamic history. Also, as noted previously, because salafi jihadists consider
 musical instruments to be religiously impermissible, a capalla nasheeds are their only option for
 music that they consider to be consonant with their faith. Nasheeds have consequently become
 known as jihadist “anthems” or “soundtracks.”221 The chants are catchy, designed to make the
 nasheed become ingrained in listeners’ subconscious, thus strengthening the power of its message.
 Nasheeds play a particularly significant role in ISIS’s propaganda machine, featuring prominently
 in many of the group’s videos. The music is reportedly even played when ISIS fights on the
                                    battlefield. 222 According to researcher Aymenn Jawad al-
                                    Tamimi, ISIS is “one of the leading producers—if not the
                                    leading producer—of jihadi nasheeds today.”223 The nasheeds
                                    produced by ISIS cover a variety of topics and themes,
                                    including references to martyrdom and the caliphate.

                                        Examining the nasheeds on the iPod provided by the U.S.
                                        Attorney’s Office, 224 beyond their obvious association with
                                        ISIS and jihad, an examination of the songs’ lyrics reveal
                                        violent messages. One verse of the nasheed entitled “We have
                                        the Swords” is translated as follows:

                                               And we sever off heads by the strike of the sword,
                                                   And by striking the enemy we heal souls.
                                                 So take heed, my enemy, of the day of doom,
                                                    That old glory may arise in the world,
                                                   That old glory may arise in the world.225

 6. The Light Series
 Another piece of evidence that the U.S. Attorney’s Office has asked me to explain is The Light
 series of videos.

 The Light series was launched in 2010 by EnterTheTruth Productions. This series has an obvious
 pro-jihadist perspective, one which ultimately grows explicitly pro-ISIS after ISIS emerged as a
 distinct entity. (It remained a part of the al-Qaeda organization until early 2014.) According to the
 EnterTheTruth Wordpress blog, the video series aims to “contextualize events for Muslim masses.”
 There are three “seasons” of videos: 1) The Light (51 episodes); 2) The Light Reloaded (52
 episodes); and 3) The Light Revelations (32 episodes).226 Explicitly pro-ISIS videos appear in the
 second and third seasons. For examples, see Light Reloaded pts. 49-52;227 Light Revelations Pt. 20


 221
     Seymat, “How Nasheeds Became the Soundtrack of Jihad”; Marshall, “How ISIS Got its Anthem.”
 222
     Marshall, “How ISIS Got its Anthem.”
 223
     Quoted in Brent Bambury, “What ISIS Songs Reveal About the Group’s Evolution,” CBC Radio, November 26,
 2015, http://www.cbc.ca/radio/day6/episode-261-aleppo-healthcare-crisis-isis-propaganda-songs-melting-glaciers-
 politics-of-comedy-and-more-1.3338712/what-isis-songs-reveal-about-the-group-s-evolution-1.3338848.
 224
     Evidentiary document GX 10-304.
 225
     Evidentiary document GX 10-303.
 226
     See blog at https://thelightseries.wordpress.com/about-the-series/.
 227
     See videos at https://archive.org/details/TheLightReloaded_201404.


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 – Caliphate – Rise of the Shield; and Light Revelations Pt. 23 – Propaganda of the Elite – Lies
 Against Dowlah.228

 The Light Reloaded pts. 49-52 begins with a little girl singing a nasheed in what appears to be a
 marketplace before a bomb detonates behind her. The following scenes discuss the historical
 precedent for a caliphate in Iraq, and a prison break at Abu Ghraib in which jihadist militants
 escaped. Text appears stating: “Syria Is Becoming The Nucleus Of the Islamic Caliphate
 inshaAllah.” This text is followed by a narration: “The radical fighters are respected by large parts
 of the population, who appreciate their personal sacrifice and the help they provide to civilians.”
 The succeeding footage is full of images of the ISIS flag, militant Islamists, and various interviews
 with ISIS members. A nasheed plays in the background while this material is featured on the screen.
 The final scenes of Episode 52 feature a segment entitled “What is your role?,” in which the series
 addresses the question “How Are We Building Our Future Generation?” These scenes depict
 children adorned in ISIS symbols—clutching ISIS backpacks, wearing military uniforms and
 articles of clothing adorned by the ISIS flag, holding weapons, and waving the ISIS flag.229

 The following season, The Light Revelations, is even more blatantly pro-ISIS. For example,
 episode 20, “Caliphate – Rise of the Shield,” begins by describing the various community-building
 efforts undertaken by ISIS, and presents footage that purports to depict life in ISIS’s capital city
 of Raqqa. This life is portrayed as idyllic, with children playing, and welcoming ISIS fighters. The
 video celebrates the declaration of a caliphate in June 2014 with clips of ISIS military parades, and
 subtitles discussing the religious mandate to support the Islamic State. The episode ends with
 footage of a speech by ISIS’s caliph, Abu Bakr al-Baghdadi, on July 4, 2014, translated in the
 subtitles as follows:

          Thus (the mujahideen) have hastened to declare the establishment of the Caliphate
          & the appointment of an Imam (i.e. Caliph) & this is a duty incumbent upon all
          Muslims, a duty neglected for centuries… I was put to the test by this heavy
          responsibility with which I was entrusted. I have been appointed your Wali, but I
          am not the best amongst you, nor better than you…If you find me on falsehood,
          show me the truth & correct me & obey me as long as I obey Allah. And do not
          obey me if I disobey Allah… And I’m not going to make false promises to you like
          the kings & the dictators.230

 Baghdadi’s speech is followed by audio of another Baghdadi speech in which he refutes the
 classification of ISIS as a terrorist organization, and hails the group’s ability to unify and inspire
 Muslims worldwide. The subtitles are as follows:

          Indeed the Muslims were defeated after the fall of their Caliphate. Then their state
          ceased to exist… So the Kuffar [derogatory term for non-Muslims] were able to
          weaken and humiliate the Muslims, dominate them in every region. But “terrorism”
          (for Kuffar) does not include the killing of Muslims in Burma & burning their
          homes. “Terrorism” (for Kuffar) does not include slaughtering Muslims in Central

 228
     See both Light Revelations videos at https://archive.org/details/TheLightRevelations.
 229
     See video at https://archive.org/details/TheLightReloaded_201404.
 230
     See video at https://archive.org/details/TheLightRevelations.


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            Africa like sheep… while no one weeps for them & denounces their slaughter. All
            this is not “terrorism” (to them). O Muslims everywhere, glad tidings to you and
            expect good. Raise your head high, for today—by Allah’s grace—you have a state
            and a khilāfah, which will return your dignity, might, rights, & leadership. It is a
            state where the Arab & non-Arab, the white man & black man, the easterner &
            westerner are all brothers. It is a khilāfah that gathered the Caucasian, Indian,
            Chinese, Shāmī, Iraqi… Yemeni, Egyptian, Maghribī (North African), American,
            French, German, & Australian. Allah brought their hearts together… and thus, they
            became brothers by His grace, loving each other for the sake of Allah, standing in
            a single trench… defending and guarding each other, and sacrificing themselves for
            one another. Their blood mixed and became one, under a single flag and goal… in
            one pavilion, enjoying this blessing, the blessing of faithful brotherhood. If kings
            were to taste this blessing… they would abandon their kingdoms and fight over this
            grace. So all praise and thanks are due to Allah.

 A third example of the overtly pro-ISIS propaganda in this series is Light Revelations Episode 23,
 “Propaganda of the Elite (Media Lies Against Dowlah),” which declares allegations of ISIS
 (referred to as “dowlah”) brutality and the killing of innocent Muslims to be false.231 The video’s
 introduction features the following message from the series creator:

            The Media campaign against Dowlah has been so well orchestrated that the world
            is up in arms…Unfortunately a HUGE number of Muslims have fallen for the
            propaganda of the Elite…Some of these claims are so preposterous that I never
            thought I would be forced to clarify them, yet the level of deception in the Umma
            has proven me wrong…Whether one agrees with Dowlah or not it is the duty of
            Muslims to seek truth. With limited space & time we will examine some of the
            predominant claims made by the Media regarding The Islamic State (Dowlah).

 The video goes on to denounce and purport to refute the following allegations: “Claim #1- Dowlah
 Kills Muslims, including women & children,” “Claim #2- Dowlah Kills ‘Those it does not agree
 with,’” “Claim #3- Dowlah Ordered Female Circumcision upon All women of Mosul,” “Claim #4
 – Dowlah commits ‘Genocide’ & ‘Massacres’ upon Christians,” “Claim #5 – Dowlah is
 Indiscriminately Massacring Yazidi Civilians,” “Claim # 6 – Dowlah wants to ‘Eliminate the
 Kurds,’” “Claim #7 – Baghdadi is a Mossad/CIA Agent & Dowlah are agents of USA…” The
 video argues that these claims are either blatantly false or incomplete, and concludes with a
 message stating: “We only dealt with a small fraction of the False Claims made against Dowlah,
 however this should at least teach us to be more suspicious when it comes to media slander of
 muslims.”

 This message is followed by the words of Abu Bakr al-Baghdadi: “Those who mislead themselves
 thought The State was up for grabs…Whilst being dragged into the Lies & False Claims of the
 Media…So beware! Beware of letting the Deceitful Media affect you!”

 Websites affiliated with the Light Series. Web pages affiliated with The Light video series
 (Wordpress blog, Twitter, YouTube, Facebook) also have content with clear jihadist leanings. For
 231
       See video at https://archive.org/details/TheLightRevelations.


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 example, the Wordpress site features articles by Sheikh Ahmad Musa Jibril, an Arab-American
 preacher who is a notorious cheerleader for jihadism. One article by Jibril on the site praises Abu
 Humaam al-Falastini (ISIS’s emir for the Homs area) and Shaykh Abu Anas al-Shami (who had
 mentored ISIS’s late spokesman Abu Muhammad al-Adnani). The article begins by
 contextualizing how Jibril knows both of them: “Two of my best friends as a student in Medina!
 Both of whom I lost track of since graduating only to see them on the news.” He describes Abu
 Anas al-Shami as “the leader, Amir and Mufti of Fallujah in the historical battles of 2003,” before
 proudly noting Abu Anas’s connection to current news: “Sheikh Abu Anas Al-Shami was a teacher
 of Sheikh Abu Muhammad Al Adnani (Official Spokesperson of IS).”232 Jibril then boasts of his
 other good friend from his time in Medina:

         2. Abu Humaam Al-Falastini - I just found out hours ago, another friend we spent
         a lot of time with was the previous Amir of Homs (Syria) for the Dowla until August
         of this year (2013) when he was killed – Abu Humam Al Falasteeni. (Journalist
         Zaid Benjamin spreads news announcing the death of Abu Humam on his twitter
         account - https://twitter.com/zaidbenjamin/status/367039792262811648 )233

 The Wordpress site also features a biography of Sheikh Abu Usamah Musa’ad ibn Bashir al-
 Sudani, described on the site as “one of the biggest scholars of our time & one of the most
 prominent IS supporters.” The biography praises Bashir and his knowledge of Islam, suggests
 mistreatment on the part of Sudanese authorities who arrested him, and prays for his safe return:

          The Sheikh is hypertensive on chronic medications and the last time he was jailed
          he almost lost his eye-sight which required surgery. His pledge to Al-Baghdadi and
          his fame for doing so is the speculated reason for his arrest. Especially after the
          conference which took place in Jeddah a few days before his arrest, to combat The
          Islamic State. So please spread the news and let the Ummah know how its scholars
          are being treated for supporting the Islamic State. Now neither his family nor his
          students have any idea about where he was taken to, May Allah support him and
          keep him safe.234

 The Wordpress site’s portrayal is, of course, explicitly pro-ISIS, portraying support for ISIS as
 entirely natural for Muslims, particularly for scholars of Islam—and portraying attempts to counter
 ISIS’s growth as oppression.

 The videos featured on the affiliated YouTube channel (TheLightandKnowledge) are pro-ISIS, in
 favor of violent jihad, and anti-democracy.235 The associated Facebook page also features jihadist
 content.236

 232
     See full article at https://thelightseries.wordpress.com/2015/02/01/2-men-of-akhira-by-sheikh-ahmad-musa-jibril/.
 IS is another name for ISIS: It is an acronym for Islamic State.
 233
     Ibid.
 234
     See full article at https://thelightseries.wordpress.com/2015/02/01/biography-of-sheikh-abu-usamah-musaad-ibn-
 bashir-al-sudani/.
 235
       Examples of such videos are as follows:                         https://www.youtube.com/watch?v=6ibnJf3d81k;
 https://www.youtube.com/watch?v=jB5XWa8sGeA; https://www.youtube.com/watch?v=PSxQKhCKh5w.
 236
         See,      for      example,       https://www.facebook.com/TheLightRevelations/photos/pb.689281981166257.-
 2207520000.1486695096./1023798547714597/?type=3&theater.


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 7. Abu Muhammad al-Maqdisi
 The U.S. Attorney’s Office also asked me to
 explain the significance of Abu Muhammad al-
 Maqdisi. Born in the West Bank in 1959, with
 the birth name Isam Muhammad Tahir al-
 Barqawi, Maqdisi is universally recognized as
 an extremely influential Salafi jihadist
 ideologue. In addition to supporting al-Qaeda
 overtly, and frequently playing an important
 role in bolstering the organization, Maqdisi is
 notorious for two further reasons. First,
 Maqdisi, along with Abu Musab al-Zarqawi,
 founded the jihadist group Tawhid wal-Jihad,
 which can reasonably be seen as a precursor to al-Qaeda in Iraq, and, ultimately, ISIS. Second,
 Maqdisi served as a mentor to two high-level ISIS leaders, including Zarqawi.

 Delving into the first of these factors that are relevant to understanding Maqdisi, he met Zarqawi
 in Afghanistan prior to the 9/11 attacks, when the fundamentalist Taliban controlled about 90% of
 the country, and al-Qaeda had free reign to run training camps and plot terrorist attacks abroad.237
 While in Afghanistan, Zarqawi built relationships that would allow him to form the militant
 organization associated with him that would undergo several name changes, none of which
 signaled a fundamental change in mission, organizational structure, or personnel before his death
 in 2006. The Zarqawi organization ultimately became ISIS years after Zarqawi’s death.

  Name Used by the Zarqawi Organization                                       Years used
  Tawhid wal-Jihad/Bayat al-Imam                                              c. 1993-99
  Jund al-Sham                                                                c. 1999-2004
  Jamaat al-Tawhid wal-Jihad                                                  2004
  Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq)             2004-06
  Majlis Shura al-Mujahedin fil-Iraq (Mujahedin Shura Council)                2006

 Thus, Zarqawi and Maqdisi established a jihadist outfit before returning to Jordan in 1993,
 according to Abu Muntassir Bilah Muhammad, who was one of the group’s co-founders.238 The
 group, composed of around a dozen men, was known by Jordanian police and journalists as Bayat
 al-Imam (Allegiance to the Imam). However, members of Bayat al-Imam reportedly rejected that
 name and referred to their organization instead as Tawhid wal-Jihad.239 The group’s primary goal
 was to overthrow the Jordanian monarchy and replace it with an Islamic government.240 A group

 237
     Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlantic, July/August 2006; see also
 Didier Francois, “Top Billing,” Libération (Paris; original in French), June 13, 2005.
 238
     Weaver, “The Short, Violent Life.”
 239
     Didier Francois, “Top Billing.”
 240
     Weaver, “The Short Violent Life” (noting that Tawhid wal-Jihad’s “primary objective … was to overthrow the
 monarchy and establish an Islamic government”); Gary Gambill, “Abu Musab al-Zarqawi: A Biographical Sketch,”
 Terrorism Monitor (Jamestown Foundation), December 15, 2004 (describing the founding of Tawhid wal-Jihad, and
 noting that Zarqawi and Maqdisi’s return to Jordan was designed “to prepare for a jihad closer to home”).


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 with these insurrectionist ambitions was bound to catch the attention of Jordanian authorities, and
 Zarqawi and Maqdisi were arrested in 1994. They were convicted of possessing illegal weapons
 and belonging to a banned organization, and were sentenced to 15 years in prison.241

 The militant organization actually flourished in the Suwaqah prison, where Zarqawi and Maqdisi
 were incarcerated. In an interview with the Arabic-language newspaper Al-Sharq al-Awsat,
 journalist Abdallah Abu Rumman, who met Zarqawi in September 1996 (when Abu Rumman was
 also incarcerated in Suwaqah), recalled that Tawhid wal-Jihad was “amongst the strongest and
 most influential” associations in that prison.242

 Though Zarqawi eventually eclipsed even Maqdisi, the latter man remained involved in the
 organization. Prisoners’ family members would routinely smuggle out theological tracts written
 by Maqdisi. Prominent London-based Salafi jihadist cleric Abu Qatada al-Filistini would in turn
 publish writings by Tawhid wal-Jihad members in his magazine, Al-Minhaj, thus allowing other
 prominent jihadists like Saif al-Adel (born Mohamed Makawi) to stay abreast of the activities of
 their “brothers” in Jordan’s prisons. Adel recalled to journalist Fouad Hussein: “Our brother [Abu
 Qatada] would publish these brothers’ writings in his London-based magazine Al-Minhaj. We read
 the brother Abu Muhammad al-Maqdisi’s letters as well as Abu Musab’s.”243 Thus, Maqdisi not
 only served as an early mentor to Zarqawi, who is known as the founding father of ISIS, but was
 himself a co-founder of the organization that would ultimately grow into ISIS.

 As to the second point, Maqdisi’s mentorship of prominent jihadist figures, he mentored not only
 Zarqawi but also Turki al-Binali, who became a major ISIS cleric. Indeed, demonstrating how
 close he was to Maqdisi, Binali at one point referred to the jihadist figure as his spiritual “father.”244

 Over the years, Maqdisi has frequently been imprisoned by the government of Jordan, a fact that
 has not prevented his ascent to becoming the most influential contemporary salafi jihadist
 theologian. Indeed, scholar Joas Wagemakers notes that some of Maqdisi’s periods of
 imprisonment “have been some of the most productive ones in his entire life.”245 Some of Maqdisi’s
 most important intellectual contributions have been on the topic of why to wage jihad, where he
 has emphasized the need to topple the “apostate” regimes that rule over Muslim-majority countries.

 Since ISIS’s rise as an entity apart from—and challenging—al-Qaeda, Maqdisi has been outspoken
 in opposition toward the former. His public anti-ISIS commentary should not be mistaken as a
 renunciation of jihadism, but instead can be understood as the product of an organizational and
 strategic difference with ISIS: Maqdisi favors al-Qaeda, both organizationally and strategically.
 Indeed, Maqdisi has continued to align himself with both al-Qaeda and jihadism more generally,
 a position that comes across in his anti-ISIS statements. However, Maqdisi’s anti-ISIS position did

 241
     George Michael, “The Legend and Legacy of Abu Musab Al-Zarqawi,” Defence Studies 7:3 (2007), p. 340.
 242
     Al-Sharq al-Awsat, March 8, 2004.
 243
     Fouad Hussein, Al-Zarqawi: The Second Generation of al-Qaeda (London, 2005, translated from Arabic), p. 7.;
 see also Weaver, “The Short, Violent Life” (noting how Maqdisi’s tracts “were smuggled out” of the prison by the
 wives and mothers of inmates).
 244
     Ala’ Alrababa’h, “Fighting Fire with Fire: Jordan’s Risky Strategy Against the Islamic State,” Carnegie Middle East
 Center, December 11, 2014.
 245
     Joas Wagemakers, “Al-Maqdisi and the Jordanian Jihadi-Salafi Movement,” Jihadica, December 1, 2012.


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 garner his most recent release from Jordanian prison, as Jordan—in a risky move, but one the
 monarchy judged necessary under the circumstances—allowed al-Qaeda-aligned figures to serve
 as a bulwark against ISIS recruitment in the kingdom. Jihadist figures on social media, such as
 Abu Qatada, were quick to celebrate Maqdisi’s release.246

 Numerous data points make Maqdisi’s continued support for al-Qaeda following his release, and
 continued importance to that organization, clear. Among other things, Maqdisi’s anti-ISIS
 statements have put him at the forefront of al-Qaeda’s efforts to defend its position as the leader of
 the transnational jihadist movement against this younger challenger. Indeed, Maqdisi has revealed
 publicly that he had spearheaded early unsuccessful efforts to broker a reconciliation between ISIS
 and al-Qaeda, including being in touch personally with both al-Qaeda emir Ayman al-Zawahiri
 and ISIS’s caliph, Abu Bakr al-Baghdadi.

 8. Zachary Chesser
 The U.S. Attorney’s Office asked me to
 explain the significance of Zachary Chesser.
 Chesser (a.k.a. Abu Talhah al-Amrikee and
 Abuu Talxah al-Amrikii) is a U.S. citizen
 from Charlottesville, Virginia who was
 sentenced to 25 years in prison on February
 24, 2011, after pleading guilty to counts of
 communicating threats, soliciting others to
 threaten violence, and providing material
 support to terrorists.

 Court documents and reports on Chesser’s
 case illustrate his rapid radicalization
 beginning in mid-2008, when he converted to Islam, and culminating in the summer of 2010,247
 when he was arrested by the FBI for providing material support to the Somalia-based jihadist group
 al-Shabaab. In the book United States of Jihad: Investigating America’s Homegrown Terrorists,
 the prominent terrorism analyst Peter Bergen did extensive investigative research into Chesser. He
 writes of Chesser’s conversion:

         Zac threw himself into learning everything he could about Islam. “I became Muslim
         after reading the first four chapters of a translation of the Koran,” he says. He started
         playing on a football team organized by a member of Hizb ut-Tahrir, a
         fundamentalist but nonviolent organization that aims to install sharia law around


 246
     See Thomas Joscelyn, “Al Qaeda Jihadists Celebrate Release of Anti-Islamic State Ideologue,” Long War Journal,
 February 5, 2015.
 247
     United States Senate Committee on Homeland Security and Governmental Affairs, Zachary Chesser: A Case
 Study in Online Islamist Radicalization and Its Meaning for the Threat of Homegrown Terrorism (February 2012),
 p. 7. “Nevertheless, from mid-2008 to at least the summer of 2010, Chesser became a homegrown violent Islamist
 extremist.”
 https://www.hsgac.senate.gov/imo/media/doc/CHESSER%20FINAL%20REPORT(1)2.pdf



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         the Muslim world. In the summer of 2008, Zac formally converted to Islam. He was
         eighteen.248

 Three months later, Chesser was exposed to the lectures of Anwar al-Awlaki, who, according to
 Chesser, “served as a gateway for [him] to other more extreme beliefs.”249 Shortly thereafter,
 Chesser began to comment and post on Awlaki’s website, seeking clarification and guidance from
 other members of the online militant community on how to properly wage jihad. For example, in
 one post he inquired: “If someone is an apostate, and they are so openly, can I just kill them right
 then and there, or are there conditions?”250 In another post, he expressed his desire to join al-
 Qaeda’s East African affiliate, Al-Shabaab, as well as his fear of being arrested while attempting
 to do so. He wrote:

         My sole desire in my heart is to join al-Shabaab…. It is so engraved upon my heart
         that I began lamenting the time it is going to take to raise the money or means and
         then travel to Somalia. I don’t know how to get there, so that is an issue. Another
         one is based on things I look up and post on the Internet. I am worried that I will be
         arrested when I try to leave the country. Does anyone know how to help me?251

 Between 2008-10, Chesser became active on a multitude of online forums and mediums, of which
 he was either an administrator or frequent contributor. On these platforms, he propagated materials
 advocating for engagement in violent jihad, and providing encouragement and guidance for those
 interested in engaging in such violent activities.252 According to a study conducted by the US
 Senate Committee on Homeland Security and Governmental Affairs (HSGAC):

         before his arrest by Federal Authorities in July 2010, Chesser was a member of,
         and prolific contributor to, at least six terrorist online forums; the creator of three
         YouTube terrorist propaganda channels; the holder of at least two Twitter accounts;
         the manager of an active Facebook profile; and the creator and author of two stand-
         alone blogs advocating violent Islamist extremism.253

 Chesser ran a blog, themujahidblog.com, which he said was “dedicated to those who give their
 blood for” Islam.254 As an example of his voluminous online activities during this period, in a post
 from January 2010 entitled “How to Help the Mujahideen,” Chesser concluded: “And perhaps
 most importantly, we have to actually go and fight against the disbelievers.”255 In early 2010,
 Chesser became an administrator of RevolutionMuslim.com, a particularly well-known site that
 supported violent Islamist militancy. According to court documents, as the administrator Chesser
 “made postings to the site, responded to inquiries from other users, and reviewed and permitted

 248
      Peter Bergen, United States of Jihad: Investigating America”s Homegrown Terrorists (New York: Broadway
 Books, 2017), p. 133.
 249
     Ibid.
 250
     Quoted in ibid.
 251
     Quoted in ibid., p. 146.
 252
     United States Senate Committee on Homeland Security and Governmental Affairs, Zachary Chesser: A Case Study
 in Online Islamist Radicalization and Its Meaning for the Threat of Homegrown Terrorism (February 2012), p. 3.
 253
     Ibid., p. 5.
 254
     Statement of Facts, United States v. Chesser (E.D. Va., October 20, 2010), p. 2.
 255
     Quoted in ibid., p. 3.


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 postings on the site from others.” 256 Al-Qaeda lectures appeared alongside links to “leaked
 counterterrorism documents such as the Transportation Security Administration’s manual entitled
 Aviation Security Screening Management Standard Operating Procedures.”257

 Other examples of Chesser’s online activities include a 25-page document that he published in
 June 2010 entitled “Raising Al-Qaa’ida: A Look Into the Long Term Obligations of the Global
 Jihaad Movement,” as well as another article titled “How to Destroy the West.” In “Raising Al-
 Qaa’ida,” Chesser provided advice on leaving the West to fight jihad abroad:

         Prepare for leaving by keeping a low profile (I know I am not one to talk, but having
         experienced the downside of not doing this I can say assuredly that I was stupid).

         Make yourself blend in with your opposition. In Pakistan having a long beard might
         not harm you. However, it has been mentioned from a reliable source that it is no
         longer possible to cross into Somalia with a beard or anything Islamic. These things
         are less important than jihaad, so remember that. You cannot bring books, cds, or
         anything like that. Also, you should purchase a new hard drive and get rid of your
         old one if you want to take your laptop.

         Purchase “harmless” things that could be useful. Some things are not suspicious at
         all, but are useful when you set out. An example of this would be tablets to purify
         your water.

         LEAVE.

 In the article on how to destroy the West, Chesser “listed a number of points concerning violent
 jihad methods, including ‘attacks’ on ‘personelle’ [sic], ‘put[ting] out a message to Muslims to go
 buy guns and kill soldiers,’ and ‘[filling] a tanker with explosives and Ricin.’”258

 Between April 2010 and July 2010, Chesser issued several public threats. For one, he threatened
 the creators of South Park, Trey Parker and Matt Stone, for an episode of the show featuring the
 Prophet Muhammad that Chesser deemed to be insulting. Posting on RevolutionMuslim.com
 under the screenname Abu Talhah al-Amrikee, Chesser warned that the two men would likely
 meet the same fate as Theo Van Gogh, a Dutch filmmaker who was murdered in Amsterdam in
 2004 after making a television film critical of the treatment of women in Islam. Chesser also
 uploaded a lecture by Anwar al-Awlaki calling on Muslims to assassinate anyone who defames
 the Prophet Muhammad. He then provided the addresses of Comedy Central, which airs South
 Park, of South Park’s production company, and of both Stone and Parker. Chesser suggested that
 readers should “pay them a visit.”259

 Chesser also issued threats against any individuals who expressed interest in participating in the
 subsequent “Everybody Draw Mohammed Day,” an effort launched by Seattle cartoonist Molly

 256
     Ibid., p. 2.
 257
     United States Senate Committee on Homeland Security and Governmental Affairs, Zachary Chesser, p. 15.
 258
     Statement of Facts, United States v. Chesser, p. 5.
 259
     Ibid., pp. 6-7.


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 Norris to combat the censorship that Chesser’s threats had spurred. (Following Chesser’s threats,
 Comedy Central decided to censor numerous scenes in a follow-on South Park episode, much to
 Stone and Parker’s chagrin.) In a post titled “Tracking Those Participating In Everyone Draw
 Muhammad Day salaa Allahu 'alayhi wa salam,” Chesser compiled a collection of “photos, names,
 addresses, and other personally identifying information that Chesser obtained from Facebook for
 private citizens who apparently expressed desire to participate in ‘Everyone Draw Muhammad
 Day.’”260

 Chesser also used his online platforms to solicit bomb threats. Court documents outline the
 following sequence of events:

            Between on or about January 19, 2010, and July 10, 2010, CHESSER knowingly
            and unlawfully distributed information pertaining to the manufacture and use of
            explosives, destructive devices, and weapons of mass destruction, with the intent
            that such information be used by mujahideen around the world….

            CHESSER urged others to leave suspicious packages that looked like package
            bombs in public places but that were otherwise harmless, to desensitize the public
            and law enforcement authorities to the threat of actual package bombs.…

            On or about June 8, 2010, CHESSER posted to the Al-Qimmah website and to the
            Al Fallujah Islamic Forums website a link to an article titled “Jihadi Calls for
            ‘Suspicious Bags’ To Be Left Throughout DC and NYC,” with the statement that “it
            should be noted that the article mentions that this type of thing has actually been
            successful.”

            On or about June 15, 2010, CHESSER posted message on the Al Fallujah Islamic
            Forums website titled “Desensitizing Federal Agents,” in which CHESSER
            explained how conducting “fake” operations, by leaving suspicious packages
            resembling (but which were not, in fact) bombs in public places, so as to
            “desensitize” law enforcement officials in their efforts to detect and disarm
            explosive devices, would be of great benefit to the mujahideen. In that message
            CHESSER explained that, after law enforcement had become sufficiently
            “desensitized” to the possible danger of such packages, real explosives then could
            be substituted, which, having been discovered by law enforcement officer, could
            explode. CHESSER ended his message with the words, “Boom! No more
            kuffar.”261

 Ultimately, Chesser’s determination to travel to Somalia to join al-Shabaab led to his arrest. With
 his wife Proscovia Nzabanita (whom he met through al-Awlaki’s blog) and their child, Chesser
 first attempted to travel to Somalia in November 2009. This attempt was thwarted by family:
 Proscovia’s mother hid her passport. In July 2010, Chesser attempted to leave again with his son.


 260
       Statement of Facts, United States v. Chesser, p. 9.
 261
       Ibid., pp. 9-12.


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 Upon attempting to check in for his flight from the John F. Kennedy International Airport in New
 York, Chesser discovered that he was on a no-fly list. Shortly thereafter, Chesser was interviewed
 by FBI agents, and explained his intent to become a foreign fighter for al-Shabaaab. Chesser said
 that his contacts in Somalia had “asked him to bring laptops and video cameras into Somalia, for
 use in al-Shabaab’s propaganda campaign.”262 Chesser was ultimately sentenced to 25 years in
 prison for his offenses.

 9. Abu Salim Martyrs’ Brigade
 The Abu Salim Martyrs’ Brigade (ASMB) is a prominent al-Qaeda-affiliated jihadist group based
 in Libya. The ASMB’s origins can be traced back to the Libyan Islamic Fighting Group (LIFG), a
 group formed in the mid-1990s by fighters returning to Libya from the anti-Soviet war in
 Afghanistan. These fighters sought to leverage the combat experience they gained by fighting the
 Soviets against Muammar al-Qaddafi’s regime. Following the loss of around 1,200 of its members
 in a prison massacre in 1996—in the Abu Salim prison—LIFG as an organization renounced
 violence, leading to an ideological split within the group. A large portion of its members entered
 into politics, but what remained of the violent faction became the next evolution of salafi jihadism
 in Libya.263

 Former LIFG operative Abdul Hakim al-Hasadi formed the Darnah Brigade, later renamed the
 Abu Salim Martyrs’ Brigade, as the 2011 revolution against Qaddafi was in its infancy. Gathering
 support from veteran fighters, including other LIFG members, ASMB quickly became the city of
 Darnah’s “biggest brigade.”264 As ASMB gained momentum in the anti-Qaddafi fighting, some of
 the more staunchly conservative Salafists broke away from the group to form Ansar al-Sharia
 (AAS). AAS, led by former LIFG operative and ASMB commander Sufyan bin Qumu, maintained
 a headquarters in both Darnah and Benghazi, and was blamed for the September 11, 2012 attack
 on the U.S. consulate in the latter city. On January 10, 2014, the U.S. Department of State
 designated both AAS branches, Darnah and Benghazi, as Foreign Terrorist Organizations,
 explaining:

         Ansar al-Shari’a in Benghazi and Ansar al-Shari’a in Darnah have been involved
         in terrorist attacks against civilian targets, frequent assassinations, and attempted
         assassinations of security officials and political actors in eastern Libya, and the
         September 11, 2012 attacks against the U.S. Special Mission and Annex in
         Benghazi, Libya. Members of both organizations continue to pose a threat to U.S.
         interests in Libya. Ahmed Abu Khattalah is a senior leader of Ansar al-Shari’a in
         Benghazi and Sufian bin Qumu is the leader of Ansar al-Shari’a in Darnah.

 This did not deter ASMB from joining forces with AAS later that year. In late 2014, ASMB and
 AAS both joined the Mujahideen Shura Council-Dernah (MSCD), an umbrella organization
 modeled after the al-Qaeda-linked Benghazi Revolutionary Shura Council. The MSCD is also
 connected to al-Qaeda’s international network. Some information on its ties were leaked to the
 public by none other than ISIS, when it released a series of “wanted” photos in 2015. These photos

 262
     Bergen, United States of Jihad, p.156.
 263
     Frederic Wehrey, “The Struggle for Security in Eastern Libya,” Carnegie Endowment for International Peace,
 September 2012.
 264
     Abigail Hauslohner, “With Libya’s Ascendant Islamists: ‘Don't Get the Wrong Idea,’” Time, March 30, 2012.


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 were of various individuals within the MSCD or other Libyan groups that it wanted dead. One
 such individual was identified as Abu Musa al-Sudani, an Egyptian al-Qaeda in the Islamic
 Maghreb (AQIM) member who was also reportedly a military leader in the MSCD.265 Another
 poster was issued for Abu Bakr al-Ghrabil, another LIFG figure who was a member of the MSCD.

 AQIM also officially endorsed the MSCD in July 2015, after releasing a statement of support only
 a few weeks prior in which AQIM praised the ASMB and defended the group from ISIS’s
 accusations against it.266 Additionally, in an issue of al-Qaeda’s Al-Masrah newsletter from March
 2016, an AQIM official identified as Abu Abdul Ilah Ahmad was asked about AQIM’s activities
 in Libya. Though he provided somewhat vague answers, Ahmad did state that AQIM backs AAS
 and ASMB. Ahmad stated that the two are within the “brotherhood of the religion and of our
 common history and of our single goal,” and that both are trying to establish sharia inside Libya.267

 The notable jihadist figures associated with ASMB also illustrate its ties to al-Qaeda, as well as its
 overall orientation. ASMB has been home to several veteran al-Qaeda-linked jihadists. For
 example, the group’s founder, Abdul Hakim al-Hassadi, fought alongside the Taliban in
 Afghanistan “against the foreign invasion” from 1997 to 2002.268 He was detained by American
 forces in 2002, then delivered back to Libya before being released in 2008.269 In an interview with
 the Italian newspaper Il Sole 24 Ore, Hassadi confirmed that he helped send 25 Libyans from
 Darnah to join al-Qaeda in Iraq shortly after his release.270 Hassadi admitted to Time Magazine
 that he was an associate of both Abu Musab al-Zarqawi and also al-Qaeda emir Ayman al-
 Zawahiri.271

 Former ASMB commander and Guantanamo Bay detainee Sufyan bin Qumu also has significant
 ties to al Qaeda. According to a report published by CNN following the Benghazi attack, “Qumu
 escaped from jail in 1993 and made his way to Afghanistan where he trained in Osama bin Laden’s
 Torkham Camp, according to a background summary assessment from the U.S. military, based on
 Qumu’s statements. He joined the Taliban in 1998, according to the assessment, and was wounded
 in the leg during fighting near Kabul after the 9/11 attacks. He was captured in Peshawar, Pakistan,
 and handed to U.S. forces, arriving at Guanatanamo Bay in May 2002.” At one point, Qumu even
 served as a driver for Osama bin Laden. 272 According to terrorism analyst Thomas Joscelyn,
 “Qumu was transferred from Guantanamo to Libya in 2007 and set free in 2010 as part of a general
 amnesty deal the Qaddafi government granted Islamists and jihadists.”273 Following his release,
 Qumu became a commander of ASMB, providing training and leadership to the brigade before
 ultimately splitting off to create AAS. Qumu was designated by the U.S. State Department as a
 Specially Designated Global Terrorist in January 2014.

 265
     Islamic State, “Wanted Dead: Abu Musa al-Sudani,” August 3, 2015.
 266
     See discussion in Thomas Joscelyn, “Al Qaeda in the Islamic Maghreb Backs Jihadists Fighting Islamic State in
 Derna, Libya,” Long War Journal, July 9, 2015.
 267
     Abu Abdul Ilah Ahmad, Interview, Al-Masrah issue 7, March 15, 2016.
 268
     Hauslohner, “With Libya’s Ascendant Islamists.”
 269
     Roberto Bongiorni, “Noi Ribelli, Islamici e Tolleranti,” Il Sole 24 Ore (Italy), March 22, 2011.
 270
     Ibid.
 271
     Hauslohner, “With Libya’s Ascendant Islamists.”
 272
     Library of Congress, Al Qaeda in Libya: A Profile (2012).
 273
     Thomas Joscelyn, “Al Qaeda’s Plan for Libya Highlighted in Congressional Report,” Foundation for Defense of
 Democracies, September 21, 2012.


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 Former ASMB member Nasir Atiyah al-Akar also had links to al-Qaeda. Akar fought in
 Afghanistan and was later imprisoned alongside—and thus formed close ties with—Abu Qatada
 al-Filistini, a prominent al-Qaeda ideologue and associate of Abu Muhammad al-Maqdisi.274

 These are just a few examples of the voluminous evidence that demonstrates that ASMB is a
 jihadist organization tied to al-Qaeda.

 IV.      Cultural Significance of Evidence Related to Nazism and Neo-Nazism

 This section now turns to evidence pertaining to Nazism and neo-Nazism.

 Historic Nazi Materials

 1. The Reichskriegsflagge
 The the U.S. Attorney’s Office in the Eastern District of Virginia has provided me with a
 photograph of a flag found in the defendant’s apartment, which is known as the
 reichskriegsflagge. 275 The German armed forces used seven different versions of the
 reichskriegsflagge     as  their
 official war flag between 1867
 and 1945. Germany used the
 particular        style       of
 reichskriegsflagge found in the
 defendant’s possession between
 1903 and 1919, most notably
 during World War I. This
 version was known as the
 Kaiserliche Marine War Ensign,
 and is considered a flag of
 imperial Germany.

 This particular style of flag was significant to violent German nationalists before and during the
 Nazi party’s rise; its historical referent was significant to Adolf Hitler; and following Nazi
 Germany’s defeat, the flag was later used by neo-Nazis. This flag was used in particular by some
 units in the Freikorps, which were German volunteer units, following Germany’s defeat in the First
 World War. Nor is the flag the only reference to the Freikorps in the material provided to me by
 the the U.S. Attorney’s Officde in the Eastern District of Virginia: The license plate on the
 defendant’s truck, which reads “FRI KRP,”276 is also a clear reference.

 Though the Freikorps had existed since the eighteenth century, following World War I it became
 largely associated with “former World War I veterans, and nationalist students, opposed to


 274
     Thomas Joscelyn, “Veteran Jihadists Killed by Islamic State’s ‘Province’ in Derna, Libya,” Long War Journal, June
 12, 2015.
 275
     Evidentiary document GX 10-714.
 276
     Evidentiary document GX 11-400.


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 Germany’s post-War democratic system.” 277 Germany’s defeat in the First World War was
 regarded as a humiliation by many German nationalists, and the Freikorps was no exception.
 European historian Robert Gerwarth notes that the Freikorps wanted to employ “bloody rituals of
 retribution” against perceived enemies—especially Jews and women—in the wake of this loss.
 “Jews and women featured most prominently as the targets of Freikorps brutality,” Gerwarth
 writes. “Freikorps blamed Jews, and women, for the weakening of the home front that had led to
 military defeat.”278

 As this report has detailed, the dehumanization of perceived enemies can lower one’s moral
 disinclination to engage in or support violence. Having reviewed an extensive body of primary
 sources about the Freikorps in the post-World War I period, Gerwarth portrays a normalization of
 violence that is consistent with other extremist organizations:

         Freikorps members considered brutal violence against their enemies as an
         acceptable, even desirable, form of political expression. Indeed, Freikorps sub-
         culture was characterized by the glamorization of violence as a way of life. For
         Freikorps members, violence had a positive value in itself as a morally justified
         expression of youthful virility that increased the moral distance between Freikorps
         and their enemies. In contrast, Freikorps considered non-violence as a cowardly
         form of behavior.279

 Given the group’s reliance on violence and extreme anti-Semitism, it is unsurprising that soldiers
 of the Freikorps had a “crucial role” in Nazism’s rise. 280 Many Freikorps officers became
 prominent Nazi officials, including Rudolf Höss, who was the longest-serving commander of the
 Auschwitz concentration camp.281

 As previously noted, a number of Freikorps commanders required units to use the style of
 reichskriegsflagge that the defendant possessed in the wake of the country’s defeat in World War
 I. The reason for this was in large part an attitude of defiance concerning Germany’s loss, and the
 scapegoating of Jews in particular for the defeat. This was also a point of reference for Hitler
 himself, who constantly bellowed about the “November criminals.” The group he was referring to
 here was the German leaders who, at the end of World War I, “had signed the surrender and
 established democratic government in the place of the old autocracy.”282 Similar to the Freikorps’s
 anti-Semitic understanding of Germany’s defeat in the war, Hitler blamed the Jews. In his
 autobiography Mein Kampf, Hitler described a visit to Munich while he was recovering from a leg
 wound he suffered during the war. William Shirer, in one of the definitive histories of the Third
 Reich, ably summarizes this passage:


 277
     Alfred Reckendrees, “Weimar Germany: The First Open Access Order That Failed?,” Constitutional Political
 Economy 26:1 (2015), p. 46.
 278
     Robert Gerwarth, “The Central European Counter-Revolution: Paramilitary Violence in Germany, Austria, and
 Hungary after the Great War,” Past and Present 200:1 (2008), pp. 179-81.
 279
     Ibid., pp. 181-96.
 280
     Uli Linke, “Gendered Difference, Violent Imagination: Blood, Race, Nation,” American Anthropologist 99:3
 (1997), p. 562.
 281
     Ibid.
 282
     Shirer, The Rise and Fall of the Third Reich, loc. 838 of 29529.


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         Everywhere he found “scoundrels” cursing the war and wishing for its quick end.
         Slackers abounded, and who were they but Jews? “The offices,” he found, “were
         filled with Jews. Nearly every clerk was a Jew and nearly every Jew was a clerk…
         In the year 1916-17 nearly the whole production was under control of Jewish
         finance… The Jew robbed the whole nation and pressed it beneath his
         domination… I saw with horror a catastrophe approaching…”283

 In addition to the period referenced in this version of the reichskriegsflagge being relevant to
 Hitler, and the flag itself being flown by the post-World War I Freikorps, neo-Nazis would later
 use this version of the reichskriegsflagge as an emblem. The Anti-Defamation League (ADL)
 summarizes its research into this imperial German version of the reichskriegsflagge, noting:
 “Because Germany has banned use of the swastika and other Nazi imagery, some German neo-
 Nazis use an older flag, taken from Imperial Germany, as a substitute for the Nazi flag.”284 The
 ADL’s website also features photographs of several Skinheads making Nazi salutes in front of the
 imperial German reichskriegsflagge.

 2. Clothing and Memorabilia Related to the SS
 The defendant possessed several pieces of clothing and memorabilia identified with the SS
 (Schutzstaffel). One item provided by the U.S. Attorney’s Office is a SS belt buckle.285 The SS’s
 motto during the Second World War, Meine Ehre heißt Treue, is engraved on the buckle’s face.
 The phrase translates into My Honor is Loyalty, and was used primarily as a signifier of the
 organization’s loyalty to Hitler’s regime. As the historian Herbert F. Ziegler relates, belt buckles
 with this inscription became standard issue for every member of the SS:

         To symbolize the spirit of obedience within the Black Order, this motto was
         changed to “My honor is loyalty,” and was henceforth preserved on the belt buckle
         of every SS man. It should be emphasized that this inscription denoted a peculiar
         sort of loyalty. It did not imply loyalty to abstract ideals or their representative
         institutions, but related solely to the person of Adolf Hitler as Fuhrer of the German
         Volk.286

 Today this phrase remains in use among some white supremacists as a hate slogan and identifier.287

 The defendant also possessed a number of other pieces of SS memorabilia. These items include a
 SS uniform,288 a SS hat adorned with the infamous “Death’s Head” skull,289 a SS belt buckle,290


 283
     Ibid., loc. 812 of 29529.
 284
           Anti-Defamation       League,      “Imperial     German        Flag”    (n.d.),     available      at
 https://www.adl.org/education/references/hate-symbols/imperial-german-flag.
 285
     Evidentiary document GX 10-710.
 286
     Herbert F. Ziegler, Nazi Germany’s New Aristocracy: The SS Leadership, 1925-1939 (Princeton, NJ: Princeton
 University Press, 1989), p. 40.
 287
      Anti-Defamation League, “Meine Ehre Heisst Treue” (n.d.), https://www.adl.org/education/references/hate-
 symbols/meine-ehre-heisst-treue (accessed September 12, 2017).
 288
     Evidentiary documents GX 10-709, GX 10-902, GX 10-903.
 289
     Evidentiary document GX 14-500.
 290
     Evidentiary document GX 10-710.


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 and SS tie tacks.291 It is worth contextualizing the SS’s historical significance.

 The SS was originally a small squad of Hitler’s bodyguards formed before Hitler came to power.
 After Hitler was appointed as chancellor of Germany in January 1933, the SS came to play a more
 important—and nefarious—role. Historian Jean-Denis G.G. Lepage explains that the SS became
 “the blindly obedient corps that translated the criminal and hysterical Nazi ideology into action
 and practice.… Controlling almost everything, the SS became the driving force of the regime,
 dealing out a summary justice, repressing defeatism, with its death camps working at full speed,
 moving its crowds of wretched slave laborers from project to project.” 292 Known for their
 fanaticism and hatred, SS officers used these death camps to carry out large-scale executions,
 including of “political opponents, Roma (Gypsies), Jews, communists, partisans, and Russian
 prisoners.”293 Indeed, the United States Holocaust Memorial Museum details how the SS was the
 primary Nazi organization responsible for the mass exterminations carried out during the Third
 Reich’s rule:

         The SS played the leading role in all of the major operations of the “Final Solution.”
         Regional SS and police authorities were responsible for the murder of as many as
         one million Soviet Jews in shooting operations between 1941 and 1943, although
         Romanian gendarmes and military personnel killed a few hundred thousand
         Ukrainian and Romanian Jews—either directly by shooting or indirectly through
         deliberate neglect, cutting off food and medical supplies in Romanian-occupied
         Transnistria.

         The staff of the SS and Police Leader in Lublin District of the Government General,
         SS General Odilo Globocnik, coordinated the murder of approximately 1,700,000
         Jewish residents of the Government General and Bialystok District between March
         1942 and November 1943. Dubbed Operation “Reinhard” in honor of Final
         Solution planner Heydrich, who died after an assassination attempt in the late spring
         of 1942, this mass murder operation was implemented primarily in the killing
         centers established for that purpose at Belzec, Sobibor, and Treblinka II.

         Under the authority of the Higher SS and Police Leader for the District Wartheland
         (Seat Poznan), the SS Special Detachment (Sonderkommando) Lange, named for
         its commander, SS Captain Herbert Lange, murdered more that 150,000 Jewish
         residents of “Wartheland,” including most of the residents of the Lodz ghetto, in
         gas vans at the Chelmno killing center.

         Finally, RSHA office IV B 4, under command of Adolf Eichmann, coordinated the
         deportation of nearly 1.5 million Jews from all over German-occupied and German-
         influenced Europe to the Auschwitz concentration camp complex, to transit camps
         in the Government General, and to killing sites in the Reich Commissariat Ostland.
         Those whom the SS deported to the Government General were killed during the

 291
     Evidentiary document GX 3-110, GX 10-703.
 292
     Jean-Denis G.G. Lepage, “Schutz-Staffeln (SS),” in An Illustrated Dictionary of the Third Reich (New York:
 McFarland, 2014).
 293
     “SS,” in Britannica Concise Encyclopedia (Britannica Digital Learning, 2014).


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          course of Operation “Reinhard.” Regional German SS and police units, supported
          by auxiliaries and German military units, shot the overwhelming majority of Jews
          deported to the Reich Commissariat Ostland. SS camp authorities murdered around
          one million Jews in Auschwitz, about 865,000 in the gas chambers directly after
          they arrived.294

 The atrocities of the SS were so abhorrent that the entirety of the SS was declared a criminal
 organization at the Nuremberg trials in 1946, which were convened followed Nazi Germany’s
 defeat. 295 The SS has an explicit connection with genocidal anti-Semitism, as well as the
 “cleansing” of other disfavored groups; its uniforms were worn by those most responsible for the
 Third Reich’s extermination operations.

 3. Defendant’s Tattoo
 The defendant’s tattoo was photographed by FBI agents after
 his arrest.296 His arm bears a tattoo of the letter H set behind
 an upward-facing sword. This tattoo is the official insignia of
 the 9th SS Panzer Division “Hohenstaufen.”

 The Hohenstaufen participated in some of the most important
 battles of World War II. The division took part, for example,
 in the battles in Normandy. Members of the Hohenstaufen
 engaged in bloody confrontations to defend the city of Caen
 against British advances.297 The division also fought in the
 battles at Arnhem, a confrontation depicted in the famous
 film A Bridge Too Far; and in the Ardennes offensive, which
 would later be known as the Battle of the Bulge.298

 Although the Hohenstaufen lacks the notoriety of Nazi
 divisions like the 1st SS Panzer Division “Leibstandarte
 Adolf Hitler,” 2nd SS Panzer Division “Das Reich,” and the 3rd SS Panzer Division “Totenkopf,”
 all the SS divisions were “unflinching” in their loyalty to Hitler and Nazi Germany.299 This is
 reflected in the oath taken by all members of the Waffen SS: “I swear to you, Adolf Hitler, as
 Führer and Reichschancellor, loyalty and bravery. I vow to you, and those you have named to
 command me, obedience unto death, so help me God.”300 Further, in concluding that “it should not
 be thought … that the troops of the Hohenstaufen were anything but merciless killers on the
 battlefield,” military historian Dr. Patrick Hook explains some of the division’s notorious tactics:



 294
         United     States   Holocaust      Memorial       Museum,      “SS   and     the     Holocaust”       (n.d.),
 https://www.ushmm.org/wlc/en/article.php?ModuleId=10007403.
 295
     “SS,” in Britannica Concise Encyclopedia.
 296
     Evidentiary document GX 4-300.
 297
     Patrick Hook, Hohenstaufen: 9th SS Panzer Division (Surrey, UK: Ian Allan Publishing, 2005).
 298
     Danny Parker, Hitler’s Ardennes Offensive: The German View of the Battle of the Bulge (New York: Skyhorse
 Publishing, 1997).
 299
     Lt. Col. James T McGhee, “In the Shadow of the Elites,” Globe at War, January 2013.
 300
     George Stein, The Waffen SS: Hitler’s Elite Guards at War, 1939-45 (New York: Cornell University, 1966), p. 283.


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         There are stories that during the Battle of the Bulge German tanks were used to
         crush Allied soldiers in their foxholes, and in one incident a radio operator called
         Lawrence Silva was killed by carbon monoxide exhaust fumes when a tank was
         deliberately positioned over his hole and the engine revved up.301

 The National Alliance and Contemporary Neo-Nazi/White Nationalist Literature

 In addition to items pertaining to the Third Reich itself, books and other materials produced by
 contemporary neo-Nazi groups were given to me by the U.S. Attorney’s Office in the Eastern
 District of Virginia to analyze. This included several items of National Alliance literature,
 including books, a newsletter, and information about the group’s goals and worldview for
 prospective members.302

 Background on the National
 Alliance. Before turning to the
 items and literature, this section
 provides relevant background on
 the National Alliance. The
 National Alliance is a neo-Nazi
 and white nationalist organization
 that was founded in 1974 as an
 outgrowth of the National Youth
 Alliance (NYA). The NYA, was
 founded in the late 1960s by Willis
 Carto, whom the New York Times
 accurately described as “a
 reclusive behind-the-scenes wizard of the far-right fringe of American politics who used lobbying
 and publishing to denigrate Jews and other minorities and galvanize the movement to deny the
 Holocaust,” as well as “an ardent disciple of Hitler.”303 The NYA was originally known as Youth
 for Wallace, a political youth group that supported Alabama segregationist George C. Wallace’s
 presidential bid in 1968.304 Following Wallace’s defeat, Carto transformed Youth for Wallace into
 the National Youth Alliance. He recruited William Pierce soon after NYA’s formation, and Pierce
 would go on to become one of the most influential neo-Nazi leaders in the United States.

 As a member of the NYA, Pierce oversaw publication of the group’s first periodical, Attack!, which
 first appeared in the fall of 1969. The scholar Jeffrey Kaplan notes that “at its inception Attack!
 was not explicitly National Socialist. Instead, it featured articles by writers like Revillo P. Oliver,
 graphic Israeli atrocity pictures, and critical articles about hippies.”305 During this early period, the
 National Youth Alliance organized several public demonstrations, which the National Alliance
 would later describe as denouncing “not only the communists, Jews, and other avowed enemies of
 301
     Hook, Hohenstaufen, pp. 90-91.
 302
     See evidentiary documents GX 13-101, GX 13-104, GX 13-102.
 303
     Douglas Martin, “Willis Carto, Far-Right Figure and Holocaust Denier, Dies at 89,” New York Times, November
 1, 2015.
 304
     Jeffrey Kaplan, Encyclopedia of White Power: A Sourcebook on the Radical Racist Right (Walnut Creek, CA:
 AltaMira Press, 2000), p. 43.
 305
     Ibid.


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 White America but also the government that tolerated and even encouraged them.”306

 In the early 1970s, Carto and Pierce had a falling out, and the National Youth Alliance became
 largely defunct. The remnants of the group became the foundation for the National Alliance, which
 Pierce established in 1974.307

 The history of the group outlined on the National Alliance’s website makes no reference to Carto
 or Youth for Wallace, instead attributing the founding of the National Youth Alliance to Pierce in
 1970, and framing the emergence of the National Alliance in 1974 as the result of a strategic shift.
 The National Alliance’s description of its history reads as follows:

          Unfortunately, the scale of the National Youth Alliance’s public activities was too
          small to make a significant impact on current events, government policies, or the
          public’s consciousness. These activities also did not lead to much increase in
          organizational strength: many of the people who were attracted to the National
          Youth Alliance by the publicity that its activities generated had only shallow, short-
          term motivations.

          As Dr. Pierce and his co-workers came to appreciate more fully the magnitude and
          the time scale of the task facing them, their approach became more fundamental.
          By the time the National Alliance was formed in 1974 the programmatic emphasis
          had shifted from a superficial confrontation with the enemies of our people to the
          building of the necessary organizational foundation for a final victory over those
          enemies. Simultaneously the emphasis in recruiting shifted from quantity to quality.
          In April 1978 the name of the National Alliance’s periodical changed
          from ATTACK! to National Vanguard. The red headlines and exhortations to
          action in the publication were replaced by sober analyses of the political, social,
          and racial situation and of the task facing our people.

          This is not to say that the National Alliance softened or moderated its approach to
          the struggle; indeed, May 1978 saw the publication of the first edition of Dr.
          Pierce’s first novel, The Turner Diaries, which had earlier been serialized
          in ATTACK! and which provoked a storm of reaction from the government and the
          controlled media. The more fundamental and longer-range program after this time
          nevertheless brought with it a more mature and serious public image for the
          National Alliance.308

 Thus, the initial appearance of somewhat greater moderation was, in the organization’s estimation,
 necessary to advance its goal of achieving a violent, genocidal revolution.309 Indeed, the National

 306
     National Alliance, “What is the National Alliance?,” n.d., https://natall.com/about/what-is-the-national-alliance/
 (accessed May 15, 2017).
 307
     Kaplan, Encyclopedia of White Power, p. 248.
 308
     National Alliance, “What is the National Alliance?”
 309
     Even Hitler, who served as an inspiration for the National Alliance, showed occasional tactical restraint. In Mein
 Kampf Hitler wrote about his failed Beer Hall Putsch that it was “useless to speak of guilt regarding men who in the
 bottom of their hearts, perhaps, were all devoted to their nation with equal love, and who only missed or failed to
 understand a common road.” William Shirer notes that, given his vindictiveness, this was an uncharacteristic summary


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 Alliance’s website even explicitly states that “the ideologies of the two organizations were
 identical.”310 Pierce clearly articulated the identical ideologies of the two groups in a 1976 speech
 where he confessed to “agonizing” over whether the National Alliance should take a more violent,
 murderous approach to attacking its enemies. Pierce said: “The German patriots [in other words,
 the Nazis] shot them. They beat their brains out. They cut their throats. And I have agonized over
 whether we should also do that.”311 He then theorized about what an effective violent campaign
 might look like:

            We do not need to begin shooting or stabbing or blowing up the Jews or the Blacks
            in America half so much as the Whites who collaborate with them. Instead of trying
            to assassinate all the head Jews or all the militant Blacks we might plan to strike
            Whites only—priests, judges, politicians, businessmen, bureaucrats, editors and
            writers and news commentators and race-mixers of all kinds—in a sustained
            campaign until any White who collaborates with Jews or who defiles his race must
            be constantly in fear for his life. And so that the Jews, without so many White
            collaborators to front for them—without so many shabbos goyim—must take a
            more exposed position, so that it is evident to everyone who is running the System.
            Then after that has been achieved, we could begin dealing with non-Whites.312

 Despite his conviction that such a genocidal campaign focusing first on white “collaborators”
 might succeed, Pierce said that the National Alliance “cannot yet—or should not yet—begin such
 a campaign, because we cannot sustain it, and it would not be successful.” Instead, he explained,
 the National Alliance must “place more emphasis on building [its] foundations,” which means “a
 shifting of emphasis from attacking the enemy to teaching, preaching, and developing our
 resources for recruiting.” He continued:

            most Americans who agree with us do not have the courage of their convictions,
            and it doesn’t do us any more good to lament that fact than it does to lament the
            fact that people are so blind as not to see what the Jews are up to or so self-centered
            and materialistic as not to care. That’s the way people are, and we can’t change it
            until we can provide a healthier spiritual environment for them.…

            There is no perfect solution to this problem, I am sure. There will always be people
            too timid to join us, no matter how much care we take to avoid spooking them. And
            we will always be too disreputable for some people, no matter how we try to change

 by Hitler of those who had crushed his rebellion. Shirer continues that “it was perhaps more a display of will power—
 an ability to restrain himself momentarily for tactical reasons.” Shirer, The Rise and Fall of the Third Reich, loc. 1964
 of 29529.
 310
     National Alliance, “What is the National Alliance?” The website notes:

            Although the ideologies of the two organizations were identical, membership in the National Youth
            Alliance had been restricted to persons under 30 years of age, and that group focused its activities
            on college and university campuses. Thus, the formation of the National Alliance effected a
            broadening of the appeal of the National Youth Alliance to include White persons of all ages and
            occupations.
 311
       William Pierce, “Changes Ahead,” Cosmotheist Lecture, December 19, 1976.
 312
       Ibid.


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          our public image. But I believe that downplaying the negative a bit and accentuating
          the positive can help our recruiting a great deal.

          I am not talking about compromising our ideals in any way. I am not talking about
          ceasing to expose and condemn the Jews and those of our own race who collaborate
          with them. But I am talking about making it a little easier for those to join us who
          are not quite as strong or as brave as we would like. And that will mean shifting of
          emphasis.313

 Consistent with the above-quoted account from the National Alliance’s website concerning the
 organization’s change in tone, Pierce explained that this shift would be most visible in changes
 made to the group’s printed products like Attack! and other propaganda materials. He explained,
 “Some of the things which in the past have been explicit—about physical action, about racial
 matters and the Jews, will have to be left implicit in the material intended for public distribution.”
 However, he reassured his audience that despite these changes, the ideology of the National
 Alliance and its ultimate goals would not change: “Whatever we do will remain implicit in and
 derived from the one, eternal Truth contained in our Affirmation. We will merely be trying new
 ways of presenting that Truth, emphasizing new aspects of it, drawing new conclusions from it.”314

 In the late 1970s, Pierce established a spiritual basis for the National Alliance known as
 Cosmotheism. Scholar Brad Whitsel describes Cosmotheism as a philosophy that “provides
 adherents with a totalistic logic explaining the order of the universe.”315 Whitsel explains:

          In the Cosmotheist thoughtworld, evolution takes on a spiritual meaning as
          mankind follows predetermined courses of racial destiny. Pierce has described this
          process as an “upward path” with its end point leading to the goal of “oneness with
          the Creator.” This ultimate Cosmotheist objective, the white race’s realization of
          godhood, is viewed as a genetically wired certainty. According to Pierce, who has
          lectured on the subject to small gatherings of National Alliance members, the race’s
          “divine spark” has propelled it to greatness throughout history and separates it from
          all other forms of life.316

 There is a strong likelihood that Cosmotheism was always intended as a bogus religion designed
 to allow Pierce’s organization to attain tax-exempt status.317 Nonetheless, for some of Pierce’s
 adherents, Cosmotheism served as another means through which adherents could justify and
 legitimize white supremacy and anti-Semitism, seeing their cause as a part of a racial destiny.

 313
     Ibid.
 314
     Ibid.
 315
     Brad Whitsel, “The Turner Diaries and Cosmotheism: William Pierce’s Theology,” Nova Religio: The Journal of
 Alternative and Emergent Religions 1:2 (1998), p. 186. This observation is consistent with one of the key similarities
 between Nazism and militant Islamism that this report noted previously. As was stated, both Nazism and Islamist
 militancy offer adherents similar cognitive frameworks. Both ideologies are totalitarian movements that propose rigid,
 far-reaching, and all-consuming outlooks that divide the world unambiguously into “good” and “evil.” These
 ideologies, like Cosmotheism, obviate the need for nuance in one’s decision-making processes, instead offering a clear
 set of black-and-white principles for interpreting the world.
 316
     Ibid.
 317
     See Kaplan, Encyclopedia of White Power, p. 249.


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 During the 1990s, the National Alliance was considered the most prominent hate group in the
 United States. But following Pierce’s death in 2002, the National Alliance experienced a crisis of
 leadership. Following a brief dissolution of the group’s membership program, which was
 announced in September 2013 by Pierce’s successor Erich Gliebe, 318 the National Alliance
 reemerged as a group that would take on members. Here are its current requirements for
 membership:

          First: The prospective member should carefully read and understand our
          introductory document, What is the National Alliance?

          Eligibility: Any White person (a non-Jewish person of wholly European ancestry)
          of good character and at least 18 years of age who accepts as his own the goals of
          the National Alliance and who is willing to support the program described in What
          is the National Alliance? may apply for membership.

          Ineligible persons: No homosexual or bisexual person, no person actively addicted
          to alcohol or to an illegal drug, no person with a non-White spouse or a non-White
          dependent, and, except in extraordinary circumstances, no person currently
          confined in a penal institution may be a member. (The National Alliance does not
          advocate any illegal activity and expects its members to conduct themselves
          accordingly.)319

 The National Alliance today. The National Alliance continues to espouse a neo-Nazi ideology, and
 continues to strive to create an ethnically homogenous state exclusively populated by the Aryan
 race. 320 The group now teaches that America’s death is imminent, and counsels that white
 Americans should take action or else perish in the “final conflict.” The National Alliance website
 explains, “America’s most degenerate urban populations have become so degraded morally and
 ideologically—so acclimated to egalitarianism and ‘multiculturalism’—that all we can hope to
 salvage from them is a selected White minority, while the majority perishes in the chaos preceding
 the final conflict.”321 This language is, of course, reminiscent of the Nazis and their plan for a
 “Final Solution.” The National Alliance characterizes the elimination of other races in this final
 battle as a “temporary unpleasantness.” It states: “We will do whatever is necessary to achieve this
 White living space and to keep it White. We will not be deterred by the difficulty or temporary
 unpleasantness involved, because we realize that it is absolutely necessary for our racial
 survival.” 322 (Another clear and doubtless intentional parallel to Nazi rhetoric here is the
 invocation of living space, or Lebensraum in German, which was one of the major themes invoked
 by Hitler to justify aggressive German expansion.)

 318
      Letter available at http://www.narrg.com/2013/09/gliebes-alliance-has-no-members-and-he-likes-it-that-way/.
 The National Alliance continued to exist as a “support-based” rather than membership-based organization until Gliebe
 resigned in late 2014. At that point, William White Williams assumed control over the organization, its publishing
 arm, and the Cosmotheist Community Church.
 319
     “Join Us,” National Alliance (n.d.), https://natall.com/join-us/ (accessed May 15, 2017).
 320
     See, e.g., “What We Believe,” National Alliance (n.d.), https://natall.com/about/what-we-believe/ (accessed March
 31, 2017).
 321
     National Alliance, “What is the National Alliance?”
 322
     Ibid.


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 Over and above the need for white living space, some former National Alliance leaders have
 explicitly outlined the need for ethnic cleansing on a global scale. For example, Billy Roper stated,
 “Every non-White on the planet has to become extinct. We need to remove these minor-league
 amateur races out of the game, and refine the playoff brackets a bit, if you get my meaning. The
 whole world is ours, and the only part of the earth that non-Whites should inherit is however much
 it requires to cover them.” Providing one example of the neo-Nazi/militant Islamist convergence
 of interests, Roper publicly supported the 9/11 attacks: “The enemy of our enemy is, for now at
 least, our friends. But anyone who is willing to drive a plane into a building to kill jews [sic] is
 alright by me. I wish our members had half as much testicular fortitude.”323

 A number of individuals who were either National Alliance members or in possession of Pierce’s
 extremist literature have committed or attempted acts of violence in support of racialist goals. In
 1999, Christopher Scott Gilliam was arrested and convicted after attempting to purchase hand
 grenades from an undercover officer. Gilliam planned to use these grenades in mail bombs.324 In
 2000, National Alliance members Carl “Joel” Carlson and Rex Levi Rabou were arrested under
 similar circumstances. In Right-Wing Resurgence: How a Domestic Terrorist Threat is Being
 Ignored, former Department of Homeland Security analyst Daryl Johnson recounts his experience
 working on this investigation:

         In April 2000, the Laramie County Sheriff’s Office in Wyoming advised ATF that
         neo-Nazis were actively recruiting within their community. ATF would later learn
         that the reported neo-Nazis were actually members of the NA. During the
         preliminary investigation, ATF learned that these NA members were allegedly also
         stockpiling guns and explosives as well as considering burglarizing a gun store.
         Further investigation revealed that Carlson was a convicted felon. Convicted felons
         are “prohibited persons”—which means they are not allowed to possess firearms.
         Allegedly, Carlson was an NA unit leader for a local group and Rex Rabou was his
         assistant. In May 2000, ATF successfully introduced an undercover agent to
         Carlson. The agent posed as a leader in the National Militia… Both Rabou and
         Carlson reportedly expressed interest in becoming members of the new militia cell.
         They were so enthusiastic about joining that they allegedly recruited some friends
         and began acquiring weapons and building pipe bombs. Rabou reportedly admitted
         to having prior experience in constructing pipe bombs using steel and other
         materials and said that he had even made a few during his high school shop class.
         Throughout the investigation, ATF purchased and seized five machine guns,
         seventy-two pipe bombs, twenty-one other improvised explosive devices, and
         thirty-five arrows (referred to as “exploding arrows”) that were specifically
         designed as incendiary devices. ATF also seized large quantities of ammunition
         and bomb-making materials. On August 2, 2000, Joel Carlson and Rex Rabou were
         arrested on charges related to federal firearms and explosives violations.325

 323
      Southern Poverty Law Center, “Bill Roper” (n.d.), https://www.splcenter.org/fighting-hate/extremist-
 files/individual/billy-roper, accessed March 31, 2017.
 324
     “Alleged Supremacist Wanted to Send Mail Bombs, Witness Says,” Chicago Tribune, June 13, 1999.
 325
     Daryl Johnson, Right Wing Resurgence: How a Domestic Terrorist Threat is Being Ignored (Lanham, MD:
 Rowman & Littlefield, 2012), pp. 113-14.


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 Not surprisingly, several attempted terrorist attacks linked to the National Alliance have been
 aimed at the Jewish community. In 2002, Michael Edward Smith was arrested just moments before
 he left his vehicle, armed with an AR-15, to attack a synagogue in Nashville, Tennessee. After his
 arrest, authorities found an arsenal belonging to Smith that included explosives, an anti-rocket
 missile, and eight firearms. During interrogations, Smith admitted to having ties with the National
 Alliance and the Ku Klux Klan, and also claimed to have received weapons training from these
 organizations. 326 In December 2012, authorities arrested Richard Schmidt in Detroit after
 discovering that he had assembled an arsenal containing at least 16 firearms and over 40,000
 rounds of ammunition. Schmidt had compiled lists of Jewish-owned businesses, and a hit list of
 Jewish business leaders, including their names and addresses. Analyst Yehudit Barsky describes
 Schmidt as “a follower of the neo-Nazi National Alliance.”327

 But the most infamous case of violence linked to the National Alliance is that of Robert Jay
 Mathews, a National Alliance recruiter who spoke at the group’s 1983 national convention, and a
 devotee of William Pierce’s novel The Turner Diaries. Mathews led a neo-Nazi terrorist group
 called The Order, which was composed of National Alliance and Aryan Nation members. Mathews
 intended to become “the Robin Hood of the radical right,” envisioning The Order as a group that
 would “rob from the Jews and give to the Aryans.”328

 The Order was inspired by the fictional “Organization” depicted in The Turner Diaries. In Pierce’s
 novel, the Organization evolved from small-scale terrorism to seizing control of military bases,
 creating a white homeland, and precipitating a global race war. To gain even some modicum of
 this success, The Order needed a way to finance itself. It took up both counterfeiting and robbery.

 After robbing a sex shop in Spokane, Washington, which netted a mere $369.10, the group moved
 on to robberies of local banks and restaurants. It found its greatest success in robbing armored cars.
 In March 1984, members of The Order robbed an armored car driver in Seattle as he transferred
 cash into a store, pulling in $43,345 from the heist.329 They also robbed an armored car during a
 money transfer at the J.K. Gill office supply store in Seattle, where the same driver they had robbed
 previously was unlucky enough to be on duty. Their arsenal expanded, and they began to pull in
 more money through their robberies.330

 Emboldened, later in 1984 The Order assassinated liberal talk radio host Alan Berg. Berg was
 Jewish and an obvious target for the neo-Nazi group’s enmity, particularly because he had mocked
 and eviscerated the arguments of neo-Nazi callers on his show.331 Members of The Order staked
 out Berg’s home, one of them armed with a MAC-10 machine pistol that had been illegally



 326
     Center for New Community, “Beyond A Dead Man’s Deeds: The National Alliance After William Pierce,” August
 2002.
 327
     Yehudit Barsky, “Terrorist Incidents and Attacks Against Jews and Israelis in the United States 1969-2016,”
 Community Security Service, 2016.
 328
     Kevin Flynn and Gary Gerhardt, The Silent Brotherhood: The Chilling Inside Story of America’s Violent, Anti-
 Government Militia Movement (New York: The Free Press, 1989), p. 7.
 329
     Ibid., pp. 133-34.
 330
     Ibid., pp. 151-54.
 331
     Howard Pankratz, “Neo-Nazi Gunman in Alan Berg’s Murder Dies in Prison,” Denver Post, August 17, 2010.


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 converted into a fully automatic weapon.332 When Berg exited his car after returning from a dinner,
 these extremists shot him multiple times, then fled.

 Following      Berg’s    assassination,
 members of The Order executed their
 most successful robbery, netting $3.8
 million from a Brink’s armored car in
 northern California. With a rifle
 powerful enough to pierce the
 vehicle’s windshield, they robbed the
 truck in the middle of the highway.
 The Order’s plans to convert these
 gains into bombings in major
 American cities never came to
 fruition. Authorities traced these
 robberies and counterfeiting activities
 to the source. Surrounded in a house
 on Washington State’s Whidbey
 Island, Mathews refused to negotiate with authorities, and a firefight ensued. Mathews died when
 illumination flares meant to smoke him out of the house where he was holed up ignited ammunition
 and explosives that he had stashed.

 Analysis of National Alliance literature that the defendant possessed. The U.S. Attorney’s Office
 in the Eastern District of Virginia asked me to provide an analysis of two of National Alliance
 founder William Pierce’s novels, which were found in the defendant’s possession. Norwich
 University scholar Travis Morris notes that “Pierce’s most influential innovation was the use of
 fiction to inculcate ideology, radicalize to violence, and function as a revolutionary handbook.”333
 In addition to the aforementioned novel The Turner Diaries, the two books that the defendant
 possessed—Serpent’s Walk and Hunter—are consistent with that innovation and overarching
 propaganda strategy. While The Turner Diaries and Hunter are fictional tales of white nationalist
 uprisings and race wars, Serpent’s Walk is about an underground Nazi revolutionary movement.

 1. Serpent’s Walk334
 Serpent’s Walk is a dystopian novel written by Pierce under the pen name Randolph D. Calverhall,
 and published by the National Alliance in 1991. Set in the year 2041, Serpent’s Walk imagines an
 alternative history in which the SS core “survived the defeat of Nazi Germany in World War II,
 biding their time and building an international network with the intention of returning to political
 power.”335 The description on the back cover of the novel reads:

         The good guys win sometimes.


 332
     Flynn and Gerhardt, The Silent Brotherhood, pp. 163-64.
 333
     Travis Morris, Dark Ideas: How Neo-Nazi and Violent Jihadi Ideologues Shaped Modern Terrorism (Lanham, MD:
 Lexington Books, 2016), p. 36.
 334
     Evidentiary document GX10-860.
 335
     J.M. Berger, The Turner Legacy: The Storied Origins and Enduring Impact of White Nationalism’s Deadly Bible
 (The Hague: International Centre for Counter-Terrorism – The Hague, 2016), p. 23.


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            Not always, of course. They lost big in the Second World War. That war was a
            victory for communists, democrats, and Jews, but everyone else lost, including
            millions of GIs who were told that they were killing Germans and Japanese in order
            to make the world a decent place for their children to grow up—only to see things
            in America go from bad to much, much worse in the decades after the war.

            Even when the bad guys win, they sometimes grow careless and later become
            losers. Look what happened to the communists of eastern Europe in the 1990s.
            Could the same thing happen to their erstwhile WWII allies in America?

            Serpent’s Walk explores that possibility. It assumes that Hitler’s warrior elite—the
            SS—didn’t give up their struggle for a White world when they lost the Second
            World War. Instead their survivors went underground and adopted some of the
            tactics of their enemies: they began building their economic muscle and buying into
            the opinion-forming media. A century after the war they are ready to challenge the
            democrats and Jews for the hearts and minds of White Americans, who have begun
            to have their fill of government-enforced muti-culturalism [sic] and “equality.” The
            resulting conflict comes close to destroying the world, and it provides some exciting
            reading.336

 By characterizing the Nazis as the “good guys” in
 World War II and tracing what is seen as the
 societal decay in America to the victory of the
 “communists, democrats, and Jews,” this synopsis
 is obviously revelatory. The hallmarks of neo-
 Nazi ideology—including Holocaust denial,
 belief in a Jewish conspiracy, racism, and
 pervasive anti-Semitism—are all clearly
 articulated throughout the text. Illustrating this is
 a discussion between the main character, Alan
 Lessing, and another character named Wrench. In
 it, Wrench tells Lessing how the media apparatus
 established by Hitler’s surviving elite warriors is
 changing the way Nazis are perceived by the
 general public:

            “We’ve cut down on ‘nasty-Nazi’ movies . . . good guys in white hats and bad guys
            in black SS hats . . . lovable Jews versus fiendish Germans . . . and we have media
            psychologists, ad agencies, and behavior modification specialists working on image
            changes. Hell, if you can con granny into buying Sugar Turds instead of Bran Farts,
            then why can’t you swing public opinion over to a cause as vital and important as
            ours?”

            “Hard to get people to love death camps.”


 336
       Randolph D. Calverhall [William Pierce], Serpent’s Walk (National Vanguard Books, 1991).


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             “We don’t try. You can’t erase a hundred years of lying propaganda overnight. We
             play those aspects down and stress the positive ones instead: the mystique, the
             scientific approach to racial genetics, the efficiency and organization, the
             dedication, and the heroism. People will buy that. Good people, who haven’t seen
             a real American victory for a century now. People who are tired of watching the
             Jews and the mud races gobble up the world. People who don’t want their country
             run by guys with alien ideas. People who’re tired of being shat on and fucked over.”

             “But the gas chambers! The ‘Holocaust’ . . . ?”

             Wrench held out his hands, palms up. “What gas chambers? Show me one piece of
             real evidence! There were labor camps, sure, and thousands died from typhus,
             dysentery, poor treatment, and malnutrition. What do you expect during a war?
             Your country surrounded, fighting off Russia, Britain, and the United States, the
             three most powerful nations on earth with manpower and supplies to bum while
             you’re scrounging for undigested grain in the chicken shit! A lot of Germans died,
             a lot of Americans and Englishmen and others too. People died in the war, people
             died in the camps, people died in the Allied bombings of Dresden and Berlin and
             Hamburg. But all we ever hear about are the poor, innocent Jews and the awful
             ‘Holocaust,’ when, in fact, there never was an ‘extermination policy,’ a ‘Final
             Solution,’ or anything like it!”

             “Oh, come on! What were the gas chambers for, if not for extermination?”

             “Oh, there were shootings of partisans, hangings of saboteurs, and the usual
             atrocities that always happen in every war, but the real use of the so-called ‘gas
             chambers’ was for decontamination: ridding the clothing of camp inmates of lice
             and fleas!”

             “Nuremberg? People confessed.”

             “Under pressure, Lessing. Some real bad pressure, though nobody likes to think
             about that now. Confessions? Either hokum or else poor bastards hoping for a
             lighter sentence from the victors!”

             “How in hell do you expect me to believe this? All my life . . . all my parents’
             lives . . . everybody has taken the ‘Holocaust’ for rock-solid truth.”

             “Some rocks are less solid than others. This one’d wash away with the tide if it
             weren’t for certain ‘interests’ propping it up. Look at our evidence sometime.”337

 This excerpt is emblematic of the most disturbing and powerful aspect of Serpent’s Walk, which
 employs a fictional Socratic technique to insidiously—and, perhaps, effectively—indoctrinate.
 The preceding passage combines Holocaust denial with the portrayal of the Nazis and the SS as


 337
       Ibid., pp. 42-43.


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 the victims of a vicious propaganda campaign—led, it is alleged, by a Jewish conspiracy—through
 which they have been mercilessly misrepresented and misconstrued.

 At the outset of Serpent’s Walk, protagonist Alan Lessing is not a Nazi, but rather is generally
 accepting of non-whites. In the course of the book, Lessing—and, by extension, the reader—
 undergoes a gradual radicalization as characters like Wrench present their own version of history,
 and challenge everything Lessing thought he knew about race, the Holocaust, and Nazi Germany.
 These lengthy discussions and diatribes provide a platform through which Pierce reframes the
 history of Nazi Germany.

 Every aspect of the novel reinforces this ideological message. For example, the epigraphs that
 introduce each chapter include quotes from figures like Hitler, Shakespeare, and Nietzsche, as well
 as letters and longer discussions attributed to various characters in the book, that pertain to such
 themes central to National Socialism as war, survival, totalitarianism, anti-Semitism and social
 Darwinism. These passages reinforce the intended takeaway from the previous chapter, as well as
 foreshadow what lays ahead. For instance, the epigraph that follows Lessing and Wrench’s
 discussion of the SS’s rebranding is a quote from Mein Kampf:

             A movement which proposes to reshape the world must serve the future and not just
             the passing hour. On this point it may be asserted that the greatest and most
             enduring successes in history are mostly those which were least understood in the
             beginning, because they were in strong contrast to public opinion and the views
             and wishes of the time.—Mein Kampf, Adolf Hitler338

 Hitler’s words provide a nod to Wrench’s characterization of the Nazis as misjudged non-
 conformists, while simultaneously foreshadowing the outcome of the novel in which Lessing’s
 thinking evolves and the Nazi struggle endures.

 The epigraphs toward the end of the novel also highlight the novel’s attempt to reattribute the
 genocidal, extremist reputation typically ascribed to Nazism to the Jews instead. For example, the
 epigraph to chapter eighteen features several violent quotes from the fifth and sixth books of the
 Old Testament, Deuteronomy and the Book of Joshua, followed by a quote from German
 philosopher Friedrich Nietzsche that is critical of the Jewish people:

             But thou shalt utterly destroy them; namely, the Hittites, the Amorites, the
             Canaanites, and the Perizzites, the Hivites, and the Jebusites, as the Lord thy God
             hath commanded thee.—Deuteronomy 20:17

             So Joshua smote all the country of the hills, and of the South, and of the vale, and
             of the springs, and all their kings; he left none remaining, but utterly destroyed all
             that breathed, as the Lord God of Israel commanded.—Joshua 10:40

             And when the Lord thy God shall deliver them before thee, thou shalt smite them,
             and utterly destroy them; thou shalt make no covenant with them, nor shew mercy
             unto them.—Deuteronomy 7:2
 338
       Ibid., p. 50.


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         For thou art a holy people unto the Lord thy God; the Lord thy God hath chosen
         thee to be a special people unto himself, above all people that are upon the face of
         the earth.—Deuteronomy 7:6

         And thou shalt consume all the people which the Lord thy God shall deliver thee;
         thine eye shall have no pity upon them.—Deuteronomy 7:16

         The Jews are the most remarkable people in human history because, whenever they
         have been faced with the question “to be or not to be,” they have always decided,
         with an uncanny insight, to be at any price: even if that price was the radical
         falsification of human nature, naturalness, reality, and the entire inner world as
         well as the external world.—The Antichrist, Friedrich Nietzsche339

 The message in this epigraph is far from subtle. The cherry-picked excerpts from the earliest books
 of the Old Testament depict the Jews as ruthless and murderous—a group intent on eliminating all
 non-Jews. Serpent’s Walk thus flips anti-Semitism on its head, redefining the Nazis as pragmatists
 who refused to become victims.

 While Serpent’s Walk is not as well-known as titles like The Turner Diaries and Hunter (which is
 discussed in the following section), it is a powerful form of National Alliance propaganda. By
 offering a story wherein the reader may be led, alongside Alan Lessing, to see Nazi ideas as
 compelling, Serpent’s Walk presents neo-Nazi ideology in a way that may be more palatable to
 those who do not yet embrace an extremist worldview.

 2. Hunter and The Turner Diaries
 Another neo-Nazi novel authored by Pierce that was found in the defendant’s residence is Hunter
 (written under the pseudonym Andrew MacDonald).340 Analyst J.M. Berger of the International
 Centre for Counter-Terrorism – The Hague summarizes Hunter as telling the story of a “white
 nationalist ‘lone wolf’” serial killer named Oscar Yeager who starts off killing interracial couples,
 but ultimately teams up with a white nationalist organization called the National League, and
 embarks on a “more ambitious assassination campaign,” targeting “a conspiracy of Jewish- and
 African-Americans within the government.”341 As in Serpent’s Walk, the protagonist in Hunter
 undergoes a transformation during the course of the story. Yeager begins as a racist who murders
 interracial couples but is not anti-Semitic. Much of the dialogue in Hunter focuses on the “Jewish
 question,” with the protagonist ultimately being led to view the Jews as his truest enemies.

 The preface to Hunter poses the question: “How should an honorable man confront evil?” The
 passage that follows outlines the violent and bigoted worldview that the book espouses:

         Should he ignore it, with the excuse that it is not his responsibility?

         Should he ally himself with the evil, because that’s where the “smart money” is?

 339
     Ibid., p. 227.
 340
     Evidentiary document GX 10-861.
 341
     Berger, The Turner Legacy.


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         Or should he take up arms against it and fight it with all his strength and without
         regard for the personal consequences, even though he must fight alone?

         Oscar Yeager, a former combat pilot in Vietnam, now a comfortable yuppie
         working as a Defense Department consultant in the Virginia suburbs of the nation’s
         capital, faces this choice. He surveys the race mixing, the open homosexuality, the
         growing influence of drugs, the darkening complexion of the population as the tide
         of non-White immigration swells. He finds that for him it really is no choice at all:
         he is compelled to fight the evil which afflicts America in the 1990s; his conscience
         will not let him ignore it, and joining it is inconceivable.

         He declares war on the corrupt and irresponsible politicians who are presiding over
         the destruction of his race and his country, the scheming media masters who are the
         principal architects of that destruction, and the spiritually sick adherents of
         “diversity” who are their willing collaborators. And when Oscar Yeager is on the
         warpath, you’d better not be in his way!342

 Interestingly, the preface also boasts of the book’s connection to terrorist violence, containing the
 following quote from the Denver Post as a blurb:

         In a May 3, 1995, search of [convicted Oklahoma City bombing conspirator] Terry
         Nichols’ house, FBI agents seized a copy of Hunter, a rightwing novel by William
         Pierce, who also wrote The Turner Diaries, in which a fictional explosion at FBI
         headquarters in Washington kills more than 700 people.343

 According to Hunter’s narrative, racial diversity is a fatal epidemic bolstered by “spiritually sick”
 politicians and their “media masters,” who are part of a conspiracy to destroy the social fabric of
 the United States, and drive white America to extinction. Through protagonist Oscar Yeager,
 Pierce introduces the reader to the National Alliance’s worldview, wherein white America faces
 an insidious existential threat, and the only solution is violence. J.M. Berger notes that many of
 the stylistic features of Hunter, such as the “crude style” and “violent content,” are reminiscent of
 those found in The Turner Diaries.344 He also notes that Hunter may be a prequel to The Turner
 Diaries, “with the ‘National League’ featured in Hunter eventually becoming the Organization.”345
 Since Hunter and The Turner Diaries can be seen as part of the same story arc, this section now
 briefly examines the latter book as well.

 In his book Dark Ideas, Travis Morris provides a detailed description of The Turner Diaries, and
 explains how the book functions as a means of “weaponizing” the ideas of William Pierce and the
 National Alliance. He writes:



 342
     Andrew MacDonald [William Pierce], Hunter, National Vanguard Books, 1998.
 343
     Ibid.
 344
     Berger, The Turner Legacy, p. 23.
 345
     Ibid.


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            The Turner Diaries, published in 1978, has been described as “the Bible of the
            racist right” and stands as one of the most influential documents for recruitment
            and inciting racial violence. It was the first effective use of neo-Nazi fiction in a
            first-person narrative written to motivate and inform. Because it is written from
            main character Earl Turner’s point of view, it enables the reader to identify with the
            central character of the novel while also providing a frame to interpret Turner’s
            world. The novel is meant to make ideology entertaining and describes a future
            setting where Jews and nonwhites have triumphed over the white race. The novel
            has inspired several individuals and groups since its publication in addition to
            encouraging a number of imitations… The Turner Diaries reads as a series of two-
            year diary entries by the leading neo-Nazi hero, Earl Turner. The novel’s setting is
            based in a futuristic United States that has been purged of Jews and nonwhites via
            an Aryan revolution. The Aryan revolution has resulted in putting whites in political
            power after eradicating Jewish and nonwhite threats. Turner is an active member
            of an underground group, the Organization, engaged in asymmetric warfare against
            The System. The System is portrayed as an antigun, antiwhite, Jewish-controlled
            U.S. government that is constantly limiting the rights of its citizens. Turner
            manufactures explosive devices used by the Organization to inflict a maximum
            number of casualties against blacks, Jews, and white racial traitors all over the
            United States. The violence depicted in the text is meant to be both graphic and
            informative. The graphic content entertains and appeals to an audience that
            gravitates toward violence. The novel is also meant to be informative by listing
            targets, weapons, and tactics in such a way that the book can be used as a technical
            manual. Toward the end of the novel, Turner joins an elite survivalist group called
            The Order. As the racial war escalates, Turner is preparing for a suicide mission
            that would target the Pentagon. His plan is to fly a modified crop-duster plane
            equipped to carry a nuclear warhead directly into the Pentagon. This mission would
            turn Turner into a martyr and would destroy The System’s last remaining
            stronghold.346

 An example of the racist ultraviolence that The Turner Diaries portrays as heroism can be seen in
 its narrative about the “Day of the Rope,” where race-mixing white women are slaughtered en
 masse:

            Today has been the Day of the Rope—a grim and bloody day, but an unavoidable
            one. Tonight, from tens of thousands of lampposts, power poles, and trees through
            this vast metropolitan area the grisly forms hang … each with an identical placard
            with its legend in large, block letters: “I defiled my race.” … There are many
            thousands of hanging female corpses like that in this city tonight, all wearing
            identical placards around their necks. They are the White women who were married
            or living with Blacks, Jews, or with other non-White males.

 This report has already detailed how The Turner Diaries played a critical role in inspiring the
 formation of The Order, which was led by Robert Jay Mathews, and guiding the group’s program
 of violent action. The book was also so influential to Oklahoma City bomber Timothy McVeigh
 346
       Morris, Dark Ideas, pp. 36-38.


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 that he had photocopied pages from The Turner Diaries on him at the time of his arrest.347 In
 addition to the National Alliance supporters involved in violence that this report detailed
 previously, The Turner Diaries and other literature by Pierce played a role in inspiring numerous
 other racist killers—thus further demonstrating Pierce’s ability to literally weaponize his bigoted
 fiction. J.M. Berger details numerous cases illustrating this point:

            On April 12, 1996, Larry Wayne Shoemake of Jackson, Mississippi, shot and killed
            one person, wounding 10 more. All of his victims were black. His friends and
            family said he had changed dramatically after reading The Turner Diaries. He also
            reportedly read Pierce’s Hunter….

            Between 2009 and 2010, serial shooter Peter Mangs killed three people and shot at
            a dozen more in Sweden, targeting immigrants and their friends. Mangs was
            initially drawn in by The Turner Diaries, and later read Hunter.

            Ukrainian fanatic Pavlo “Pasha” Lapshyn emigrated to England in 2013 and wasted
            no time waging a race war. Within days of his arrival, Lapshyn murdered an elderly
            Asian Muslim, stabbing him in the back as he walked home from prayers. He then
            began a bombing spree against UK mosques. Through a combination of luck and
            Lapshyn’s incompetence, no one was killed. When he was arrested, authorities
            discovered he had linked to The Turner Diaries from a social media post. He had
            an audiobook of Turner on his computer when he was arrested, and a copy of a
            Russian translation of Hunter….

            In 2015, British neo-Nazi Zack Davies tried to behead a Sikh man (mistaking him
            for Muslim) in North Wales. Police discovered a wealth of racist literature in his
            home, including Turner and Hunter.348

 This report has now examined the cultural significance of items related to militant Islamism and
 Nazism. It now turns to items provided to me by the U.S. Attorney’s Office in the Eastern District
 of Virginia that represent the convergence between militant Islamism and Nazism.

 V.         Cultural Significance of Evidence Related to the Nazi/Militant Islamist Convergence

 Among the evidence provided to me by the U.S. Attorney’s Office were various materials relating
 to specific individuals and organizations that played a role in creating and maintaining a
 cooperative relationship between the Nazi movement and some Arab political figures, beginning
 at the time of the Palestinian Revolution (1936-39), and continuing during and after World War II.

 1. Haj Amin al-Husseini
 The Defendant possessed a number of images of the grand mufti of Jerusalem, Haj Amin al-
 Husseini. As mentioned earlier in this report, Husseini led the Palestinian Rebellion against the
 British, and functioned as the Third Reich’s liaison with the Muslim world, as well as a
 propagandist for Nazi Germany. He also helped organize the 13th Waffen Mountain Division of

 347
       Berger, The Turner Legacy.
 348
       Ibid., pp. 30-32.


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 the SS Handschar. This report has documented how, in these roles, Husseini played a critical role
 in promoting and nurturing a cooperative relationship between the Nazi and Arab nationalist
 movements.

 One document that the U.S. Attorney’s Office in the Eastern District of Virginia provided to me
 is a poster entitled “The Alliance” (Die Allianz), which pictures a cartoon rendering of Husseini
 shaking hands with a uniformed Nazi.349 The poster states that the Nazi-Islamist alliance had
                                                        endured from 1939 to 2004. This poster
                                                        was based on a Nazi-era propaganda
                                                        poster advertising the Hitler Youth. In
                                                        addition to this cartoon rendering of
                                                        Husseini—which makes the idea of a
                                                        Nazi-Islamist alliance explicit—the U.S.
                                                        Attorney’s Office in the Eastern District of
                                                        Virginia has provided me with several
                                                        photographs of Husseini taken during the
                                                        Third Reich’s time in power.

                                                        In one image, Husseini can be seen aiming
                                                        a gun alongside a group of Nazi
                                                        onlookers. 350 In other images, Husseini
 appears to be walking alongside Nazi commanders, inspecting troops, and in some cases saluting
 rows of pro-Nazi soldiers.351 As noted earlier in this report, the defendant also had a photo of
 Husseini sitting down with Hitler.

 The defendant also had three photographs depicting members of the 13th Waffen Mountain
 Division of the SS Handschar, the predominantly Bosnian Muslim SS force for which Husseini
 actively recruited. The first image
 is a photograph of a group of
 smiling Bosnian Muslim soldiers
 wearing hats bearing the Nazi
 insignia. 352 The second photo
 depicts Bosnian Muslim soldiers,
 in full Nazi uniform, standing at
 attention with rifles. 353 The third
 image is a photograph of three
 Bosnian Muslim soldiers sitting
 down and reading a German
 propaganda pamphlet entitled
 Islam und Judentum, which is


 349
     Evidentiary document GX 10-230.
 350
     Evidentiary document GX 10-234.
 351
     Evidentiary documents GX 10-232, GX 10-233, GX 10-235, GX 10-240.
 352
     Evidentiary document GX 10-239.
 353
     Evidentiary document GX 10-238.


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 German for Islam and Judaism.354 In all three photos it is clear that the soldiers are members of
 the Handschar Division because they are wearing the SS Handschar enlisted collar tab, which
 features a hand gripping a scimitar, alongside a swastika.

 2. Otto Skorzeny
 The U.S. Attorney’s Office in the Eastern District of Virginia has also provided me with items
 related to Otto Skorzeny, another important figure representing this peculiar convergence,
 particularly in the post-World War II era. Even after Germany’s defeat, the Nazis were able to
 maintain a relationship with certain corners of the Arab world. In June 1946, Husseini fled to Egypt,
 where the Muslim Brotherhood declared him to be an “Arab hero and symbol of al-Jihad.”355
 Egypt would become much more important to Nazi figures following the July 1952 coup that
 brought Gamal Abdel Nasser to power. It created an opportunity for Nazis to embed themselves
 in the new Egyptian government, and play a role in developing the country’s military and
 intelligence agencies.356

 One of the Nazis employed by Nasser was Johann von
 Leers, a former assistant to Nazi propaganda minister
 Joseph Goebbels. Upon relocating to Cairo, von Leers
 converted to Islam, and changed his name to Oman
 Amin von Leers.357 Von Leers put his skills to use
 producing anti-Western and anti-Israel propaganda
 for Nasser’s government.358 Martin Lee, a journalist
 who wrote a comprehensive history of the radical
 right’s resurgence entitled The Beast Reawakens,
 notes that several other Nazi propagandists followed
 von Leers’s lead in relocating to Egypt and adopting
 Arabic names, including Hans Appler and Louis
 Heiden. Appler, another Goebbels disciple, adopted
 the name Salah Shafar; Heiden, an employee of the
 German Press Agency during the Second World War,
 changed his name to Louis al-Hadj.359 Hadj would go
 on to translate Mein Kampf into Arabic, where he
 described Hitler’s “struggle” against the Jews as a
 jihad. (Kampf and jihad both translate to struggle in
 English.)

 But the most notorious Nazi leader who relocated to
 Egypt was Otto Skorzeny, whom the Allies once
 called “the most dangerous man in Europe.” One item


 354
     Evidentiary document GX 10-237.
 355
     Patterson, “Islamic Jihadism and the Legacy of Nazi Antisemitism.”
 356
     Michael, The Enemy of My Enemy, pp. 120-21.
 357
     Tibor Krausz, “The Swastika and the Crescent,” The Jerusalem Report, June 1, 2015, p. 44; Michael, The Enemy
 of My Enemy, p. 122.
 358
     Michael, The Enemy of My Enemy, p. 122.
 359
     Lee, The Beast Reawakens, pp. 128-29.


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 gathered from the defendant was a portrait of Skorzeny. 360 Indeed, Skorzeny represents the
 intersection of many of the interests reflected in the materials that this report has analyzed up to
 this point: Nazism, the SS, militancy, and the Arab world.

 Skorzeny was a legendary Nazi figure, who in the early 1930s became one of the first members of
 the Austrian Nazi Party. In the decade that followed, Skorzeny rose through the ranks of the Nazi
 party, becoming known for his brutality and love of violence, as well as for his extraordinary skill
 and daring in inflicting it. As Martin Lee notes, in 1938 Skorzeny “participated in the infamous
 Kristallnacht pogrom in Vienna. It was a night of sheer terror throughout Hitler’s Reich, as Jewish
 synagogues, shops, and homes burned to the ground; one hundred Jews were killed; and another
 thirty thousand were herded into concentration camps.” 361 As World War II began, Skorzeny
 joined the Waffen SS, which was—as previously explained—so notorious and sadistic that the
 entire SS was found to be a criminal organization at the Nuremberg trials.

 Skorzeny was also one of Hitler’s favorite commandos, due to both his competency as a commando
 and the fact that both men hailed from Austria. Skorzeny established a special commando training
 course for some of the Waffen SS’s elite agents, and personally participated in a daring rescue
 operation to save Benito Mussolini when the Italian government arrested its erstwhile Fascist
 leader. But Skorzeny also endeared himself to Hitler for the role he played in sustaining the
 German dictator’s rule when Nazi party insiders attempted to assassinate the Führer on July 20,
 1944. Lee summarizes Skorzeny’s role, and Hitler’s gratitude:

         With Skorzeny in charge of the War Ministry, it didn’t take long before the revolt
         was smashed and the affairs of the High Command were once again in smooth
         working order. During the weeks that followed, he helped track down the remaining
         suspects in one of history’s most gruesome manhunts. It was an occasion to settle
         old scores, as two thousand people, including dozens of high-ranking German
         officers, were killed in a paroxysm of military fratricide. Some of the leading
         plotters were garroted with piano wire and impaled on meathooks, while Nazi
         cameramen recorded the victims’ death throes so that Hitler could view the film in
         his personal cinema.

         For the colonel’s invaluable support during the aftermath of the coup attempt, the
         Führer gratefully declared, “You Skorzeny, saved the Third Reich.”362

 Thus, Skorzeny became an icon and champion of the National Socialist movement. And he played
 a critical role in trying to sustain Nazism even after Germany’s defeat in the Second World War.
 Eventually, Skorzeny ended up in Egypt and became a top military advisor to Nasser, who sought
 to apply Skorzeny’s tactical expertise to the Egyptian military. Skorzeny’s “principal
 responsibility was to train thousands of Egyptian commandos in guerilla and desert warfare.”363
 Skorzeny also provided commando training to Palestinians, including future Palestinian Liberation


 360
     Evidentiary document GX10-242.
 361
     Lee, The Beast Reawakens, p. 15.
 362
     Ibid., p. 4.
 363
     Michael, The Enemy of My Enemy, p. 121.


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 Organization (PLO) leader Yasser Arafat. 364 In
 1953-54, Skorzeny planned the first wave of
 terrorist attacks into Israel and the Gaza Strip
 carried out by newly trained Palestinian guerillas.365

 One document in which Skorzeny features
 prominently is a two-page handwritten note that the
 U.S. Attorney’s Office in the Eastern District of
 Virginia provided to me that features a prayer for
 family members, Hitler, Skorzeny, and several other
 figures.366 The prayer is divided into four sections:
 prayers for the dead, the living, coworkers, and the
 Ummah (the worldwide body of Muslims).

 In addition to listing close friends and family
 members of the person who wrote the prayer note,
 the section dedicated to the dead lists “Hitler,
 Skorzeny, Hajj Amin al-Hussaini [sic], Mussolini,
 Saddam Husein [sic]. Prophet Muhamed, John the
 Baptist & all the Companions” as individuals for
 whom he is praying. It is clear that the individual
 who wrote the note feels affinity for the figures
 whom are listed for prayers. The historical figures
 who are featured appear directly after people like
 Grandad [sic], Aunt Dot and Uncle Sam, which
 suggests an affinity for the historical figures that
 may be analogous to (or, some cases, perhaps
 greater than) the kinship felt for family members.
 This affinity is even clearer if the note were written
 by a Muslim, which it appears to be: The Prophet
 Muhammad, who is considered the perfect example
 of humankind by Muslims, is listed among these
 historical figures, as are the Companions, which is
 a reference to the companions of the Prophet Muhammad. The Companions are revered by
 Muslims generally, but militant Islamist leaders have also made their reverence for the
 Companions clear. As Abu Musab al-Zarqawi, the founder and leader of ISIS’s predecessor al-
 Qaeda in Iraq, wrote: “We are pleased with the entire companions and we speak well of them. It
 is a duty to love them and hypocrisy to hate them. We do not discuss their disagreements. They
 are the best ancestors.”367 The figures listed in the prayers for the dead represent Nazism (Hitler),
 Fascism (Mussolini), and the bridge between Nazism and Arab nationalism (Amin al-Husseini and
 Skorzeny).


 364
     Steve Mariotti, “What We Got Wrong About Nazis and Terrorists,” Huffington Post, July 7, 2016.
 365
     Ibid.; Michael, The Enemy of My Enemy, p. 121.
 366
     Evidentiary document GX 10-814.
 367
     Abu Musab al-Zarqawi, “Our Creed and Methodology,” March 24, 2005.


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 In the “Ummah” section of the prayer document, most of the individuals are only listed by first
 name. The only full name that appears in this section of the prayer is “Ali Al Timimi,” which refers
 to an Islamic preacher of that name. Given the apparent importance of Timimi in this document,
 he is examined next. But suffice it to say that this prayer evinces admiration for Nazi figures,
 people who served to bridge the divide between the Nazi and Arab nationalist movements, and
 militant Islamists.

 3. Ali al-Timimi
 Prior to his arrest, Ali al-Timimi was the head lecturer at Dar
 al Arqam Islamic Center in Falls Church, Virginia.368 He is
 now serving a life sentence in prison after having been
 convicted in 2005 of soliciting others to wage war against the
 United States and attempting to aid the Taliban.

 Timimi had long had a militant Islamist interpretation of his
 faith. As the United States Court of Appeals for the Fourth
 Circuit would later recount, based on the evidence presented
 in court, even before the 9/11 attacks he had taught “of the
 necessity to engage in violent jihad against the enemies of
 Islam and the ‘end of time’ battle between Muslims and non-
 Muslims.”369 One group of men involved in Dar al Arqam at
 the time had been engaging in vigorous paintball practices
 that, it is clear contextually, were seen by participants as training for jihad:

          In the spring of 2000, members of the group began simulating combat through
          paintball exercises and practices at firing ranges. By early summer, the group was
          meeting every other weekend. [Seifullah] Chapman, Hammad [Abdur-Raheem],
          and others brought AK-47 style rifles to paintball training and also practiced
          marksmanship. Members were required to follow three rules: don’t tell anyone,
          don’t bring anyone, and invoke the Fifth Amendment right against self-
          incrimination if questioned by the police.

          Because Hammad and Chapman had prior military experience, they assisted in
          leading the paintball drills and conducting the training. Chapman eventually took
          over and increased the drills’ intensity. Chapman told the group that members were
          going to learn to fight; he enforced Draconian training and imposed physical
          punishment for infractions of rules that were out-of-character for a recreational
          paintball pastime. For example, being made to push a car in neutral was the
          punishment meted out for tardiness. The group also learned combat skills, such as
          how to avoid a helicopter attack, that appear inconsistent with a recreational
          pursuit.370



 368
     Indictment, United States v. Timimi (E.D. Va., September 2004), p. 4.
 369
     United States v. Khan, 461 F.3d 477, 483 (4th Cir. 2006).
 370
     Ibid., pp. 483-84.


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 On the night of the 9/11 attacks, Timimi argued that the attacks should not be condemned by
 Muslims. Though he was dismissed from Dar al-Arqam due to the extremism of his views, Timimi
 soon met with members of the paintball group who were preparing for jihad, and exhorted them to
 travel to South Asia to prepare to fight against U.S. soldiers. The key meeting occurred on
 September 16, 2001 at the house of one of the paintball group’s members. During the meeting,
 Timimi said that American troops would soon arrive in Afghanistan, and they “would be legitimate
 targets of the violent jihad in which his listeners had a duty to engage.”371 The conversation then
 turned to the prospect of members of the group obtaining militant training at Pakistan-based camps
 run by the terrorist group Lashkar-e-Taiba, or LeT, “in order to join the mujahideen expected to
 engage in violent jihad against American troops in Afghanistan.” 372 Timimi affirmed to his
 audience that LeT “was on the correct path,” meaning that they were true Muslims and their cause
 was righteous.373 Timimi swore the group to secrecy. Several members of the paintball group said
 that they intended to train at LeT camps, and paintball group members in fact traveled to Pakistan
 to prepare to fight against Americans.

 Indeed, even after the meeting of September 16, 2001, Timimi continued to aid group members
 who wanted to illegally prepare to fight U.S. troops. On September 17, 2001, Timimi met with
 two members of the paintball group, and advised them about how to reach LeT’s camps undetected.
 On October 15, 2001, Timimi justified the religious obligation of fighting against Americans in
 Afghanistan to other people gathered at his house. He cited examples from Islamic history that he
 claimed demonstrated the permissibility of attacks against civilians, and said “that mujahideen
 killed while fighting Americans in Afghanistan would die as martyrs.”374 He specifically advised
 his audience to “obtain jihad training from Lashkar-e-Taiba because its belief system was good
 and it focused on combat.”375

 It is not just Timimi’s teachings around the time of the 9/11 attacks that reveal his embrace of
 militant Islamism. His lectures and writings were long characterized by sharp distinctions between
 in-groups and out-groups, and used the language of hate and violence toward all those who did not
 adhere to his belief system. One example is a pamphlet he authored, “Reflections on the Meaning
 of Our Testimony of Faith,” which was published by the Salafist group Society for Adherence to
 the Sunnah.376 The pamphlet purports to be an explanation of the shahada, or Muslim declaration
 of faith. It portrays virulent opposition to non-Muslims as so central to the Islamic faith that it is
 reflected in the declaration of faith itself. For example, in discussing al-wala wal-bara—Arabic
 for loyalty and disavowal—Timimi asserts, “It is required of every Muslim to love and support
 those who adhere to the testimony ‘there is no god but Allah and Muhammad is the Messenger of
 God,’ and hate and show enmity towards those who reject this testimony or al-wala’ wal-bara.’”377
 Similar to the style employed in Abi Zakaryya al-Dimashqi al-Dumyati’s The Book of Jihad,
 Timimi often eschews textual explication in favor of selecting Qur’anic verses or ahadith that

 371
     Indictment, United States v. Timimi, p. 6.
 372
     Ibid. Lashkar e-Taiba was designated a Foreign Terrorist Organization by the U.S. Department of State in
 December 2001.
 373
     Ibid.
 374
     Ibid., p. 7.
 375
     Ibid.
 376
     Ali al-Timimi, “Reflections on the Meaning of Our Testimony of Faith: ‘There is no God but Allah and Muhammad
 is the Messenger of Allah,’” The Society for Adherence to the Sunnah, July 1994.
 377
     Ibid., p. 4.


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 make his desired point. Timimi thus selectively quotes Qur’anic verses to support his claim that
 Muslims must “show enmity” toward non-Muslims.

 In addition to displaying hostility toward non-Muslims, Timimi writes that another implication of
 al-wala wal-bara “is that we—when required—wage jihad against the infidels.” 378 Timimi
 continues by citing Qur’anic verses suggesting that it is obligatory to fight and kill infidels, quoting
 the following two verses:

          Slay the idolaters wherever you find them, and take them (captive), and besiege
          them, and lie in wait for them at every place of ambush. (The Qur’an 9:5).

          Fight those who do believe not in Allah and the Last Day and do not forbid what
          Allah and His Messenger have forbidden, and practice not the true religion (Islam),
          being of those who have been given the Scripture (the Jews and the Christians)—
          until they pay tribute readily and have been brought low. (The Qur’an 9:29)379

 Timimi further supports his call for violence by quoting selectively from the ahadith:

          The Prophet—sallallahu ‘alayhi wa sallam—has said: I am commanded to fight
          mankind till they testify that there is no god but Allah and that Muhammad is the
          Messenger of Allah, establish the prayers and pay the charity. When they do that
          they will keep their lives and their property safe from me, except what is due to
          Islam; and their reckoning will be with Allah (al-Bukhari and Muslim, but Muslim
          did not mention, “except what is due for Islam”).

          The head of the matter is Islam, its support is the prayer, and its apex is jihad.
          (Ahmad, al-Tirmidhi, and Ibn Majah)380

 Timimi’s penchant confrontational teachings is underscored by a message he sent to followers
 after the Columbia Space Shuttle exploded on February 1, 2003, killing all seven crew members.
 Timimi issued a message that day which stated: “This morning the world heard news about the
 crash of the space shuttle. There is no doubt that Muslims were overjoyed because of the adversity
 that befell their greatest enemy. Upon hearing the news, my heart felt certain good omens that I
 liked to spread to my brothers.”381 Expressing no compassion for the members of the crew who
 lost their lives, Timimi’s message focuses on his disdain for the United States and the West:

          First: The Name of the Shuttle: “Columbia” is the name of the shuttle, called after
          the name of “Columbus,” the sailor who discovered the American Continent in
          1492 after the fall of Grenada, the last Islamic stronghold in Andalusia. Historians
          know that, after discovering the two American Continents, the Romans (the
          Christians of Europe) exploited their wealth in order to be able to control the
          Islamic World. The Columbia crash made me feel, and God is the only One to know,

 378
     Ibid., p. 6.
 379
     Ibid., p. 5.
 380
     Ibid., pp. 6-7.
 381
     Indictment, United States v. Timimi, p. 8.


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             that this is a strong signal that Western supremacy (especially that of America) that
             began 500 years ago is coming to a quick end, God Willing, as occurred to the
             shuttle.

             Second: The Shuttle Crew: The Israeli Ambassador to the UN described the
             Israeli astronaut as someone carrying all the hopes and ambitions of the Israeli
             people. And so, God Willing, all these hopes and ambitions were burnt with the
             crash and the burning of the shuttle and one of its astronauts, the Israeli.

             Third: The Crash Location: As soon as CNN announced the crash of the space
             shuttle nearby the city of Palestine, in Texas, I said to myself “God is Great”. This
             way, God Willing, America will fall and disappear (nearby Palestine). The State of
             Texas is also the state of the foolish, obeyed President Bush the son. And so we
             hope, God Willing, similar to the crash of the shuttle on his state, his nation would
             fall upon his head due to his foolish policy.

             Fourth: The President’s Condolences to the American People: In the words that
             President Bush used to console his people, he referred to the Book of Isiah where
             there is a praise to God’s creation, His stars and planets. I said to myself, Praise the
             Lord, in this same Book of Isiah there are news about the coming of Prophet
             Muhammad and a warning of the destruction of the Jews at the end of time. [A
             citation from the Qur’an follows.]

             And so, there are other signs that would take a long time to recount. For example,
             every time the Americans believe that they control the whole earth and the skies,
             and act as they wish, there comes a sign that reminds us that God, Almighty, is
             greater than his creatures, sitting on His Chair, handling everything, and that His
             angels act according to His commands. And so, he whoever will try to raise the
             Jews, who are a nation that God covered with humiliation and deserved God’s
             wrath, will be afflicted with divine humiliation and wrath as much as he supports
             them.382

 Timimi’s writings, lectures and public statements reflect beliefs and ideas consistent with both the
 militant Islamism and also extreme anti-Semitism reflected in other materials examined in this
 report.

 VI.         Cultural Significance of Items Found in Defendant’s Internet Activity

 The U.S. Attorney’s Office in the Eastern District of Virginia also provided me with the record of
 certain Internet activity. This online activity included videos of sermons given by jihadist preacher
 Anwar al-Awlaki, Holocaust denial posts, videos espousing 9/11 conspiracy theories, and
 materials about alleged Jewish control of the media. This section categorizes and analyzes some
 of the materials provided to me. The materials can be divided roughly into four core themes: the
 militant known as Abu Musab, who appeared as the defendant’s Facebook avatar; anti-Semitic
 materials; 9/11 conspiracy materials; and jihadist propaganda materials.
 382
       Ibid. pp. 8-9.


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 1. Abu Musab

 According to a screenshot provided to me by the
 U.S. Attorney’s Office of the Eastern District of
 Virginia, on September 22, 2013, the defendant
 changed his Facebook profile picture to depict a
 Syria-based Islamist militant associated with
 jihadist factions operating in the country.383 Open-
 source reporting indicates that the individual
 portrayed in the photo is widely known as Abu
 Musab. In reports on the subject of the photo, Abu
 Musab is alternately described in some cases as a
 Chechen Islamist militant, and in others as a jihadist
 “emir” based in Tel Abyad (a small town in Syria).
 It is possible, of course, that both of these are
 simultaneously true. The following non-exhaustive
 list provides examples of where this photograph has
 been identified as the militant Abu Musab:

 •     On September 22, 2013 (the same day the defendant uploaded the image as his profile picture),
       Daniele Raineri—an Italian journalist reporting on the Middle East for the daily newspaper Il
       Foglio—tweeted the image, identifying the militant who was pictured as “Abu Musab al Suri,
       aide of Abu Omar al Chechen.”384 The latter man
       mentioned in this tweet, Abu Umar al-Shishani
       (Abu Omar the Chechen) is an extremely
       successful and well-known ISIS commander.385
 •     The photo also appears in ISIS propaganda
       celebrating the group’s foreign fighters. This
       propaganda was reported on, for example, in an
       article published by France 24 on October 30,
       2013. In this piece of propaganda, the images of
       foreign fighters are listed next to their
       nationalities, and the photo of Abu Musab appears
       beside text identifying him as Chechen in English
       (with accompanying Arabic script saying
       Shishani, which also means Chechen). 386 The
       same piece of propaganda also appeared in a
 383
     Evidentiary documents GX15-200, GX 15-201, GX8-410.
 384
            See        tweet         from        @DanieleRaineri,         September        23,        2013,      at
 https://twitter.com/danieleraineri/status/382013624702611456?lang=en.
 385
     See, for example, my reporting on Abu Umar al-Shishani’s military campaigns. Daveed Gartenstein-Ross, “The
 Islamic State’s Anbar Offensive and Abu Umar al-Shishani,” War on the Rocks, October 9, 2014,
 https://warontherocks.com/2014/10/the-islamic-states-anbar-offensive-and-abu-umar-al-shishani/;            Daveed
 Gartenstein-Ross, “The Fight Goes on in Anbar: ISIL vs. the World,” War on the Rocks, October 15, 2014,
 https://warontherocks.com/2014/10/the-fight-goes-on-in-anbar-isil-vs-the-world/.
 386
     “Shamil Tsuneoka, The Japanese ‘Journalist’ Friend of the Jihadists,” France 24, October 10, 2013.


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       November 2014 Russian-language blog post that describes the black poster as an ISIS
       propaganda poster showcasing the group’s internationalism. The author of the blog post
       concludes by posting the full picture of “the Chechen from the poster”—providing the image
       of the militant that the defendant had uploaded as his profile picture when he does so.387
 •     Another report featuring the image was published on April 8, 2013 by Civaka Azad, the
       Kurdish Centre for Public Information in Germany. The article describes the featured militant
       as Abu Musab, and notes that he has a Kalashnikov in hand while wearing “a black Basque
       cap.” The article suggests that the militant had taken on the name Abu Musab in an homage to
       the jihadist strategist Abu Musab al-Suri.388 The article describes the militant Abu Musab as
       an emir, and says that he is affiliated with Jabhat al-Nusra, al-Qaeda’s arm in Syria.389 The
       article further claims that Abu Musab had been captured by Kurdish forces, only to
       subsequently be released in exchange for 300-400 civilians whom Jabhat al-Nusra was holding.
       Though this report appears inconsistent with claims that Abu Musab was a part of ISIS, it is
       worth noting that the Kurdish Centre for Public Information report was published in 2013. At
       the time, ISIS had not yet been expelled from the al-Qaeda organization, so it may not have
       appeared as contradictory to finger a militant as belonging to both Nusra and ISIS.
 •     The photo used in the defendant’s Facebook profile also appears in a July 20, 2013 blog post
       by Wladimir van Wilgenburg, a well-known analyst for the Jamestown Foundation who has
       done extensive field research and reporting in Iraq. The post is entitled “Al-Nusra Emir Abu
       Mus’ab Captured After Clashes Erupt.” Van Wilgenburg writes, “After tensions erupted in Til
       Abyad with council members being arrested and the pro-PYD office Mala Gel (People’s House)
       being surrounded by ISIS, Ahrar al-Sham and Nusra, clashes erupted… According to Kurdish
       sources the YPG captured a leading member of al-Nusra.”390 Van Wilgenburg’s blog post
       makes clear that the photo that appeared on the defendant’s Facebook profile depicts the
       “leading member of al-Nusra” whom van Wilgenburg references.
 •     The same photo and account also appears in a July 21, 2013 article published by
       Kavkazcenter.com, a website that promotes al-Qaeda’s Caucasus affiliate, which is known as
       the Caucasus Emirate. The article on Kavkazcenter.com features the same photo that the
       defendant posted on his Facebook page, with a caption describing him as Abu Musab, the emir
       of al-Qaeda’s forces in Tel Abyad. (The Kavkazcenter.com article also claims, contrary to the
       reporting of the Kurdish Centre for Public Information and Wladimir van Wilgenburg, that
       Abu Musab had never been captured in battle.)391
 •     The aforementioned accounts provide a face to the name Abu Musab. But the same individual
       is also referenced—albeit without the identifying photograph—in several other accounts that

 387
     “Зелёный интернационал Халифата,” Serg-Slavorum.LiveJournal.com, November 18, 2014, https://serg-
 slavorum.livejournal.com/1136764.html.
 388
     For discussion of the jihadist strategist, see Brynjar Lia, Architect of Global Jihad: The Life of al-Qaeda Strategist
 Abu Musab al-Suri (Oxford: Oxford University Press, 2009).
 389
     Cüneyt Özdemir, “Die mobilen Dschihadisten und unser neuer Nachbar Afghanistan,” Civaka Azad, April 8, 2013,
 http://civaka-azad.org/die-mobilen-dschihadisten-und-unser-neuer-nachbar-afghanistan/.
 390
     Wladimir van Wilgenburg, “Al-Nusra Emir Abu Mus’ab Captured After Clashes Erupt,” Transnational Middle
 East Observer blog, July 20, 2013, http://vvanwilgenburg.blogspot.com/2013/07/al-nusra-emir-abu-musab-captured-
 after.html.
 391
     “Курдские демократы солгали. Амира моджахедов в Тель-Абаяде в плен они не захватывали. Бой
 продолжается,” Kavkaz Center, July 21, 2013, http://www.kavkazcenter.com/russ/content/2013/07/21/99412/siriya-
 -kurdskie-demokraty-solgali--amira-modzhakhedov-v-tel-abayade-v-plen-oni-ne-zakhvatyvali--boj-
 prodolzhaetsya.shtml.


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       refer to the capture of an emir of Tel Abyad. For example, a New York Times article published
       on June 21, 2013, states: “On Sunday, Kurdish fighters surrounded the local leader of one of
       the groups linked to Al Qaeda, the Islamic State of Iraq and Syria, inside a school he and his
       fighters were using as a base near the border town of Tel Abyad. Activists said the Kurdish
       fighters did not storm the school to detain the group’s leader, who is known by the nom de
       guerre Abu Musab, because they feared he would blow up the school. To push the Kurds to
       grant him safe passage, rebels and the group’s fighters detained hundreds of Kurdish civilians.
       The two sides finally reached a deal and the group’s leader was released in return for the 300
       detained Kurdish civilians, according to the Syrian Observatory group.” 392 This is largely
       consistent with the Kurdish Centre for Public Information’s account, though it classifies Abu
       Musab as part of ISIS rather than Jabhat al-Nusra.

 This evidence clearly demonstrates that, despite some ambiguity regarding the exact affiliation of
 Abu Musab, he is widely recognized as a high-ranking jihadist militant who was a leading member
 of a faction that was aligned with al-Qaeda through 2013—either ISIS or Jabhat al-Nusra. This
 ambiguity about his affiliation is unsurprising due to the blurred relationships between the two
 militant organizations throughout 2013.

 Moreover, irrespective of the individual’s specific identity, the bottom line is that the photo itself
 is universally understood to depict a militant, specifically a salafi jihadist. The individual pictured
 is wearing body armor and a black cap decorated by the jihadist symbol of the raya. He also has
 an assault rifle that resembles a Kalashnikov, a type of firearm favored by jihadists. In addition,
 the individual’s facial hair is consistent with the style that many Salafists adopt, including a long
 beard with clean-shaven upper lips.393 Grooming one’s beard in such a fashion is often a sign of
 religious fundamentalism or ultra-conservatism.

 2. Anti-Semitic materials
 The Internet materials provided to me include a number of neo-Nazi and white supremacist-
 oriented websites, in addition to several related to Nazi history. One example is the Wikipedia
 page of Alois Brunner,394 who, as that webpage details, was Adolf Eichmann’s assistant and an SS
 officer responsible for sending around 100,000 European Jews to concentration camps. After the
 war, Brunner fled to Egypt and then Syria, where he was reportedly given asylum and a salary in
 exchange for sharing Nazi torture methods with Hafez al-Assad’s Ba’ath Party. After his move to
 the Middle East, Brunner ended up converting to the Islamic faith. In these ways, Brunner
 represents some of the convergences that can be seen throughout this report.

 Other online materials viewed include a Nazi memorabilia website and posts on the white
 supremacist website Stormfront that discussed the virtues of various bulletproof facemasks and
 helmets. Another website visited was a YouTube video titled “DJ Adolf – SS SA Video WW2,”
 which combines video from one of Hitler’s speeches with battle scenes from WWII overlaid with
 an electronic dance music song. Though the video may appear to be a silly montage, the comments
 below the video reveal that it found an appreciative pro-Nazi audience. The comments included

 392
     Ben Hubbard & Hwaida Saad, “Across Syria, Violent Day of Attacks and Ambush,” New York Times, July 21,
 2013.
 393
     This Salafist style is based on a hadith. See Sahih al-Bukhari, volume 7, book 72, Hadith 781.
 394
     Evidentiary document GX 14-180.


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 many neo-Nazi and white supremacist comments, including Heil Hitler and 88 (a well-known
 abbreviation for Heil Hitler, as H is the eighth letter of the alphabet). Additionally, among the
 defendant’s media were several other images of Hitler, including a meme of Hitler laughing,395
 another of Hitler dancing with his fists in the air,396 and an image of Hitler looking down upon a
 fawn.397

 The belief that Jewish individuals “run” the media, Hollywood, businesses, the banking sector, or
 the government of the United States is a common belief among those with a neo-Nazi or white
 supremacist outlook. Earlier this report detailed National Alliance founder William Pierce’s claim
 that “Jewish control of the American mass media” is more dangerous to the future of the white
 race than “plague, famine, economic collapse, even nuclear war.” Several videos espousing the
 idea of hidden Jewish domination—which were posted on the website “LiveLeak,” a video-sharing
 platform akin to YouTube but with more permissive posting restrictions—were among the
 websites that I was asked to analyze. One such video was titled “Who Owns What – eXposed.” Its
 caption claims: “The American Media: moviemakers, news channels radio stations, newspapers,
 banks, corporations,etc etc all are under zionism [sic].” The video shows a montage of photos of
 Jewish owners and founders of many popular American media and production companies, thus
 portraying “Zionism” as having infiltrated our country, military, and government, and portraying
 President George W. Bush as a puppet of the “Zionists.”

 Another anti-Semitic LiveLeak post among the materials I was asked to analyze is entitled “Some
 numbers about so-called Holocaust.” That post attempts to call into question the number of Jews
 killed during the Holocaust by citing other supposed instances of Jewish “exaggeration.” As
 illustrated earlier in this report, in excerpts from William Pierce’s novel Serpent’s Walk, Nazi
 sympathizers find denial or minimization of the Holocaust necessary to rehabilitate the image of
 Nazi Germany. The grotesque scale of the death camps is quite difficult even for extreme anti-
 Semites to defend. Another LiveLeak post among the websites visited proclaims in its title that
 “The West Vomited All Over The East, And That Vomit Is Israel.” Another website visited appears
 to be about the book Synagogue of Satan: The Secret History of Jewish World Domination, which
 is described on Google Books as being about “A sinister and curious Architectural Colossus [that]
 is exploding across every continent on earth.”

 3. 9/11 Conspiracy Theories
 A number of the videos among the materials I was asked to review contained conspiracy theories
 about the 9/11 attacks. Some of these materials also have strongly anti-Semitic themes. For
 example, one such video argues that Israeli agents had been in the United States prior to 9/11, had
 advance warning of the attacks, and did not share this information with the U.S. government.398
 Another such video was posted with the title and comment:

          CNN: Jews behind 9/11 exposed - part 1/2
          [9]/11 was a jew job! Don’t let people like Alex Jones fool you into believing
          otherwise!

 395
     Evidentiary document GX 10-107.
 396
     Evidentiary document GX 10-108.
 397
     Evidentiary document GX 14-132.
 398
     See ibid. (listing “LiveLeak – Organised Israeli Intelligence In USA –”).


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         Truth sometimes hurts... but it’s time to leave the twilight zone of ignorance and
         despair. Truth may hurts, [sic] but it’s the only way out of our crises. There will be
         no justice without truth, and without justice there will be no peace.399

 One PhotoShopped image that I was asked to analyze
 depicts former President George W. Bush, Vice
 President Dick Cheney, and Secretary of Defense
 Donald Rumsfeld cackling in front of the World
 Trade Center’s towers as one crumbles and the other
 smolders. The image is overlaid with text that reads:
 “‘Jet Fuel? THAT’S A GOOD ONE!’”400 This text
 explicitly references one staple of 9/11 conspiracy
 theories, many of which hold that the jet fuel in the
 airplanes flown into the World Trade Center would
 not have been hot enough to damage the steel beams
 that undergirded the Twin Towers.

 Conspiracy theories related to the “true nature” of the
 9/11 attacks are a mainstay of online neo-Nazi and
 anti-Semitic discourses. Such theories can be used to
 support the belief, which was discussed earlier in this
 report, of a nefarious Jewish hand that is guiding the
 world’s conflicts and evils.

 4. Jihadist Materials

 The U.S. Attorney’s Office in the Eastern District of Virginia provided me with evidence of
 Internet activity related to jihadism, including a YouTube channel that contained eleven video
 lectures by Anwar al-Awlaki, as well as other related jihadist materials.401 The defendant appears
 to have emailed a link to this channel to himself. Awlaki, as outlined previously in this report, is a
 late al-Qaeda in the Arabian Peninsula official and propagandist whose ideas and activities have
 been connected to multiple terrorist acts and plots, including the Fort Hood shooting, the Boston
 Marathon bombing, the Pulse nightclub shooting, and the 2016 New Jersey and New York City
 bombings. Several of these videos discuss the virtues of violent jihad, including one video where
 Awlaki argues that “one jihad is better than fifty hajjs”—hajj referring to the religious pilgrimage
 to Mecca that is one of the five pillars of the Islamic faith.402 This is a striking statement: In
 addition to the fact that making hajj is one of the pillars of Islam, a hadith holds that performing
 the hajj can result in the forgiveness of all a Muslim’s sins.403



 399
     See ibid. (listing “LiveLeak – CNN Jews behind 9-11 exposed – part 1-2.”).
 400
     Evidentiary document GX 10-253.
 401
     Evidentiary document GX14-141-149.
 402
     Evidentiary document GX14-159.
 403
     Al-Bukhari, 1449.


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 One of the more violent jihadist videos on this channel was produced by the Al-Furqan Foundation,
 which is a media wing of ISIS. Its authorship can be discerned by a logo in the top left corner,
 which alternates between the Al-Furqan Foundation’s logo and ISIS’s raya (black banner).404 The
 video features a montage of bombings of trucks and buildings while men shout Allahu Akbar. The
 video’s purpose is to glorify these acts of terrorism.

 Osama bin Laden speech. The U.S. Attorney’s Office in the Eastern District of Virginia has also
 provided me with a video file found among the computer media seized from the defendant’s home,
 of a speech by Osama bin Laden that was released in September 2007. The video is 26 minutes
 and 27 seconds long, and its title—“The Solution”—appears in the upper left corner of the frame,
 while the Arabic text appears in the opposite right corner. As-Sahab (“The Cloud”) is displayed in
 the lower right corner; it is the name of al-Qaeda’s media production company. Between bin
 Laden’s frame and the subtitled English translation is written: “A Message from Shaykh Usama
 bin Laden to the American People.” Accordingly, throughout the speech, bin Laden directly
 addressed the American nation.

 Bin Laden began by praising the 19 hijackers who carried out the 9/11 attacks, “despite America
 being the greatest economic power and possessing the most powerful and up-to-date military
 arsenal as well.” He stated that America’s foreign adventures following those attacks worsened
 the country’s reputation, broke its prestige, and bled it dry economically.

 Turning specifically to the U.S. war in Iraq, bin Laden then evoked President Bush’s rationale that
 “Americans have no option but to continue the war.” He stated that in claiming this, Bush echoes
 “the words of neoconservatives like Cheney, Rumsfeld and Richard Perle, the latter having said
 previously that the Americans have no choice in front of them other than to continue the war or
 face a holocaust.” Bin Laden took particular issue with this statement and, as he did throughout
 the speech, contrasted the purported vices of American society and democracy with the virtues of
 his strain of Islam. Bin Laden said that “the morality and culture of the holocaust is your culture,
 not our culture.” Bin Laden claimed that Christians had lived unharmed in the Middle East for
 fourteen centuries, but said that these facts were misrepresented by politicians, the media, even
 Hollywood, “for the purpose of misrepresenting Islam and its adherents to drive you away from
 the true religion.”

 Subsequently, bin Laden transitioned to discussing the failure of the Iraq War as an extension of
 “the failure of your democratic system, despite it raising of the slogans of justice, liberty, equality
 and humanitarianism.” He argued that it has not only failed to achieve these virtues, but in fact
 replaced them “with fear, destruction, killing, hunger, illness, displacement and more than a
 million orphans in Baghdad alone, not to mention hundreds of thousands of widows.”

 Bin Laden continued his assault on allegedly corrupt American democratic institutions by
 contrasting the negative public opinion of the Iraq War with the unwillingness of democratically-
 elected leaders to withdraw. He drew a parallel with the Vietnam War, when “the leaders of the
 White House claimed at the time that it was a necessary and crucial war, and during it, Rumsfeld
 and his aides murdered two million villagers.” Bin Laden alleged that President Kennedy was
 assassinated because he wished to end the war, which “angered the owners of the major
 404
       Evidentiary document GX14-160.


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 corporations who were benefiting from its continuation,” and so “those corporations were the
 primary beneficiary from his killing.”

 Bin Laden then accused the American people of being complicit in the eruption and continuation
 of the wars in Iraq and Afghanistan, because “you permitted Bush to complete his first term, and
 stranger still, chose him for a second term, which gave him a clear mandate from you—with your
 full knowledge and consent—to continue to murder our people in Iraq and Afghanistan.” As a
 result, no American would have the right to claim innocence, because “past war criminals” were
 not held accountable. This is why “the oppressed ones today” continue “to take their right from
 you.” Referencing Noam Chomsky’s criticisms of the Iraq war and worldwide anti-war protests,
 to which he said President Bush paid no heed, bin Laden said that “the rights of man and freedom
 are lies produced by the White House and its allies in Europe to deceive humans, take control of
 their destinies and subjugate them.”

 Bin Laden further claimed that “those with real power and influence are those with the most
 capital.” Consequently, failure to end any war shouldn’t be surprising, “since the democratic
 system permits major corporations to back candidates, be they presidential or congressional,” and
 he said that corporations’ financial interests dictate the continuation of wars.

 Bin Laden then turned to solutions to the present conflict. On his part, he could escalate military
 attacks, something that he considers his sacred duty. On the other hand, bin Laden said that the
 American people could convert to Islam. Bin Laden attempted to demonstrate the “impotence of
 the democratic system and how it plays with the interests of the peoples and their blood by
 sacrificing soldiers and populations to achieve the interests of the major corporations.”
 Consequently, democratic leaders are, in bin Laden’s estimation, “the real tyrannical terrorists.”

 Because “the essence of man-made positive laws is that they serve the interests of those with the
 capital and thus make the rich richer and the poor poorer,” bin Laden argued that Americans must
 rid themselves of the idolatry of democracy and turn to Allah. Bin Laden claimed that adherence
 to the Qur’an is “the secret of our strength and winning of the war against you despite the fewness
 of our numbers and materiel.” Bin Laden consoled hesitant potential converts by iterating how
 “our rulers in general abandoned Islam many decades ago, but our forefathers were the leaders and
 pioneers of the world for many centuries, when they held firmly to Islam.” In addition, he joined
 “thinkers who study events and happenings” in foreseeing “the approach of the collapse of the
 American Empire.” Bin Laden likened the nature of the Soviet Union’s leadership during its failed
 and protracted invasion of Afghanistan in the 1980s with the U.S.’s war in Iraq.

 Bin Laden concluded by again inviting his audience to embrace Islam. This course of action, he
 claimed, would redeem those who surrendered to Allah in this life, and in the next and final life.
 He said that compliance with Islam is the only solution to the problems of capitalistic democracy.

 “Screw Infidels” video. The U.S. Attorney’s Office in the Eastern District of Virginia has also
 provided me with a video Young posted on his Facebook page on May 14, 2015.405 The posting is
 a music video on YouTube entitled “SCREW INFIDELS! | !‫ ﻓﻠﯿﻢ‬- ‫ ”ﺑﺎﻟﻜﻔﺎر طﺰ‬by a rap group known


 405
       Evidentiary document GX 8-104.


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 as Folaim Ya gholaim.406 Though it is not a jihadist video, “Screw Infidels” can be understood as
 a pop culture-style endorsement of intolerance against those who are seen as falling short of
 conservative, or even Salafist, Islamic norms. The video even lionizes slapstick-style violence
 against these infidels due to no greater offense than the fact that they are non-Muslim.

 The lead rapper, LoLaby, and his companion rap about the challenges of living in the West, where
 there are “lots of infidels.”407 The video depicts Lolaby and a fellow rapper railing against various
 “infidel” behaviors and religious transgressions, all of which contrast with a Salafist understanding
 of Islam. 408 Seemingly obsessed with transgressions against their idea of religious morality,
 LoLaby and his fellow rapper continuously chant “Screw Infidels” throughout the video. Adopting
 a comedic tone at points, LoLaby recounts several examples of his experiences dealing with
 immoral “infidels.” His solutions are invariably violent in nature.

 Perhaps the most telling evidence of the video’s viewpoint is a scene where an Arabic-speaking
 man, and an apparent Muslim, lectures LoLaby about the importance of non-violence, before
 subsequently becoming the victim of LoLaby’s violent reaction. The man exhorting peace and
 tolerance interrupts LoLaby’s tirade against infidels, and begins to lecture to LoLaby. The man
 argues that, in America, “you don’t just represent yourself, you represent your family and country.
 It is bad people like you that give us a bad reputation.”409 As the man speaks to an incredulous
 LoLaby, the background music changes to adopt a softer, more light-hearted tone, and the camera
 pans up toward the sun, which causes lens flare to obscure much of the frame. The new music
 implies that the man is too idealistic and naïve. His exhortation that one should use non-violent
 methods when one wishes to correct immoral behavior is overlaid with soft music indicative of a
 mocking tone. This man may be meant to represent Muslims who reject violence. In any case,
 LoLaby’s reaction clarifies his already obvious stance. When the man argues that LoLaby should
 not “resent them and treat them like they’re less,” LoLaby cuts off the man’s lecture with a firm
 slap.410 The music quickly returns to its previous tone and LoLaby announces to the camera and
 the viewer that “the situation is gross with these infidels.” The rest of the video, both prior to and
 after this scene, is a clear endorsement of violence against non-believers.

 For example, in two separate scenes, LoLaby abuses an “infidel’s” pet dog. At 1:28, LoLaby
 recounts how he “saw an infidel far away with his new best friend,” clearly implying that the dog
 was a recent purchase.411 Within the Salafist paradigm, it is considered impermissible to buy and
 sell dogs. According to the Salafist website Islam Question and Answer, “the prohibition on the
 price of a dog and the fact that it is among the most evil of earnings and is something vile indicates
 that it is haraam to sell dogs.”412 The site also makes clear that “it is not permissible for a Muslim


 406
     Evidentiary document GX 8-105.
 407
     Ibid., 2:44.
 408
     The behaviors that this section discusses would also be seen as transgressions by some other interpretations of the
 faith, but this section examines them through a Salafist lens due to the importance of Salafist ideology to other
 materials examined in this report.
 409
     See video at 3:53.
 410
     Ibid., 4:11.
 411
     Ibid., 1:28.
 412
     Shaykh Muhammad Saalih al-Munajjid, “Prohibition on Selling Dogs,” Islam Question and Answer, June 25, 2005,
 https://islamqa.info/en/69818.


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 to keep a dog, unless he needs this dog for hunting, guarding livestock or guarding crops.”413
 Commensurate with this interpretation of Islam, LoLaby reacts violently to the dog owner.

 At the first sighting of the man and his dog, LoLaby simply ignores the man and rudely sticks his
 finger into his nostril to indicate disrespect. After passing the man, however, LoLaby suddenly
 turns and kicks the dog forcefully, launching it into the air.414 At minute mark 5:25, LoLaby sprints
 after another dog and tackles it to the ground.

 Another violation of Salafist morality, the interaction of men and women in public, elicits violent
 reactions from LoLaby. During a scene at a pool party, Lolaby is confronted with a dozen or so
 individuals wearing swimwear and revealing clothes.415 Islamic Question and Answer states that
 “the meeting together, mixing, and intermingling of men and women in one place, the crowding
 of them together, and the revealing and exposure of women to men are prohibited by the Law of
 Islam.”416 Such a scene is considered immoral under a conservative Salafist oulook. Perhaps even
 more directly indicative of the video’s ideology, the camera focuses on a man’s exposed knee,
 with the camera angle and a special effect suggesting that his decision to wear shorts should be
 understood as sinister. In conservative Salafism, the knee is considered ‘awrah (an intimate part
 of the body), and therefore must be covered.417 LoLaby’s reaction is typical of other scenes. Upon
 entering the pool area, LoLaby says, “My heart stopped and my nerves went crazy,” before making
 a fist. He then visibly readies himself and announces, “I manned up and changed everything.” In
 order to disrupt what he sees as an unacceptable situation, LoLaby strides over to the water and
 begins to urinate into the pool, thereby causing the partygoers to flee in disgust.418 “Don’t fear
 infidels” is chanted in the background of this sequence. One man, however, visibly confronts
 LoLaby and begins to scream at him. LoLaby then proclaims, “there is only one solution. Piss on
 his face.” He proceeds to shower the man in urine.419

 In another scene of a man and woman interacting in public, LoLaby’s reaction has advanced from
 comedic urination to outright violence. After seeing the man and woman pass a cell phone to one
 another, LoLaby is depicted in slow motion charging the couple and swatting the device from their
 hands before smashing it to pieces.420 The video clearly valorizes LoLaby’s behavior, chanting his
 name and using slow motion to draw out the act’s duration.

 Other violations of Islamic law receive similarly violent overreactions, suggesting that violence is
 an acceptable means of rectifying immorality. LoLaby and his companion destroy numerous beer
 bottles throughout the video, a reference to the prohibition of alcohol in Islam. His companion uses


 413
     Shaykh Muhammad Saalih al-Munajjid, “Prohibition on keeping dogs except those exempted by sharee’ah,” Islam
 Question and Answer, June 24, 2005, https://islamqa.info/en/69777.
 414
     See video at 1:40.
 415
     Ibid., 2:44.
 416
     Shaykh Muhammad Saalih al-Munajjid, “Evidence Prohibiting of Mixing of Men and Women,” Islam Question
 and Answer, April 3, 2004, https://islamqa.info/en/1200.
 417
     Shaykh Muhammad Saalih al-Munajjid, “Are the Navel and Knee Included in the ‘Awrah?” Islam Question and
 Answer, May 23, 2015, https://islamqa.info/en/171584.
 418
     Ibid., 3:00.
 419
     Ibid., 3:27.
 420
     Ibid., 5:32.


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 a pair of scissors to cut a cigarette in half while a man tries to smoke it.421 When an “evil” child
 attempts to give his school teacher an apple, LoLaby shoves the teacher to the ground and instructs
 the viewer: “Don’t act generous.”422 LoLaby also runs over a shirtless male runner with his car.
 The man’s body shatters the windshield and the force of the blow sends his shoes flying.423 Though
 shot in a comedic, slapstick manner, the video has a clear message about the acceptability of
 dealing with perceived immorality through violence.

 VII.    Cultural Significance of Anti-Semitic Materials

 The evidence provided to me by the U.S. Attorney’s Office in the Eastern District of Virginia also
 shows that the defendant was in possession of a number of virulently anti-Semitic images and
 material.

 Investigators found ten images saved on the defendant’s computer that displayed severely anti-
 Semitic messages. Chief among them were several that directly praised Hitler and the Holocaust,
 such as an image showing a photo of smokestacks billowing smoke against an orange and red sky.
 The text overlaid on the photo reads:
 “The time has come that we as a
 nation of Earth, as a people, must
 rise up and take responsibility for
 this world has become [sic].
 Together, we can finish what Hitler
 started.”424 One photograph depicted
 a protest or rally where two Muslim
 women wearing niqabs are holding a
 sign that reads “GOD BLESS
 HITLER.”425

 Hitler makes an appearance in other
 images as well. One is a somewhat
 grainy black and white photo of
 Hitler pointing toward someone near
 the camera, which may have been used as an avatar on a website.426 A second photo shows what
 at first glance appears to be an old iPod ad, with a black silhouette wearing white earbuds set
 against a bright orange background. White overlaid text reads “iPod: Hail it” while the silhouetted
 figure, wearing a military uniform, is making the Heil Hitler gesture.427 An additional reference to
 the Holocaust can be found in a photo of John Demjanjuk, who was tried for being an accessory
 to the murder of almost 30,000 Jews. The photo is surrounded by a thick black border, and text on
 the bottom reads: “DEMJANJUK: Proudly defeating the agents of the Holohoax and exposing


 421
     Ibid., 4:45.
 422
     Ibid., 2:13.
 423
     Ibid., 5:16.
 424
     Evidentiary document GX4-203.
 425
     Evidentiary document GX 10-241.
 426
     Evidentiary document GX 14-131.
 427
     Evidentiary document GX 14-133.


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 hypocritical liberal humanists since 86!”428 As previously discussed, Holocaust denial—of which
 the phrase Holohoax is a well-known example—is considered necessary by many Nazi apologists
                                                              to rehabilitate the Third Reich’s
                                                              image.

                                                                Several       images        promoted
                                                                conspiratorial and deeply anti-
                                                                Semitic themes. Two cartoons
                                                                presented to me by the U.S.
                                                                Attorney’s Office in the Eastern
                                                                District of Virginia use crude anti-
                                                                Semitic caricatures to portray a
                                                                sinister Jewish hand behind
                                                                American foreign policy. One
                                                                cartoon includes a gross caricature of
                                                                a fanged Jewish man, who is wearing
                                                                a hat with a Star of David on it,
                                                                shouting, while brandishing a whip
                                                                in one hand and directing a soldier
                                                                driving a tank with USA written on it
                                                                forward with the other. The tank is
                                                                moving toward Syria, as can be
                                                                evidenced by the Jewish man’s
                                                                finger pointing toward the word
                                                                Syria in Arabic script. 429 Another
                                                                cartoon includes a caricature of a
 cackling Jewish man, again wearing a Star of David hat, who is holding a hand puppet of Colin
 Powell that is wagging its finger at signs that read Syria and Iran in Arabic.430

 Other images espoused anti-Semitism through the use of derogatory language, symbolism, and
 negative stereotyping. One image includes a picture of an entity with the body of a pig and the
 face of an anti-Semitic Jewish caricature. This creature is wearing a yarmulke, and is drawn with
 a very large nose. The words “Jewish Swine” are overlaid over the creature’s body.431 Another
 image shows a cartoon of a woman holding the lifeless body of a man who appears to be Jesus.
 An Israeli Defense Forces (IDF) soldier with a Star of David on his back is pointing a bayonetted
 machine gun at Jesus. The text in the photo reads, in English and Arabic, “DO NOT KILL HIM
 TWICE,” an apparent reference to the idea that the Jews as a people are culpable for Jesus’
 death.432




 428
     Evidentiary document GX 14-134.
 429
     Evidentiary document GX10-250.
 430
     Evidentiary document GX 10-251.
 431
     Evidentiary document GX 10-252.
 432
     Evidentiary document GX 14-136.


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                                                                  Criticism of Israel is, of course, not
                                                                  necessarily anti-Semitic. But a
                                                                  singular obsession with Israel may
                                                                  be evidence of anti-Semitism,
                                                                  particularly when it occurs in the
                                                                  context of other anti-Semitic
                                                                  imagery, anti-Semitic ideologies,
                                                                  or conspiratorial obsessions. Some
                                                                  photographs provided to me by the
                                                                  U.S. Attorney’s Office in the
                                                                  Eastern District of Virginia suggest
                                                                  such a singular obsession with the
                                                                  Jewish state. For example, one
                                                                  photograph portrays a pickup truck
                                                                  with bumper stickers that read “Let
                                                                  Israel Fight Its Own Wars”—
                                                                  again harkening back to the idea of
  nefarious Jews manipulating America into doing their bidding—and “BOYCOTT THE
  TERRORIST STATE OF ISRAEL.”433 Another photograph depicts an Israeli flag on the ground
  outside the entrance to a residence, such that anyone entering the house would have to step on the
  flag as a doormat.434

  Thus, the anti-Semitic materials that I was asked to analyze display an affinity for Nazi beliefs and
  for the Holocaust itself, while at the same time paradoxically denying or minimizing the impact of
  the Holocaust. Other images include gross anti-Jewish stereotypes and promote anti-Semitic
  conspiracy theories.

  As outlined earlier in this report, Jews can serve as a powerful out-group against which extremist
  groups can define their own identity. Anti-Semitism serves as a bond between Nazi and militant
  Islamist ideologies, which otherwise possess several incompatible aspects. Individuals who have
  transitioned from one of these movements to the other (including Myatt, Smyrek, Begolly,
  Lemanski, Arthurs and Usztics), embraced both simultaneously (Huber), or adhered to one of these
  ideologies but helped devotees of the other (Frías Álvarez) have exhibited a high degree of anti-
  Semitism

  VIII. Violent Materials and Militant Posturing

  Some of the materials that the U.S. Attorney’s Office in the Eastern District of Virginia presented
  to me are violent content that is made more disturbing through association with extremist
  ideologies like neo-Nazism and jihadism. One website viewed is the Amazon page for the book
  Kill Without Joy!: The Complete How To Kill Book.435 The Amazon page describes the book as
  follows: “Now under one cover, here are all six volumes of the notorious How To Kill series, the

  433
      Evidentiary document GX 3-100.
  434
      Evidentiary document GX 11-401.
  435
      Evidentiary document GX14-180. See John Minnery, Kill Without Joy!: The Complete How To Kill Book illustrated
  ed. (Boulder, CO: Paladin Press, 1992).


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  complete history of murder, assassination and death by design. The Hatchet Job, Smothering,
  Drilled to Death and other chapters provide gruesome testimony to why these books have been
  banned in certain countries! For information purposes only!” The phrase For information purposes
  only! provides a wink and a nod to the fact that an instructional book on how to kill people could
  be used for those purposes, thus resulting in possible legal liability or moral culpability.

  “Informed Source”: The Professional Protector’s Newsletter (July 4, 2002).436 This document is
  a manual detailing how to build up a terrorist group, and how to kill the group’s enemies, for an
  unspecified “Organization.” It is a reproduction of the text of an al-Qaeda training manual that was
  found by police in Manchester, England during the raid of an al-Qaeda member’s house.437

  The manual is 30 pages long and appears to include twelve lessons, though the tenth lesson was
  either excluded or forgotten. The document’s lesson titles make clear how it provides step-by-step
  instructions on how to create, run and maintain a successful terrorist organization:

        1. FIRST    LESSON:   GENERAL
            INTRODUCTION
        2. SECOND LESSON: NECESSARY
            QUALIFICATION         AND
            CHARACTERISTICS FOR THE
            ORGANIZATION’S MEMBERS
        3. THIRD LESSON: CONTERFEIT
            CURRENCY AND FORGED
            DOCUMENTS
        4. FOURTH LESSON: MILITARY
            BASES         “APARTMENTS
            PLACES” – HIDING
        5. FIFTH LESSON: MEANS OF
            COMMUNICATION         AND
            TRANSPORTATION
        6. SIXTH LESSON: TRAINING
        7. SEVENTH LESSON: WEAPONS:
            MEASURES     RELATED   TO
            BUYING AND TRANSPORTING
            THEM
        8. EIGHT [sic] LESSON: MEMBER
            SAFETY
        9. NINTH LESSION: SECURITY
            PLAN
        10. ELEVENTH LESSON: ESPIONAGE (1) INFORMATION GATHERING USING OPEN
            METHODS
        11. TWELTH LESSON: ESPIONAGE (2) INFORMATION GATHERING USING COVER
            METHODS

  436
     Evidentiary document GX 10-203.
  437
               See              a             reproduction          of           the    original    at
  https://www.justice.gov/sites/default/files/ag/legacy/2002/10/08/manualpart1_1.pdf.


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  The lessons are comprehensive, and seem for a multitude of potential situations and scenarios.
  There is even a “Lesson Eighteen” (though there are no preceding lessons 13-17) that explains
  how “brothers” should conduct themselves if imprisoned. The lesson instructs the reader to insist
  that he was tortured, to be wary of security investigators who may lure them into testifying against
  other “brothers,” and to take advantage of visits to communicate and exchange valuable
  information with “brothers” not yet arrested.

  The document is dedicated “To this pure Muslim youth, the believer, the mujahid (fighter) for
  God’s sake.”

  In addition to these documents providing instructions about engaging in militant activities, the U.S.
  Attorney’s Office in the Eastern District of Virginia provided me with several photographs of a
  man engaged in militant posturing. On Facebook, the defendant posted a photo album titled
  “Hunting Humans,” which featured three photos of the defendant holding firearms and alternately
  wearing military gear, pants and a t-shirt, and a sweatshirt and a balaclava.438

  Several of the defendant’s photographs depict him in Islamic-style garb,439 including the thobe and
  keffiyeh, often while posing with weapons. In some of the photos, the defendant holds a gun while
  wearing a red and white keffiyeh, which in some
  circles is a symbol of Palestinian nationalism,
  having been popularized internationally by the
  late Palestinian Liberation Organization leader
  Yasser Arafat. In another photo, the defendant is
  similarly dressed and posing with a large knife as
  well as a pistol.440

  Thus, the materials I examined included manuals
  detailing how to undertake violence or start one’s
  own terrorist group, as well as explicit poses for
  the camera, with weapons, that were purposefully
  evocative of jihadists or other militants.




  438
      Evidentiary documents GX 8-101, 14-120, and 14-121.
  439
      Evidentiary documents GX 14-123, GX 14-124, GX 14-115, GX 14-116, GX 14-117, GX 14-118, GX 14-119.
  440
      Evidentiary document GX 3-302.


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